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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,                                      CIVIL ACTION FILE

v.                                                    No. 1:18-CV-5391-SCJ


BRAD RAFFENSPERGER, et al.,

     Defendants.




                   OPINION AND MEMORANDUM OF DECISION

        This is a voting rights case that resulted in wins and losses for all parties

over the course of the litigation and culminated in what is believed to have been

the longest voting rights bench trial in the history of the Northern District of

Georgia. “[B]earing in mind that these circumstances involve ‘one of the most

fundamental rights of . . . citizens: the right to vote,’” the Court now, in

accordance with applicable law, approaches this case with caution to render its

Opinion and Memorandum of Decision, inclusive of findings of fact and

conclusions of law. Ga. State Conf. of NAACP v. Fayette Cty. Bd. of Comm’rs,

775 F.3d 1336, 1343 (11th Cir. 2015) (citations omitted).
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I.       FINDINGS OF FACT

         Having considered the evidence at trial, the parties’ presentations

 (pursuant to Federal Rule of Civil Procedure 52(c)), and closing arguments, this

 Court makes the following findings of fact. 1

         A.    Procedural History

         A review of the record shows that on November 27, 2018, Fair Fight Action

 and Care in Action filed a Complaint in this Court for declaratory and injunctive

 relief in which they alleged “serious and unconstitutional flaws in Georgia’s

 elections process.” Doc. No. [1], ¶ 2. The Complaint has since been amended

 twice, first as a matter of right on February 19, 2019, and again with permission

 of the Court on December 3, 2020. See Doc. Nos. [41]; [570]; [582]. Four faith-based

 organizations—Sixth Episcopal District of the A.M.E. Church, Ebenezer Baptist

 Church, Baconton Missionary Baptist Church, and Virginia-Highland Church—

 subsequently joined the Amended Complaint as Plaintiffs. Doc. No. [41]. 2



 1 All citations are to the electronic docket unless otherwise noted, and all page numbers
 are those imprinted by the Court’s docketing software. In addition, pursuant to the
 Amended-Final Consolidated Pretrial Order, the parties submitted proposed findings
 of fact and conclusions of law at the conclusion of the trial. Doc. No. [753], ¶ 25. The
 Court has adopted and rejected portions of the parties’ submissions.
 2In the Amended Complaint, Plaintiffs modified the case-style to include the corporate
 names of the original two Plaintiffs, i.e., “Fair Fight Action, Inc.” and “Care in Action,

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        In the operative Second Amended Complaint, Plaintiffs sue Secretary of

State Brad Raffensperger in his official capacity. 3 Doc. No. [582]. Plaintiffs also

sue the State Election Board (“SEB”) itself and members of the SEB in their official

capacities. Id. Plaintiffs allege violations of federal law related to: the

fundamental right to vote secured by the First and Fourteenth Amendments to

the United States Constitution (Count I); the ban on racial discrimination in

voting secured by the Fifteenth Amendment (Count II); violation of equal

protection secured by the Fourteenth Amendment (Count III); violation of

procedural due process secured by the Fourteenth Amendment (Count IV); 4 and

violation of Section 2 of the Voting Rights Act of 1965 (Count V). Id.



Inc.”
3  Plaintiffs also sued Secretary Raffensperger in his capacity as Chair of the State
Election Board. Doc. No. [582], 1. However, the parties removed the “Chair” language
from the case caption in their submission of their proposed consolidated pretrial order.
Doc. No. [658]. The evidence at trial was that up until 2021, the Secretary of State was
the chairman of the State Election Board. Tr. 4008:22–23. Pursuant to Federal Rule of
Evidence 201, the Court also takes judicial notice that following recent legislation,
Secretary Raffensperger is no longer the chair of the State Election Board. See O.C.G.A.
§ 21-2-30(a) (“There is created a state board to be known as the State Election Board, to
be composed of a chairperson elected by the General Assembly . . . .”).
4  Counts I, II, III, and IV cite the alleged constitutional violation and include the
language “as enforced by 42 U.S.C. § 1983.” “Title 42 U.S.C. § 1983 provides every
person with the right to sue those acting under color of state law for violations of federal
constitutional and statutory provisions.” Williams v. Bd. of Regents of Univ. Sys. of Ga.,
477 F.3d 1282, 1299 (11th Cir. 2007).
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      The Court has issued a number of substantive orders in this case. First, on

May 30, 2019, the Court ruled on a Motion to Dismiss brought by Defendants.

Doc. No. [68]. The Court granted the Motion to the extent it sought to dismiss the

claims against the SEB premised on 42 U.S.C. § 1983 and on the Help America

Vote Act (which Plaintiffs subsequently eliminated from the case with respect to

all Defendants by the filing of the Second Amended Complaint). See Doc. Nos.

[68], 84; [570]; [582]. The Court denied the Motion to the extent it sought to

dismiss the remaining counts against all Defendants or to dismiss the Voting

Rights Act claim against the SEB. Doc. No. [68], 83–84. The Court found all

elements of standing were satisfied. Id. at 22.

      Second, on December 27, 2019, the Court issued its decision on Plaintiffs’

Motion for Preliminary Injunction, which concerned Georgia’s list maintenance

process and the changing of the status of a large number of Georgia voters on the

State’s inactive voter list to canceled status. Doc. No. [188]. The motion initially

concerned 120,561 voters; however, “[s]ubsequent to the filing of Plaintiffs’

motion, the Secretary of State returned 22,000 of the 120,561 voters [at issue] to

the voting roll (after review of Plaintiffs’ briefing and based upon the definition

of a calendar year).” Doc. No. [188], 2–3. The Court eventually denied Plaintiffs’


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motion on Eleventh Amendment and state sovereignty grounds. Id. at 32. At the

conclusion of the order, the Court exercised its inherent authority to control the

conduct of the parties and ordered Defendants to make additional diligent and

reasonable efforts (through notices on the Secretary of State’s website and press

releases) to inform the general public of the voter list maintenance process and

the need for the canceled voters to reregister to vote during the applicable

registration time period. Id. at 188.

      Third, on February 16, 2021, the Court issued a decision on Defendants’

Motion for Summary Judgment with respect to jurisdictional issues. Doc. No.

[612]. The Court dismissed Plaintiffs’ claims about changes in precincts and

polling places on standing grounds, and it dismissed Plaintiffs’ claims as they

pertained to security of the voter registration database, dates of birth on absentee

ballots, and failure to notify voters of absentee ballot rejections for mootness. Id.

at 71–72. The standing dismissal was based largely on a recent opinion from the

Eleventh Circuit, Jacobson v. Florida Secretary of State, 957 F.3d 1193 (11th Cir.),

opinion vacated and superseded, 974 F.3d 1236 (11th Cir. 2020). The mootness

dismissal was based upon the State of Georgia’s significant change to its election




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laws in the form of HB 316 and HB 392 and cessation of the behavior on which

Plaintiffs’ claims were based. As stated in the Court’s prior orders:

             During the 2019 Legislative Session, the Georgia
             General Assembly passed HB 316 and HB 392. HB 316,
             which was signed into law by the Governor on
             April 2, 2019, amends the Georgia Election Code to,
             among other things, provide for more notice under
             Georgia’s voter-list-maintenance process; to provide
             that a voter registration is not automatically rejected
             under the Exact Match policy; to provide for the
             implementation of new voting machines; to prohibit the
             superintendent of a county from changing a polling
             place less than thirty days before a general primary or
             general election; to authorize the Secretary of State to
             become a member of a nongovernmental entity whose
             purpose is to share and exchange information in order
             to improve the accuracy and efficiency of voter
             registration systems; and to change the way which
             provisional ballots and absentee ballots are counted

             ....

             HB 392, which was signed into law by the Governor on
             April 29, 2019, requires the Secretary of State to
             promulgate a regulation establishing industry-based
             security standards and to annually certify that Georgia
             is substantially complying with its own security
             regulations.

Doc. No. [68], 23–24; see also Doc. No. [612], 58–64.

      Fourth, the Court issued a decision on Defendants’ Motion for Summary

Judgment on the merits on March 31, 2021. Doc. No. [617]. The Court dismissed
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claims relating in general to provisional ballots, absentee ballot rejections, the

untimely mailing of absentee ballots, and the “voter purge” process. 5 Id. at 24.

The Court also dismissed Fifteenth Amendment claims and equal protection

claims based on racial discrimination (other than those pertaining to Exact

Match); 6 equal protection claims relating to disparities based on geography or

residence (other than those pertaining to Exact Match and in-person absentee

ballot cancelation); and a procedural due process claim relating to list

maintenance. Id. at 94–95. The Court stayed its consideration of Plaintiffs’ Voting

Rights Act claim pending the United States Supreme Court’s decision in Arizona



5 Throughout the litigation, Plaintiffs have used the term “voter purge,” while
Defendants have used the term “list maintenance” to refer to the process by which
inactive voters are moved to canceled status in the voters rolls upon the occurrence of
certain triggering events. Doc. No. [617], 10. As this issue has been dismissed, it is not
necessary to enter a ruling in this Opinion as to the proper term.
6 “Exact Match” is another term that the parties do not agree upon. For purposes of this
Opinion, the Court uses the term “Exact Match.” However, the Court recognizes that
Defendants sometimes refer to the same practice as “HAVA Match” in reference to the
Help America Vote Act, 52 U.S.C. § 21083(a)(5) identification requirements. Plaintiffs do
not agree that HAVA requires the “Exact Match” procedures in use by the State of
Georgia. See Doc. No. [492], 31. At summary judgment, the Court recognized that
“Georgia’s verification requirements in Exact Match are much narrower than what
HAVA itself requires.” Doc. No. [636], 32. The Court stated: “HAVA does not require
comparison of a registration applicant’s first name, last name, date of birth, or
citizenship information. Nor does it require identifying information to match exactly.
Finally, HAVA does not specify the consequences for a failure to match.” Id. (citing
52 U.S.C. § 21083(a)(5)).
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Republican Party v. Democratic National Committee, 141 S. Ct. 221 (Mem.) (2020)

(No. 19-1258). Doc. No. [617], 95.

      Finally, on November 15, 2021, the Court issued a decision on Defendants’

Renewed Motion for Summary Judgment on Plaintiffs’ Voting Rights Act claim

following the Supreme Court’s July 1, 2021, decision in Brnovich v. Democratic

National Committee, --- U.S. ----, 141 S. Ct. 222 (2020), which was consolidated

with Arizona Republican Party. See 141 S. Ct. 2321 (2021). This Court denied

Defendants’ Renewed Motion for Summary Judgment as to Plaintiffs’ Voting

Rights Act claim. See Doc. No. [636], 47.

      After the summary judgment proceedings concluded, the Court entered a

series of pretrial orders, and the Court’s Amended-Final Consolidated Pretrial

Order (Doc. No. [753]) governed the issues for trial. In Plaintiffs’ Statement of the

Case for purposes of the Pretrial Order, Plaintiffs described their remaining

claims as follows:

             Plaintiffs contend that Defendants the Georgia
             Secretary of State (SOS), the State Election Board (SEB)
             and the SEB members are denying and abridging
             Georgians’ right to vote through: (1) the SOS’s “Exact
             Match” policy and its application; (2) extensive
             mismanagement of the statewide voter registration list;
             and (3) non-uniform and improper practices regarding


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              in-person cancellation of absentee ballots. These three
              policies and practices violate federal law, as follows:
                 • The Exact Match policy and its application: (a)
                     violate the fundamental right to vote as
                     guaranteed by the First and Fourteenth
                     Amendments; (b) racially discriminate against
                     Georgians of color in violation of the Fifteenth
                     Amendment and the Equal Protection Clause of
                     the Fourteenth Amendment; (c) discriminate
                     against Georgians based on where they live and
                     based on naturalized citizenship status in
                     violation of the Equal Protection Clause of the
                     Fourteenth Amendment; and (d) deny or abridge
                     the right to vote in violation of the Voting Rights
                     Act.
                 • Defendants’ extensive mismanagement of the
                     statewide voter registration list violates
                     Georgians’ fundamental right to vote in violation
                     of the First and Fourteenth Amendments. 7


7 In the context of trial briefing, Plaintiffs clarified the nature of their list management
claim. Doc. No. [795], 1; see also Doc. No. [816], 4. More specifically, Plaintiffs stated:
“Plaintiffs’ challenge to the Secretary of State’s affirmative mismanagement of the
statewide voter registration database concerns the Secretary of State’s policy decisions
governing the database and the unjustified burdens on voters that result.” Doc. No.
[795], 2. The policy decisions included but were not limited to: (1) choosing to delegate
to the counties the ultimate decision as to whether a voter’s registration is canceled
without providing meaningful rules or even guidance to protect voters; (2) choosing to
set overinclusive matching criteria; (3) choosing to tee up an overinclusive group of
registrations for cancelation, which are too large for at least some counties to carefully
evaluate; (4) choosing not to add alerts in the database alerting users of criteria that do
not match when comparing records; and (5) choosing not to assist database users when
they sought help deciding whether to disenfranchise registrants—including eligible
voters. Doc. No. [795], 2–3. As stated in the Court’s April 29, 2022 Order (Doc. No. [816]),
one of Plaintiffs’ clarifications concerned training county users on making cancelations
decisions; however, this clarification was not within the language of the Amended-Final
Pretrial Order, and the Court did not accept the clarification. Doc. No. [816], 6.
                                           11
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                 • The non-uniform and improper practices
                   regarding in-person cancellation of absentee
                   ballots (a) violate Georgians’ fundamental right
                   to vote in violation of the First and Fourteenth
                   Amendments; and (b) discriminate against
                   Georgians based on where they live, in violation
                   of the Equal Protection Clause of the Fourteenth
                   Amendment.

Doc. No. [753-1], 1–2.

      In Defendants’ Statement of the Case for purposes of the Pretrial Order,

Defendants presented the following affirmative defenses: (1) failure to state a

claim upon which relief can be granted; (2) failure to name necessary and

indispensable parties; (3) lack of standing; (4) mootness; (5) Eleventh

Amendment bar; and (5) Political Question Doctrine. Doc. No. [753], 2–3.

      After a delay in the start of trial due to the Omicron variant of COVID-19,

trial began on April 11, 2022. Doc. Nos. [694]; [703]; [789]. Trial concluded on

June 23, 2022.

      Collectively, the parties presented over fifty witnesses, including Plaintiffs’

expert witnesses, current and former employees of the Secretary of State’s Office,

and members of the SEB. Among the witnesses who testified at trial were Georgia

voters whom this Court recognizes with gratitude. It is no small undertaking to

sit for a deposition, to travel to a federal courthouse, or to swear an oath and
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testify in public before a federal court. The participation of these witnesses merits

recognition, and the Court further finds that these voters provided credible

testimony useful to this Court’s consideration of the issues presented at trial.

      At the close of Plaintiffs’ case-in-chief on May 11, 2022, the Court heard

Plaintiffs’ remedies presentation, laying out the remedies sought and the basis

for granting such relief. See Tr. 3181:20–3232:12 (remedies).

      On May 12, 2022, the Court heard Defendants’ argument for granting their

oral motion for a Judgment on Partial Findings pursuant to Federal Rule of Civil

Procedure 52(c). Tr. 3294. The Court also heard Plaintiffs’ arguments for denying

the Rule 52(c) motion. Tr. 3335. During Plaintiffs’ presentation, Plaintiffs, through

Counsel, specifically delineated the issues and challenged practices as follows:




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       Issues                                    Challenged Practices

       Absentee Ballot Cancellations             Lack of proper training
                                                  on absentee ballot
                                                  cancellations
       Exact Match                               Missing Identification
                                                  Required (“MIDR”)
                                                  Match
                                                 Citizenship Match
       The Secretary of State’s                  Removal of eligible voters
       Mismanagement of Voter Rolls               in the felon match process
                                                 Removal and changes to
                                                  the information of eligible
                                                  voters in the duplicate
                                                  match process
                                                 Removal of eligible voters
                                                  in the “vitals” process

Tr. 3335–3410.

      On May 16, 2022, the Court ruled on Defendants’ Rule 52(c) motion,

“exercis[ing] its discretion to decline to render any judgment until the close of all

of the evidence.” See Doc. No. [839], 2.

      On June 13, 2022, Defendants began their case-in-chief. Defendants

presented six fact witnesses and no expert testimony. On June 21, 2022, Plaintiffs

presented their rebuttal case, followed by the parties’ closing arguments on

June 23, 2022. Doc. Nos. [848-1]; [849]; [850]; [851]; [852]; [853].




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         B. The Named Parties

         The Court will now set forth evidence presented at trial concerning the

parties. 8

               1.    Plaintiffs

                      a)    Fair Fight Action, Inc.

         Originally founded in 2014 under the name “Voter Access Institute,” Fair

Fight Action, Inc. (“Fair Fight”) is a nonprofit advocacy group operating

nationwide. Tr. 1383:22–1384:1, 1395:12–17 (Stewart-Reid). The heart of Fair

Fight’s activities are based in and focus on the State of Georgia. Tr. 1383:22–25

(Stewart-Reid).

        Fair Fight offered three representative witnesses at trial: Lauren Groh-

Wargo, Cianti Stewart-Reid, and Liza Conrad. Lauren Groh-Wargo served as Fair

Fight’s Executive Director from 2014 to November 2021. Tr. 3847:15–23 (Groh-

Wargo). Cianti Stewart-Reid is the current Executive Director of Fair Fight. She

has held this role since December 2021. Tr. 1383:20–21, 1384:4–6 (Stewart-Reid).

Liza Conrad currently serves under Ms. Stewart-Reid as Deputy Executive




8 Additional findings of fact concerning the named plaintiffs will be discussed in the
standing section of this Opinion.
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Director for Fair Fight. Ms. Conrad was previously Fair Fight’s Voter Protection

Director and served in that role from April 2019 until she was elevated to Deputy

Executive Director in February 2022. Tr. 1048:14–1049:8 (Conrad).

                     b)    Care in Action, Inc.

       Care in Action, Inc. (“Care in Action”) is a nonprofit advocacy group that

operates nationwide, with substantial focus on efforts in Georgia. Tr. 83:20–23

(Livoti).

       Jessica Livoti testified on behalf of Plaintiff Care in Action at trial.

Executive Director of Care in Action from August 2017 until January 2021,

Ms. Livoti now serves as a Care in Action board member. Tr. 80:24–81:1 (Livoti).

                     c)    Baconton Missionary Baptist Church, Inc.

       Baconton Missionary Baptist Church, Inc. (“Baconton”) is a church located

in Walthourville, Georgia in Liberty County. Tr. 2526:1–2 (Scott). The church is

affiliated with the General Missionary Baptist Convention of Georgia and the

Zion Missionary Baptist Association, the oldest African American Association in

North America. Tr. 2526:1–8, 2531:13–17 (Scott). Founded in 1869 by newly freed

slaves, Baconton’s congregation is presently approximately 400 members strong.

Tr. 2532:23–2533:10, 2545:24 (Scott).


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         Pastor Hermon Scott, who has served as the church’s pastor since July 1997,

testified on behalf of Baconton at trial. Tr. 2531:18–19 (Scott).

                       d)    Ebenezer Baptist Church of Atlanta, Georgia, Inc.

         Ebenezer Baptist Church of Atlanta, Georgia, Inc. (“Ebenezer”) is a historic

church located in Atlanta, Georgia in Fulton County. PX. 2053, Tr. 87:17 (Warnock

Dep.). 9

         At trial, United States Senator Reverend Raphael Warnock 10 testified via

deposition, and Reverend John Vaughn testified in person for Ebenezer.

Reverend Warnock has been Senior Pastor for Ebenezer since 2005. PX. 2053,

Tr. 16:1–2 (Warnock Dep.). Reverend Vaughn is Ebenezer’s Executive Pastor and

has been with the church for two-and-a-half-years. Tr. 2941:12–16, 2941:21–22

(Vaughn). He describes his role within the church as akin to a chief operating

officer, or “COO.” Tr. 2941:18–20 (Vaughn).




9 The Court takes judicial notice that Ebenezer is in Fulton County, Georgia; this fact is
generally known within the Northern District of Georgia. Fed. R. Evid. 201(b)(1).
10 This Court will refer to Senator Reverend Raphael Warnock as “Reverend Warnock”
throughout the remainder of this Opinion because Reverend Warnock testified
specifically in his capacity as a church leader and his testimony pertained to his church’s
activities and mission.
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                      e)    The Sixth Episcopal District, Inc.

      The African Methodist Episcopal (“A.M.E.”) Church was founded by a

small group of African Americans in Philadelphia, Pennsylvania in 1816.

Tr. 2978:24–25 (Jackson). Today, the A.M.E. Church has over two-and-a-half

million members in thirty-three countries. Tr. 2978:9–2979:3 (Jackson). One of

twenty A.M.E. Church districts globally, the Sixth Episcopal District, Inc. (“Sixth

District”) serves the State of Georgia, with its headquarters in Atlanta. Tr.

2972:22–24, 2974:12–13 (Jackson). The Sixth District includes more than 500

A.M.E. churches and more than 96,000 members statewide. Tr. 2974:7–13,

2980:19–20 (Jackson).

      Bishop Reginald Jackson, who has served as the Sixth District’s Bishop

since 2016, testified on behalf of the Sixth District at trial. Tr. 2973:2–10 (Jackson).

                      f)    Virginia-Highland Church, Inc.

      Founded in 1923, Virginia-Highland Church, Inc. (“Virginia-Highland”) is

a church located in the Virginia-Highland neighborhood of Atlanta, Georgia in

Fulton County. DX. 731 at 2. 11 Originally part of the Southern Baptist Convention,




11 The Court takes judicial notice that Virginia-Highland is in Fulton County; this fact
is generally known within the Northern District of Georgia. Fed. R. Evid. 201(b)(1).
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Virginia-Highland has been associated with the United Church of Christ since

2002. Tr. 527:11–528:23 (Laney). Virginia-Highland has roughly 300 members in

its congregation; twenty percent of the congregation are people of color, and forty

percent are LGBTQIA. 12 Tr. 529:9–18 (Laney).

       Pastor Matt Laney testified on behalf of Virginia-Highland at trial. Pastor

Laney has been the church’s pastor since January 2018. Tr. 524:21–22, 525:18–20

(Laney).

              2.     The Named Defendants

                      a)     The Secretary of State

       During the years relevant to this lawsuit, Georgia had three Secretaries of

State: Brian Kemp, who is currently Georgia’s Governor; Secretary Brad

Raffensperger; and Secretary Robin Crittenden, who served briefly between

Secretary Kemp’s resignation in November 2018 and Secretary Raffensperger’s

inauguration in January 2019. Tr. 3461:21–3462:2 (Harvey).

       The Secretary of State is a constitutional officer elected by Georgia voters

every four years. Ga. Const. Art. 5, Sec. 3, Par. 1. In addition to other duties and



12 “LGBTQIA . . . . refers to the broad array of self-identified sexes, genders, and sexual
orientations . . . .” 3 Rossein, Merrick, Employment Discrimination Law and Litigation
§ 27:1 (database updated Aug. 2022).
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obligations, the General Assembly designated the Secretary as the State’s “chief

election official” under the Help America Vote Act of 2002 (“HAVA”). O.C.G.A.

§ 21-2-50.2(a); see also 52 U.S.C. § 20509 (“Each State shall designate a State officer

or employee as the chief State election official to be responsible for the

coordination of State responsibilities under this chapter.”). Under Georgia law,

the Secretary shall “maintain the official list of registered voters for this state and

the list of inactive voters required by this chapter.” O.C.G.A. § 21-2-50(a)(14).

Georgia law also requires that the “Secretary of State shall exercise all the powers

granted to the Secretary of State . . . [t]o conduct training sessions at such places

as the Secretary of State deems appropriate in each year, for the training of

registrars and superintendents of elections.” O.C.G.A § 21-2-50(a)(11).

      As relevant to this case, the Secretary maintains two divisions that impact

elections: the Elections Division and the Investigations Division. Tr. 3462:3–5,

3461:5–17, 3492:10–19 (Harvey).

      The Elections Division had about sixteen employees during the relevant

time of this lawsuit. Tr. 3462:3–5 (Harvey). It includes at least a training group,




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four to six county liaisons, 13 legal counsel, and an Elections Division Director.

Tr. 3509:10–12 (Harvey); Tr. 826:2–20 (Hallman); PX. 2054, Tr. 11:8–18 (Rayburn

Dep.).

         Most investigators are certified by the Georgia Peace Officer Standards and

Training Council (“P.O.S.T.”). Tr. 3461:5–17 (Harvey). Two to four investigators

would generally focus on elections, and they would handle multiple cases at a

time. Tr. 3492:10–19 (Harvey).

         This Court heard testimony from the following former and current

employees of the Secretary of State’s Office concerning their employment, job

duties, and policies and practices of the Secretary of State’s Office: Chris Harvey,

Gabriel Sterling, Ryan Germany, Kevin Rayburn, Melanie Frechette, and John

Hallman.

         Chris Harvey served as the deputy-inspector general/chief investigator for

the Secretary of State’s Office from 2007 until July 2015 and then as the Elections

Division Director from July 2015 until his departure from the Secretary of State’s



13County liaisons are personnel in the Secretary of State’s Office who assist and support
counties in the performance of their duties, in conjunction with other members of the
Secretary of State’s Office, and they act as the point-of-contact between counties and the
Secretary of State’s Office to assist or troubleshoot problems when they arise. Tr.
1373:11–21 (Frechette); 3472:21–25 (Harvey); Tr. 826:2–20 (Hallman).
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Office in July 2021. He now serves as the Deputy Director at P.O.S.T. Tr. 3459:25–

3460:6 (Harvey).

      Gabriel Sterling is the current chief operating officer for the Secretary of

State’s Office. Tr. 4177:10–15. He has a political science degree from the

University of Georgia and has worked in Georgia elections, in both volunteer and

paid capacities, in most election cycles since 1986. Tr. 4177:16–18, 4175:2–6

(Sterling).

      Ryan Germany is the General Counsel for the Secretary of State’s Office.

Tr. 1517:7–9 (Germany). He has held that position since 2014. Tr. 1517:10–11

(Germany). As General Counsel, Mr. Germany works with every division of the

Secretary of State’s Office, including but not limited to the Elections Division, on

legal issues. Tr. 1517:16–17 (Germany). He also spends time on the promulgation

of rules and regulations for the SEB. Tr. 1522:1–3 (Germany).

      Kevin Rayburn was the Deputy Elections Director and Deputy General

Counsel at the Georgia Secretary of State’s Office at the times relevant to this

lawsuit. PX. 2054, Tr. 11:7–11:9 (Rayburn Dep.). He began working at the Georgia

Secretary of State’s Office in July of 2016. PX. 2054, Tr. 10:11–10:22 (Rayburn Dep.).

Mr. Rayburn’s job responsibility as Deputy Elections Director was to support the


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Director, Mr. Harvey, in managing the Elections Division. PX. 2054, Tr. 16:2–16:9

(Rayburn Dep.).

       Melanie Frechette was employed with the Secretary of State’s Office from

February 2017 through February 2020 as a county liaison and then as the training

administrator. Tr. 1216:7–23 (Frechette). In her role at the Secretary of State’s

Office, one of Ms. Frechette’s responsibilities was to receive and respond to

questions from county election officials, as well as to provide guidance on certain

aspects of election administration. Tr. 1220:6–13 (Frechette).

       John Hallman was employed by the Secretary of State’s Office from 2013

to 2020. Tr. 758:12–20 (Hallman). Mr. Hallman was the Election Systems Manager

of the statewide voter registration system known as eNet from July 2016 to

February 2020. Tr. 759:3–18 (Hallman).

                      b)     The State Election Board

       The Georgia General Assembly created the SEB in O.C.G.A. § 21-2-30(a). It

consists of five members, including a representative of each of the two major

political parties. O.C.G.A. § 21-2-30(c). 14



14 As indicated above, the SEB as an entity remains a Defendant only for purposes of
Plaintiffs’ Section 2 Voting Rights Act claim (pertaining to Exact Match). Doc. No. [617],
3 nn.2 & 3. Other claims are brought against the SEB Members in their official capacities.
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      The General Assembly imposed ten statutory duties on the SEB, which

range from promulgating rules and regulations to making recommendations to

the General Assembly. O.C.G.A. § 21-2-31; see also Tr. 4095:2–6 (Mashburn); PX.

2051, Tr. 11:7–15 (Kemp Dep.). Among the SEB’s statutorily enumerated duties

are the duties to (a) promulgate rules and regulations to obtain uniformity in

county practices (O.C.G.A. § 21-2-31(1)), and (b) formulate, adopt, and

promulgate rules and regulations conducive to the fair, legal, and orderly

conduct of elections (O.C.G.A. § 21-2-31(2)).

      Significant testimony was dedicated to the SEB’s statutory duty to

investigate and address violations of the Georgia Election Code. O.C.G.A. § 21–

2-31(5). When exercising this authority and obligation, the SEB would hear and

decide cases of alleged violations of statutory law or regulations by individuals

or counties. Id.; see also Tr. 3607:12–20 (Harvey).

      This Court heard testimony from three recent SEB members—Seth Harp,

Rebecca Sullivan, and Anh Le—and one active SEB member, Matt Mashburn. All

were attorneys. All had either some significant state government experience

before being appointed to the SEB (Harp, Sullivan, Le, and Lindsey), or had

practiced election law well before their appointment (Sullivan and Mashburn).


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Tr. 3975:11–3976:12, 3977:1–10, 3989:9–17 (Sullivan); Tr. 4075:16–4077:18

(Mashburn); Tr. 1765:19–1766:1–24 (Le).

      C.     The Issues and Challenged Practices

             1.     Training on Absentee Ballot Cancelations

      Plaintiffs contend that Defendants are responsible for adequate training of

county election officials, that Defendants’ training in absentee ballot cancelation

procedures is inadequate, and that this deficiency has caused voters to be

severely burdened when trying to vote in person after having requested absentee

ballots. Plaintiffs assert that Defendants’ failure to train on absentee ballot

cancelation procedures violates the fundamental right to vote and generates a

lack of adequate statewide standards in violation of the Equal Protection Clause

of the Fourteenth Amendment.

      Plaintiffs’ claim here focuses mainly on absentee ballot procedures related

to voters who want to cancel their absentee ballots so they can vote in person but

do not have their absentee ballots with them at the polling place. This situation

can arise, for example, when a voter has requested an absentee ballot but has not

received the absentee ballot in time to cast it and have it counted.

      Plaintiffs assert that Defendants’ inadequate training of county election

superintendents and registrars means county election personnel do not know the
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correct procedures for canceling absentee ballots, causing voters not to be able to

vote at all or to be able to vote only after significant effort.

      The process for canceling absentee ballots has changed during the

pendency of this case. Prior to HB 316’s passage in April 2019, Georgia law

required, in pertinent part, that voters who had requested absentee ballots (but

later went to the polls to vote in person and did not have their absentee ballots

with them) to appear before the county registrar, deputy registrar, or absentee

ballot clerk to cancel their absentee ballots. O.C.G.A. § 21-2-388(2) (2007),

amended by 2019 Ga. Laws 24 (HB 316).

      When HB 316 was passed, it changed the absentee ballot cancelation

procedure by providing, in essence, that voters who want to vote in person but

do not have their absentee ballots with them need not go to the main election

office to cancel their absentee ballot. Rather, someone at the polling place can call

the registrar’s office and obtain approval to cancel voters’ absentee ballots. See

O.C.G.A. § 21-2-388 (effective Apr. 2, 2019).

                      a)     Training generally

      At the outset, based on the testimony provided in this lawsuit and the

relevant testimony of Defendants’ fact witnesses and Plaintiffs’ training expert


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(Mr. Kevin Kennedy), this Court finds that—as a matter of fact—the counties

train poll workers and the State trains county election superintendents and

registrars, including on the cancelation of absentee ballots. Tr. 3469:4–22

(Harvey); Tr. 2864:22–2865:4 (Kennedy). Former Elections Division Director

Chris Harvey testified that this training structure is a “train the trainer” scenario.

Tr. 1871:8–22 (Harvey).

      More specifically, “all county and municipal election superintendents,

chief registrars, and absentee ballot clerks or, in the case of a board of elections

or a board of elections and registration, the designee of such board charged with

the daily operations” are required to become certified in election administration

within six months of their appointment. O.C.G.A. § 21-2-101(a); Tr. 1569:13–18,

24 (Germany). The Secretary of State’s Office provides the certification training

materials. Tr. 1865:19–1866:12 (Harvey). According to Mr. Harvey, the Secretary

also has a policy of trying to make the election certification materials accurate.

Tr. 3538:23–25 (Harvey).

      The Secretary of State’s Office also makes a poll worker training manual

online for counties to use. Tr. 3537:11– 3538:7 (Harvey). According to Mr. Harvey,

the Secretary has a policy of trying to make the poll worker manual accurate. Tr.


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3538:15–17 (Harvey). However, that policy is not written down anywhere. Tr.

3538:18–19 (Harvey). Mr. Harvey did not know “to what extent” the counties use

the poll worker manual and indicated that “it varies widely from county to

county.” Tr. 3538:8–14 (Harvey).

      During either late 2018 or early 2019, the Secretary hired Melanie Frechette

to become the training director. Tr. 3520:10–15. Ms. Frechette came to the

Secretary of State’s Office already familiar with Georgia elections and county

implementation of elections; prior to joining the Secretary of State’s Office, she

served with the Gwinnett County election office for six to eight years and the Hall

County election office for a year or more. Tr. 3523:15–22 (Harvey).

                    b)     Impact of the COVID-19 Pandemic on training

      Training efforts in 2020, after the election law changes in HB 316, were

significant both in terms of frequency and quantity of topics to discuss. For

example, the training division began providing information and training on the

State’s new Dominion Ballot Marking Devices, which represented the first time

that Georgia returned to using paper ballots in over 15 years. Tr. 4192:15–4193:6

(Sterling); Tr. 3520:20–3521:3 (Harvey). The COVID-19 pandemic also

necessitated significant training efforts, as many of the efforts to address the


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virus’s impact on elections were unprecedented. Tr. 4193:2–16 (Sterling); Tr.

3521:13–17 (Harvey).

      Prior to the 2020 election, absentee ballot by mail was a method of voting

in Georgia that “was not really growing.” Tr. 3528:15 (Harvey). Instead, it seemed

to peak around the 2008 election and “generally hovered around four or five

percent of the votes.” Tr. 3528:12–20 (Harvey); DX. 781.

      One consequence of the COVID-19 pandemic was the dramatic increase in

the use of absentee ballots during the 2020 elections. Tr. 3524:21–3525:13

(Harvey); DX. 781. This was caused, in part, by the Secretary’s decision to mail

every active Georgia voter an absentee ballot request form. Tr. 3529:1–29

(Harvey).

      During the pandemic, and in addition to the webinars and other trainings

that were taking place, communications between the Secretary of State’s Office

and county election officials increased significantly: there were “at least weekly”

conference calls between the two parties, and the calls were frequently divided

between counties in North Georgia, South Georgia, and metro Atlanta counties

independently. Tr. 3649:10–23 (Harvey).




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      In the light of Secretary’s decision to issue all active voters absentee ballot

request forms, the Secretary of State’s Office increased training on absentee

cancelation procedures. Tr. 3530:10–3531:3, 3649:24–3650:1 (Harvey).

      In 2020, Georgians were to have numerous elections: (1) a Presidential

Preference Primary (slated for March); (2) a general primary of state elected

officials, candidates for both seats to the United States Senate, and primaries for

some congressional seats; (3) a general election; and (4) potential general runoff

elections. Tr. 4190:12–13; Doc. Nos. [829-6], [829-7], [829-8].

      The 2020 elections also marked the first time that the State’s new Dominion

Ballot Marking Device technology would be used across the state. Tr. 3652:7–8

(Harvey).

      Because of the COVID-19 pandemic, the Secretary exercised his existing

authority to postpone the presidential preference primary, then combine it with

the general primary, and postponed both again to the latest possible time that

would allow compliance with federal election laws. Tr. 4188:7–4190:9 (Sterling);

Tr. 3647:13–17 (Harvey).

      One reason for the postponement was the real concern that there would be

an insufficient number of poll workers available to work during the pandemic.


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Tr. 3647:13–17; 3651:2–7 (Harvey). At that time, the Secretary of State’s Office

began to understand that some county election offices were getting infected and

could not administer the primary election. Tr. 3647:19–25 (Harvey).

      Fulton County was hit particularly hard: one of their employees died of

COVID relatively early; the registration director was out with COVID for some

time; and the office had to be shut down for three to four days for disinfecting

after further spread of the virus. Tr. 3648:6–16 (Harvey). Adding to these health

concerns was the “push” of absentee ballot requests coming into Fulton County,

which led to jammed servers and an inability to print and download applications

and ballots. Tr. 3648:17–25 (Harvey).

      In response to the pending poll worker shortage, the Secretary began to

undertake efforts to recruit poll workers by reaching out to various groups like

the ACLU, State Bar of Georgia, private businesses, and others. Tr. 3651:8–3650:3

(Harvey). The end result was “a lot” of new poll workers in the 2020 election.

Tr. 3652:4–6 (Harvey).

      The testimony further indicated that even the best trained superintendents

can still make mistakes in the training of poll workers. Tr. 3511:6–15 (Harvey).




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                     c)     Errors in Secretary of State training documents

      The Secretary of State’s Office did not update the election certification

materials to reflect the change to the absentee ballot cancelation process after the

passage of HB 316 in 2019. Tr. 2118:13–2119:11 (Harvey). Mr. Harvey

acknowledged that these Secretary of State certification training materials are

incorrect. Tr. 2103:22–2105:20 (Harvey) (confirming these trainings included the

pre-HB 316 version of the statute); see also Tr. 3700:20–3701:17 (Harvey)

(describing the failure to update as a “mistake”). Defendants proffered no

certification materials showing that they have been corrected.

      The poll worker manual developed by the Secretary of State’s Office also

was not updated to show the changes in absentee ballot cancelation procedures

for the 2019 and 2020 elections. Tr. 2131:9–28 (Harvey). The poll worker manual

has since been updated (in May 2021) with the correct information. PX. 1315 at

55–56; Tr. 2131:9–21 (Harvey).

      In addition, there was evidence of two training presentations that were

available to county superintendents and registrars in which post-HB 316 absentee

ballot cancellation information was referenced. See PX. 1076, PX. 1189,

Tr. 2119:16–22, 2121:4–5.


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                     d)     Plaintiffs’ absentee ballot witnesses

      Plaintiffs presented the following witnesses to testify about how absentee

ballot issues burdened voters: Aria Aaron (PX. 2057 (Aaron Dep.)); Deborah

Allen (Tr. 623–648); Patricia Andros (Tr. 2690–2709); Dayle Bennett (Tr. 2709–

2724); Saundra Brundage (Tr. 1236–1253); Emily Huskey (Tr. 1141–1168); Aaron

Karp (Tr. 601–622); Margaret Whatley (PX. 2050 (Whatley Dep.)). 15

                     e)     Webster County

      The June 2019 election in Webster County, Georgia was discussed by

several witnesses and is relevant to Plaintiffs’ absentee ballot claim. This local

election was one of the first elections held after the change in the absentee ballot

cancelation process by HB 316. Specifically, HB 316 became effective on

April 2, 2019, and the Webster County election took place on or around

June 20, 2019. PX. 1117.

      On June 20, 2019, a voter submitted a complaint to the Secretary of State’s

Office stating that she was denied the right to vote three times in Webster County.




15 The Court will make specific findings regarding the testimony of these witnesses in
the next section of this Opinion.
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PX. 1117. The voter stated that she was told she had to return her absentee ballot

before she would be allowed to vote in person. DX. 791 at 167; PX. 1117.

      The Secretary of State’s Office investigated the complaint, which revealed

that the voter did attempt to vote on two separate occasions and that the voter

was told both times that she needed to surrender her absentee ballot. DX. 791 at

167. The investigation further revealed that the Webster County Elections

Supervisor and Deputy Registrar indicated that they were unaware of the proper

procedure to cancel an absentee ballot at the time of the incident and believed a

voter had to surrender the ballot. Id. at 167–168. They indicated that they were

now aware of the proper procedure. Id. at 168.

      The election at issue resulted in a tie. Id. A court challenge was filed and

ended with a consent agreement to void the election results and hold a second

election. Id. The investigation revealed that the second election was “due to the

one . . . voter that was erroneously turned away for not having her absentee ballot

with her to surrender when she presented to vote at the polls.” Id. at 168.

      The case was presented to the SEB at a February 17, 2021 meeting. DX. 791.

SEB member Matt Mashburn referred to a situation where a voter is wrongfully




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turned away as “the nightmare scenario” and made a motion to refer the case to

the Attorney General’s Office, which motion carried. Id. at 170.

      The events in Webster County, while unfortunate, appear to be an

anomaly, and the circumstances of the election also appear to have been unique.

Tr. 3553:6–9 (Harvey).

            2.     Exact Match

      Plaintiffs challenge two policies under the umbrella of “Exact Match.” Both

policies relate to how the Secretary of State handles voter registration

applications. In short, both policies match certain information from voter

registration applications against either the Georgia Department of Driver

Services (“DDS”) or Social Security Administration (“SSA”) databases. The

policies differ on the particular information being matched.

      The first policy Plaintiffs challenge relates to the matching of certain

identification information provided on voter registration applications. If this

information on the voter registration application does not exactly match,

character by character, to the information in the DDS or SSA databases, the voter

registration applicant is given “Missing ID Required” (“MIDR”) status. Plaintiffs

refer to this policy as “Exact Match MIDR.”


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      Plaintiffs’ second policy challenge relates to the matching of the voter

registration applicant’s citizenship information. Under this policy, voter

registration applicants who provide a Georgia driver’s license number or state

identification card number on their voter registration applications will have their

citizenship status matched against the DDS database. Plaintiffs refer to this policy

as “Exact Match Citizenship.”

                     a)    Exact Match MIDR

                             (1)    MIDR history, process, and purpose

      DDS currently has a Memorandum of Understanding (“MOU”) with the

Secretary of State’s Office dated March 27, 2007, regarding the transmission of

“voter registration data between the parties for verification pursuant to the

provisions of HAVA.” PX. 1751; see also Tr. 1189:1–23, 1190:21–22 (McClendon);

Tr. 497:12–17 (Mayer). The matching process considers information in both the

DDS database and the federal SSA database. Tr. 3576:24–3577:8 (Harvey).

      The purpose of the MOU is to “enable[] the Secretary of State and DDS to

transmit voter registration data between the parties for verification pursuant to

the provisions of HAVA.” Tr. 1189:18–20; see also PX. 1751. The process for

verification generally proceeds as follows.


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       First, the Secretary of State sends a new registering voter’s information to

DDS for verification. Tr. 1191:22–24 (McClendon). Pursuant to the MOU, the

Secretary of State transmits voter registration information to DDS for verification

on a daily basis. Tr. 1190:23–1191:7 (McClendon); see also PX. 1751.

       Second, DDS takes the new registering voter’s information and determines

whether the record can be checked against DDS information or if it needs to go

to the SSA. If the record has a driver’s license or state ID number, it will be

checked against DDS records. If a record does not have a driver’s license number,

it will be sent to the SSA for validation, with whom DDS has an agreement to

verify information as required by HAVA. Tr. 1194:20–1196:18 (McClendon).

       If a record has certain uncurable defects, such as an invalid date of birth or

non-numeric characters in the last four digits of the applicant’s social security

number, DDS will stop the verification process, flag, and return the application

to the Secretary of State’s Office. Tr. 1196:19–1197:15 (McClendon); PX. 1753.

       Third, for records that it can process for verification, DDS checks the

following criteria in the record against the information it has on file to determine

if it is a match:




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            a. Driver’s license number, first twenty characters of
               the last name, first initial, and date of birth (if no
               social security number is provided); or
            b. Driver’s license number, first twenty characters of
               the last name, first initial, date of birth, and last four
               digits of the social security number (if provided); or
            c. First twenty characters of the last name, first initial,
               and date of birth (if no social security number is
               provided and license number is not found); or
            d. First twenty characters of the last name, first initial,
               date of birth, and last four digits of the social security
               number (if last four digits of social security number
               are provided and license number is not found).
PX. 1753 at 1; see also Tr. 1197:16–1199:18 (McClendon).

      A prior version of the verification process involved comparing the first

twenty characters of the first name. PX. 1752; see also Tr. 1201:9–25 (McClendon).

The change was made sometime after 2017. Tr. 1202:1–4 (McClendon).

      For records verified by the SSA, the SSA automatically returns to DDS the

exact information provided to them. PX. 1753 at 2; see also Tr. 1200:20–8

(McClendon). These responses can include any of the following: invalid input

data; multiple matches – all deceased; multiple matches – all alive; multiple

matches – at least one alive and one deceased; single match – alive; single match

– deceased; no match found; or system error. PX. 1753 at 2.

      Fourth, and finally, after it has performed the verification process, DDS

transmits the voter information back to the Secretary of State with a
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determination of whether the information was verified or not and, if not, the

reasons therefor. Tr. 1191:11–21, 1199:19–1200:7 (McClendon); Tr. 3574:4–19

(Harvey); see also PX. 1751. DDS takes no further action regarding a voter’s

registration information after it returns the verification to the Secretary. Tr.

1192:7–9 (McClendon). 16

       If the information processed by DDS does not come back as a match, e.g.,

Jonathan William Smith registers to vote as Billy Smith, a name that he goes by,

the eNet system will flag the person in what is called Active-MIDR (missing

identification requirement) status. Id.; see also Tr. 3577:18–20 (defining MIDR)

(Harvey). The matching is fully automated and binary: a voter is either flagged

or not based on whether the information returns and is verified. Tr. 1950:12–

1951:14 (Harvey); see also PX. 2054, Tr. 156:2–156:24 (Rayburn Dep.).

       Persons flagged as Active-MIDR status are deemed to be registered voters

in Georgia. Tr. 3581:4–8 (Harvey); see O.C.G.A. § 21-2-220.1. Regardless of the

flag, these voters can vote in person so long as they present a form of acceptable




16 In general, the above-described process applies only to voters who did not register
through DDS to begin with. If a voter registers through DDS, including via automatic
voter registration, their information will automatically match what is on file with DDS
before the registration is sent to counties to be processed. Tr. 1950:12–1951:14 (Harvey).
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identification. Tr. 3574:20–22 (Harvey); Tr. 399:12–20, 505:16–21 (Mayer). They

can vote absentee by mail only by providing some form of required identification;

the absentee ballot will otherwise be treated as a provisional ballot and can be

cured within the three-day period by, again, providing the required

identification. Tr. 3575:2–4, 9–14 (Harvey).

      When persons in Active-MIDR status vote for the first time, they can use

more types of information—including a copy of a current utility bill, bank

statement, government check, paycheck, or other government document that

shows the name and address of such elector—to prove their identity than are

permitted under the photo identification requirement of registered voters who

are not in the MIDR status. Compare O.C.G.A. § 21-2-417(c) with O.C.G.A. § 21-

2-417(a); see also Tr. 1614:20–22; 4137:23–24, 4141:11–17 (Germany). These forms

of identification are referred to as HAVA ID, which is broader than the photo ID

requirement for voters who previously have voted. Tr. 4137:3–10, 4141:21–25,

4142:1–7 (Germany).

      Plaintiffs’ expert, Dr. Mayer, concurred with this understanding, stating

that “[a] registrant who’s been flagged as MIDR is required to clear that flag

before they are given a ballot, and they could clear that flag by showing a form


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of I.D. that is otherwise required by Georgia’s voter I.D. law, but it’s also possible

for certain registrants, particularly first-time registrants, to clear that flag with a

different set of identification documents.” Tr. 399:14–20 (Mayer).

      One purpose of MIDR is to prevent the same person from registering

various aliases and proving that the registering voter is an actual person. Tr.

3604:11–19, 3606:14–24 (Harvey). A similar purpose of the match policy is to filter

out false registrations. Tr. 3605:20–3606:8 (Harvey).

      Importantly, an MIDR flagging also signals to the poll worker that this

voter is permitted to use HAVA ID to vote. Tr. 4141:7–25, 4142:1–11, 4145:8–18,

Tr. 4146:7–12 (Germany). Mr. Germany provided uncontested testimony that this

notice is necessary for compliance with HAVA; without it, poll workers would

be unable to identify which voters were allowed to alternatively provide a HAVA

ID, as opposed to one of the photo IDs usually required by Georgia law, to vote.

Tr. 4146:4–12 (Germany). In other words, another purpose of the Active-MIDR

status is to ensure that those first-time voters eligible under federal law to

provide HAVA ID can do so. Tr. 4145:15–18 (Germany). 17



17The Court recognizes that there is a conflict in the testimony as to the purpose of
MIDR because, at one point, Mr. Harvey had no answer for the Court when asked why

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      If the voter does not have any of those forms of identification, they are

permitted to cast a provisional ballot. O.C.G.A. § 21-2-417(c); Tr. 3578:5–10,

3604:20–3605:18 (Harvey); Tr. 4145:19–25 (Germany).

      Other than being eligible to provide the aforementioned additional forms

of identification—HAVA ID—when voting for the first time, there are no

practical differences between a registered voter in Active-MIDR status and one

that is not. Tr. 4146:13–17 (Germany).

      Persons on Active-MIDR status may also vote by absentee ballot once they

have provided one of the broader forms of identification to a county election

office; if the voter has yet to provide the identification, the absentee ballot will be

treated as provisional and can be cured within the three-day period by, again,

providing the required identification. Tr. 3575:2–4, 9–14 (Harvey); Tr. 4145:19–25

(Germany).




the Secretary of State needs MIDR. Tr. 1993:5–12. After review, however, the Court
deems it proper to resolve the conflict by giving the greater weight to Mr. Harvey’s
subsequent trial testimony in which he provides a substantive purpose for MIDR. The
Court also gives greater weight to the testimony of Mr. Germany (set out above).
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      Persons who are flagged in Active-MIDR status receive a letter from their

county election office notifying them of the kinds of identification they will need

to vote. Tr. 399:21–24 (Mayer); see also PX. 1900.

      The letter sent to voters in Active-MIDR status informs them that they need

to provide one of two forms of identification: (1) a photo ID that complies with

Georgia’s photo ID law (such as a driver’s license) or (2) one of the alternative

identification forms permitted under HAVA. PX. 1900; see also Tr. 401:22–402:5

(Mayer).

      The Secretary of State’s Deputy Elections Director and Deputy General

Counsel explained that the requirement to provide ID would also apply to voters

in MIDR status requesting an absentee ballot. Such voters would be sent a

provisional absentee ballot with instructions to show ID before their vote will be

counted. PX. 2054, Tr. 197:10–197:16 (Rayburn Dep.).

      The placement of an individual in Active-MIDR represents a change in this

process due to HB 316. Tr. 3576:24–3577:17 (Harvey); see also O.C.G.A. §§ 21-2-

220.1(b), 21-2-216(g)(7); Tr. 3576:18–24 (Harvey) (reviewing DX. 42 (O.C.G.A.

§ 21-2-220.1)); Tr. 3580:8–23 (Harvey) (reviewing DX. 46 (O.C.G.A. § 21-2-216)).

Prior to the enactment of HB 316, someone who failed the matching process


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would be identified as “pending registration” and not on the active list of voters.

Tr. 3576:24–3577:17; 3603:14–15 (Harvey); PX. 2054, Tr. 196:16–196:22 (Rayburn

Dep.). Consequently, the voter would not receive a precinct card (Tr. 3577:13–17

(Harvey)), and their time to take action to remain on the active voter list was

shorter than for persons who were deemed active voters. See, e.g., O.C.G.A. § 21-

2-235. Persons in pending status may have “a slight delay” to vote because the

poll worker may need to call the poll manager over for “some entry to update”

the voter’s status. Tr. 3577:21–3578:4 (Harvey).

                             (2)   The Impact of MIDR

      Prior to the passage of HB 316, the Secretary of State’s Office conducted a

demographic study and concluded that 70% of those in pending status were

African American. Tr. 3601:14–3602:2 (Harvey). Plaintiffs’ expert evidence

showed that 60,477 registrants were in MIDR status as of January 2020. PX. 1278

at 16, 18; Tr. 508:4–5 (Mayer). Of those, 69.4% were African American; 11.4% were

white non-Hispanic; 5.7% were Hispanic; 3.3% were Asian or Pacific Islander;

3.4% were other or two or more demographic categories; and 7% were unknown.

PX. 1278 at 18. This translates to 2.03% of registered African American voters in




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Georgia; 0.19% white non-Hispanic; 1.50% Hispanic; 1.19% Asian or Pacific

Islander; and 1.71% other or two or more demographic categories. Id. at 19.

                     b)     Exact Match Citizenship

                              (1)    The citizenship verification process and
                                     purpose 18

      In Georgia, only United States citizens are eligible to vote. O.C.G.A. § 21-

2-216(a)(2); see also Tr. 3581:1–3 (Harvey). The Election Code requires the

Secretary of State to “establish procedures to match an applicant’s voter

registration information to the information contained in the data base maintained

by [DDS] for the verification of the accuracy of the information provided on the

application for voter registration, including whether the applicant has provided

satisfactory evidence of United States citizenship.” O.C.G.A. § 21-2-216(g)(7); see

also Ga. Comp. R. & Regs. 590-8-1-.02.

      All voters must demonstrate citizenship at the time of registration, and the

SEB has promulgated a rule establishing the types of acceptable proof for voter




18 For purposes of perfecting the record and consistency, all transcript references to
“S.A.V.E.” have been changed to “SAVE” in this Opinion.


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registration purposes. Tr. 3585:12–21 (Harvey) (considering DX. 777 (Ga. Comp.

R. & Regs. 183-1-6-.06)).

       In Georgia, when a voter registers using a driver’s license or an ID card

number, they go through a citizenship verification process. Tr. 359:8–14 (Mayer).

The data used for the verification process is that which is on file with DDS. Tr.

359:19–23 (Mayer). 19

       If during the citizenship verification process, a match does not occur with

the voter’s DDS file, they are flagged as needing to provide evidence of

citizenship and are placed in pending status. Tr. 364:5–25 (Mayer), Tr. 3582:12–

16 (Harvey).




19  Noncitizens may obtain a Georgia driver’s license. Tr. 3581:18–25 (Harvey). The
license is known as a “limited term” license as opposed to those that show the driver is
a United States citizen. Id.; Tr. 1203:1–6, 10–17, 1204:2–4 (McClendon). Noncitizens must
renew their limited term license or state ID card in person and cannot do so online. Tr.
1203:23–1204:1 (McClendon). The expiration of limited-term driver’s license or state
identification card is tied to the lawful duration of the noncitizen’s stay in the United
States. Tr. 1203:14–17 (McClendon). DDS does not know when someone becomes a
citizen unless the individual informs DDS of the change in citizenship status. Tr. 1205:2–
5, 1206:2–4 (McClendon). If the individual does not inform DDS of a change in
citizenship status, the individual will remain in the DDS database as a noncitizen. Tr.
1205:2–5, 1203:23–24 (McClendon). Mr. Harvey testified that the DDS citizenship
information is “outdated for people that don’t update their citizenship status.” Tr.
2038:10–14 (Harvey).
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      To this end, voters in pending status are then sent a letter by a local election

official by U.S. mail. Tr. 364:20–25 (Mayer). The letter indicates that a registrant

placed in pending status may provide confirmation of their citizenship at the

polls or while requesting an absentee ballot and be able to vote. Specifically, the

letter states that the registrant may vote by providing, in addition to the valid

photo ID required under Georgia law, a birth certificate issued by a U.S. State or

the U.S. Department of State; a U.S. Passport; a Certificate of Citizenship; a

Naturalization Certificate; a U.S. Citizen ID card; or any of the fifteen other forms

of verification allowed under Georgia law. PX. 1231 at STATE-DEFENDANTS-

00742580.

      Individuals who are in pending status for citizenship can vote if they go to

their polling place and provide proof of citizenship. Tr. 1683:5–11 (Germany).

These individuals will be on the voter list at the polling location as someone who

had registered but is just pending their citizenship verification. Id.

      A Secretary of State regulation, Ga. Comp. R. & Regs. 590-8-1-.02, provides

that if the DDS cannot determine citizenship, the county election office must

make sure that the driver’s license identification number or identification card




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was entered properly before deciding on that individual’s eligibility as a voter.

Tr. 3583:1–21, 3584:1–18 (Harvey); DX. 780.

      The same regulation refers to the SAVE system, which the Secretary began

to use after the 2020 election. DX. 780. “SAVE” stands for Systematic Alien

Verification for Entitlements. Tr. 1708:14–17 (Germany). 20 Outside the elections

and voter registration context, states are required to use SAVE to check the

citizenship status of individuals applying for public benefits. Tr. 282:23–25

(McCrary). SAVE is a different system than E-Verify. Tr. 282:18–22 (McCrary). In

2021, the Secretary of State’s Office used SAVE to audit the voter rolls and records

from DDS. Tr. 1680:15–16, 1680:20–22 (Germany). The range of dates for the

registrations that the Secretary of State’s Office identified during the audit was

from 1997 until February 24, 2022. Tr. 1728:1–2 (Germany). During that audit, the

Secretary of State’s Office looked at the entire voter roll. Tr. 1682:3–5 (Germany).

The Secretary of State’s Office worked with DDS to compare data and see what

the Secretary of State’s Office could do to add driver’s license numbers where it




20SAVE is a web-based program operated by the Department of Homeland Security to
help other governmental entities determine the immigration status of applicants for
public benefits or licenses. PX. 2021 at 4; PX. 2014.
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did not have them. Tr. 1681:1–4 (Germany). The Secretary of State’s Office also

had a special process through DDS to get the alien ID numbers of voters. Tr.

1709:6–9 (Germany).

      Upon receiving from DDS the alien registration numbers for voters for

whom they had not been able to verify citizenship, the Secretary of State’s Office

ran those registration numbers through the SAVE process. Tr. 1681:21–24

(Germany). As a result of this audit, 63% of people who had been listed as

pending for citizenship verification came back with their citizenship confirmed

and were put into active status. Tr. 1690:13–14 (Germany).

      Voters who were not verified as citizens based solely or in part on SAVE

were sent a letter from the Secretary of State’s Office stating the following, which

Mr. Germany paraphrased at trial: “[W]e were unable to verify you. Here’s how

you can show your citizenship, including you can show it when you go

vote . . . .” Tr. 1724:7–20 (Germany). The Secretary of State’s Office is currently in

discussions about implementing more frequent uses of SAVE to verify voters’

citizenships going forward. Tr. 1710:2–5 (Germany).




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                              (2)    The impact of Exact Match Citizenship

       At trial, Plaintiffs presented the expert testimony of Dr. Mayer. In his initial

report, Dr. Mayer identified 3,073 registrants flagged as pending for citizenship

verification as of January 2020. PX. 1278 at 21. Of those, 31.6% (972) were African

American; 13.0% (400) were white non-Hispanic; 20.9% (642) were Hispanic;

23.2% (714) were Asian or Pacific Islander; 5.2% (159) were other or two or more

demographic categories; and 6.1% (168) were unknown. Id. at 18. The African

American registrants flagged as pending for citizenship verification represent

about 0.9% of the African American voting age naturalized citizens living in

Georgia at approximately the same time; along with about 0.5% of white non-

Hispanic voting age naturalized citizens; 0.7% of Hispanic voting age naturalized

citizens; 0.5% of Asian or Pacific Islander voting age naturalized citizens; and

0.4% or other or two or more demographic categories voting age naturalized

citizens. Id.

       In his supplemental report, Dr. Mayer compared people in pending status

in a voter file dated January 28, 2020, with a voter registration file from

November 2021. Tr. 365:17–366:5 (Mayer); PX. 1999 at 6. Dr. Mayer testified that

of the 3,073 voters who were in pending status for citizenship verification in the


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January 28, 2020 voter file, 43.1% were no longer in pending status in the

November 2021 voter file. Tr. 366:4–12 (Mayer); PX. 1999 at 6. In other words,

1,323 people in pending status moved to active status, and 1,750 people remained

in pending status. Tr. 370:18–24 (Mayer); PX. 1999 at 6. In Dr. Mayer’s view, this

indicates that the verification process misidentifies citizens as noncitizens with

an “error rate” of 43.1%. Tr. 365:12–14. Dr. Mayer admitted that he did not know

whether the 1,750 registrants who remained in pending status for citizenship

verification as of November 2021 were, in fact, citizens. Tr. 438:4–7 (Mayer). The

Court notes that Dr. Mayer’s findings pre-date the Secretary of State’s SAVE

audit, which found that 63% of voters in pending status were citizens.

Tr. 1690:13–14 (Germany).

                    c)      Plaintiffs’ Exact Match witnesses

      Plaintiffs presented the following witnesses to testify about their voting

experiences in an effort to show how the Exact Match issue burdened voters:

Dr. Benjamin Ansa (PX. 2096 (Ansa Dep.)); Cam Ashling (Tr. 294–326); Kia Carter




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(Tr. 2482–2516); Dr. Carlos del Rio (Tr. 467–485); Rosa Hamalainen (PX. 2048

(Hamalainen Dep.)); Dr. Ali Kefeli (PX. 2049 (Kefeli Dep.)). 21

             3.     The Secretary of State’s Alleged Mismanagement of Voter
                    Rolls

      Plaintiffs next contend that the Secretary of State and SEB are in violation

of the First and Fourteenth Amendments of the United States Constitution due

to their affirmative mismanagement of the voter registration database, which is

the database that houses the registration records of eligible voters in the State of

Georgia. More specifically, Plaintiffs point to three list maintenance processes

that they allege fall within the Secretary of State’s responsibility for managing the

voter registration database: (1) the cancelation of records on the basis that the

voter is convicted of a disqualifying felony; (2) the merger of voter registration

records based on the belief that two records are duplicative and represent only

one eligible voter; and (3) the cancelation of records on the basis that the voter is

deceased.




21 The Court will make specific findings regarding the testimony of these witnesses in
the next section of this Opinion.
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                      a)    Maintaining the official list of registered voters

      Georgia law charges the Secretary of State with “maintain[ing] the official

list of registered voters for this state and the list of inactive voters.” 22 See

O.C.G.A. § 21-2-50(a)(14). The State’s voter registration list is housed in a system

known as “eNet.” Tr. 759:13–21 (Hallman). In Georgia, counties enter voter

registration data into the statewide voter database, including when a voter

moved within the state. Tr. 1629:12–15 (Germany); Tr. 3555:9–18 (Harvey)

(addressing voter moves). The Secretary of State’s Office would not change data

even upon a voter’s request or if it knew the information was inaccurate; instead,

the Secretary of State’s Office would contact the county directly or inform the

voter how to contact the county. Tr. 3556:6–24 (Harvey).

      When a county user logs into eNet, they are presented with a dashboard

listing “buckets” of information on the number of DDS applications and online

voter registrations to process along with items such as duplicate matches, felon

records, and death records. Tr. 772:6–773:1, 764:25–765:5 (Hallman). The county

user then selects a “bucket” and is presented with a list of individual matches to



22 The parties differ on the definition of the word “maintain” and its implications. The
Court will discuss the issue and reach a conclusion in the conclusions of law (standing)
section of this Opinion.
                                         53
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process. Tr. 765:5–12 (Hallman). Ultimately, the decision of whether or not a

“potential” match is a “true” match is made by the counties. Tr. 899:10–12,

899:23–900:4 (Hallman).

                     b)     The felon matching process 23

      In Georgia, persons convicted of felonies who have not completed their

sentence are not eligible to vote. O.C.G.A. § 21-2-216(b). An individual who is

convicted of or who pled to a felony but is on parole or probation will not be

deemed as having completed their sentence for voting purposes. Tr. 3795:25–

3796:3 (Harvey). The felony status does not, however, impair their ability to

obtain a driver’s license. Tr. 3796:6–9 (Harvey). Consequently, many persons who

are ineligible to vote because of felony status—purposefully or inadvertently—

register to vote when they obtain their driver’s license and fail to opt out of the

registration system. Tr. 3796:10–13 (Harvey).

      The Secretary of State’s Office receives information from the Department

of Corrections (“DOC”) and the Department of Community Supervision (“DCS”)




23 The particulars of the felon matching process come to the Court via testimony from
the Secretary of State’s Office on how known felons are actually matched with registered
voters; in other words, the Court’s findings of fact on the felon matching process are
limited to how felon matching occurs in practice.
                                         54
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on a regular basis. Tr. 3567:5–13 (Harvey); O.C.G.A. § 21-2-231(a) (“Unless

otherwise notified by the Secretary of State, the Georgia Crime Information

Center shall, on or before the tenth day of each month, prepare and transmit to

the Secretary of State and The Council of Superior Court Clerks of Georgia a

complete list of all persons, including dates of birth, social security numbers, and

other information as prescribed by the Secretary of State or The Council of

Superior Court Clerks of Georgia, who were convicted of a felony in this state

since the preceding reporting period.”) 24 (emphasis added).

      Under Georgia law, “[u]pon receipt” of the felon list and “the lists of

persons convicted of felonies in federal courts received pursuant to 52 U.S.C.

Section 20507(g), the Secretary of State shall transmit the names of such persons

whose names appear on the lists of electors to the appropriate county board of

registrars.” O.C.G.A. § 21-2-231. The Secretary’s current practice is to run the

felon list information through eNet for potential matches to provide to the

counties. Tr. 862:15–18 (Hallman); Tr. 3567:13–17 (Harvey); Tr. 1329:12–20




24Mr. Harvey testified that the DOC and the DCS send a list “every month of all the
people that are currently serving felony sentences in Georgia.” Tr. 3567:7–13 (Harvey).
                                        55
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(Frechette). The Secretary has the discretion to determine what matching criteria

will be used in eNet. Tr. 3733:19–22 (Harvey).

         The Secretary has programmed eNet to conduct a monthly comparison

between those monthly lists and the list of registered voters in eNet. PX. 800 at

19. 25 The file from DOC is run at the end of the month, and the file from DCS is

run in the middle of the month. Id. at 20.

         Potential matches between the felon lists and existing voter registration

records are displayed on the county dashboard for review by the county.

Tr. 1329:21–1330:1 (Frechette). Matches are highlighted if certain criteria are the

same, and the Secretary of State establishes the criteria that will highlight a

potential match of someone on the voter database with someone who is also on

the list of felons supplied by the state and federal governments. Tr. 3720:5–9



25   The specific language in the Secretary’s training materials is as follows:
                 The Department of Corrections (DOC) provides a file that
                 contains the information for all inmates currently
                 incarcerated for a felony conviction and the Department of
                 Community Supervision (DCS) provides a file of all of the
                 individuals on probation and parole as the result of a felony
                 conviction to the Secretary of State’s Office. These files are
                 compared to the information in the voter registration system
                 each month.
PX. 800 at 19.
                                             56
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(Harvey). eNet provides counties with “tight” felon matches listed first and then

“loose” matches, which become looser as the user goes down the list. Tr. 871:8–

18, 872:12–18 (Hallman). The Secretary of State’s training documents provide the

following comparison criteria used by the Secretary of State to highlight a

potential match for the counties to process, listed from tightest to loosest:

             a.    Last Name, First Name, Last 4 SSN, Date of Birth
                   – Active, Inactive, Pending, Reject
             b.    Last Name, First Name, Last 4 SSN, Date of
                   Birth—Cancelled
             c.    Last Name, Last 4 SSN, Date of Birth
             d.    First Name, Last 4 SSN, Date of Birth
             e.    Last Name, First Name, Date of Birth
             f.    Last Name, Date of Birth, Race, Gender

PX. 800 at STATE-DEFENDANTS-00115960; Tr. 1337:6–23, 1337:24–1338:2

(Frechette); see also PX. 800 at STATE-DEFENDANTS-00115961.

      There was evidence of eNet repeatedly flagging one voter, Elizabeth Bauer,

as a felon. PX. 658. 26 The evidence also showed that another voter, Andre Smith,

was repeatedly canceled. DX. 724.




26This exhibit was taken under advisement at trial and later admitted per the Court’s
Order at Doc. No. [915].
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      According to the Secretary of State’s Office, each county is responsible for

setting its own county-wide policy to apply to potential matches sent by the

Secretary of State’s Office to determine whether it is a true match; some counties

will do extra research on their own to determine if the person who is a potential

match is an actual ineligible felon. Tr. 3570:5–10 (Harvey); Tr. 1351:16–1352:11

(Frechette).

      Different counties have different resources and staff available; accordingly,

Mr. Hallman testified that it is difficult to choose a single procedure that fits the

needs of all counties. Tr. 869:19–22 (Hallman). As such, the counties are expected

to establish a uniform procedure for processing felon matches that is fair,

utilizing the resources and staff available in that county, and treating each record

in the same manner with no preference for one over the other. Tr. 870:3–15

(Hallman); PX. 541.

      Some larger counties, such as Fulton County, told the Secretary of State’s

Office they found reviewing looser matches difficult due to the large number of

potential matches in that bucket. Many of the smaller counties, however, find the

looser matches to be a useful tool. Tr. 871:7–873:20, 873:24–874:16 (Hallman);

Tr. 1359:19–23, 1360:14–25, 1361:9–12 (Frechette); PX. 1151.


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       Previously, in 2017, the Secretary of State eliminated a potential match

filter consisting of only the last four digits of the social security number and date

of birth because it was “showing too many false positives and all the good

matches will be caught by other filters.” Tr. 1359:12–18 (Frechette); PX. 365.

       Ms. Frechette testified that she was not aware of any current issue with

eNet producing “a lot of false matches” for felons. Tr. 1355:14–19 (Frechette).

When the structure of the DOC was changed and split into two agencies, namely

the Department of Community Services and the Department of Community

Supervision, however, the number of individual felon records listed for the

counties to process was higher than usual. Tr. 876:7–20 (Hallman); PX. 1151.

       County election offices review these potential matches sent over by the

Secretary of State and make determinations as to whether the person on the voter

list is ineligible to vote by reason of a felony conviction. Tr. 3568:2–19, 3569:14–

25, 3572:21–3573:6 (Harvey). 27




27 The 2019 training materials also indicated that “[t]he records that are in cancelled or
rejected status will no longer be listed on the felon reports” of the county user’s
dashboard. PX. 1903. The training materials further state that the number of felon
records shown on the county user’s dashboard is for the “current day only.” PX. 1903.
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      In other words, under current practices, regardless of the criteria used for

identifying potential matches, the counties are the ones who make the choice as

to what information is, in fact, a true match. Tr. 873:3–5 (Hallman).

      Additional testimony from Mr. Harvey and 2019 training materials (PX.

1903) established that the “[t]he record when marked as a Felon match is flagged

as a Challenged—Felon.” PX. 1903. The training materials further indicate that if

the county eNet user is “unsure” if there is a felon match when processing the

Felon Dashboard Report, “the Challenge button can be used to handle those

records following O.C.G.A. § 21-2-228.” PX. 1903. Said Code section involves the

right of registrars to reexamine the qualifications of electors. O.C.G.A. § 21-2-

228(a). It also gives the county board of registers the right to subpoena documents

and witnesses and serve summonses and notices. O.C.G.A. § 21-2-228(b).

      Before a county cancels a voter for felony status, the county board of

registrars is required, by statute, to mail the voter a letter thirty days in advance.

O.C.G.A. § 21-2-231(c)(2). Pursuant to Georgia law, the letter is supposed to state

“that the board of registrars has received information that such person has been

convicted of a felony and will be removed from the list of electors 30 days after

the date of the notice unless such person requests a hearing before the board of


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registrars on such removal.” O.C.G.A. § 21-2-231(c)(2). To this regard, if a voter

objects to the felon designation, the voter is entitled to a hearing. Id.

      During his trial testimony, former Elections Director Harvey reviewed

O.C.G.A. § 21-2-231 (DX. 787) and testified that he was familiar with the

§ 231(c)(2) hearings. He further testified that the burden of proof at these hearings

is on “the entity that is challenging the elector.” Tr. 3828:6–12, 3842:12–18

(Harvey).

      However, Mr. Harvey also confirmed that 2019 training materials tell the

counties that the voter must provide proof to remove the felon challenge flag. Tr.

3738:23–25–3739:1–2, 3842:24–25, 3843:1–2; see also PX. 1903 at STATE-

DEFENDANTS-00068941 (“If the voter provides proof to remove the Felon

Challenged flag or if matched in error . . . . The record should be removed from

the 40day Felon clock and the Challenged flag removed”). 28 In addition,

Ms. Frechette testified that a voter who is challenged for any reason has “the

responsibility to clear up the issue” before the voter could vote. Tr. 1328:1–5




28 The Court recognizes that the training materials provide for a “40 day Felon clock,”
while O.C.G.A. § 21-2-231(c)(2) provides for felon removal after 30 days of the date of
the board of registrar’s notice.
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(Frechette). However, Ms. Frechette also testified that she did not “remember the

exact guidelines for a hearing” when asked if the voter needed to seek a hearing.

Tr. 1327:16–25.

       Considering witness credibility and Mr. Harvey’s level of experience and

familiarity with the § 231(c)(2) hearings, the Court will resolve the conflicting

evidence and trial testimony by giving greater weight to Mr. Harvey’s testimony

that the burden at the § 231(c)(2) hearing is on “the entity that is challenging the

elector,” which would be the county in a felon challenge context. Also,

Defendants note in their proposed findings that the training materials appear to

be contrary to law, and they cite O.C.G.A. § 21-2-229(c) to support this statement.

Doc. No. [855], ¶ 444. O.C.G.A. § 21-2-229(c) imposes the burden of challenging

a voter’s eligibility on the “elector” making the challenge. Said Code Section is

not mentioned in the Secretary of State’s felon matching training materials and

utilizes the term “elector” 29 as opposed to the terms “county” or “board of




29 As stated in the Georgia Election Code, the term “elector” “means any person who
shall possess all of the qualifications for voting now or hereafter prescribed by the laws
of this state, including applicable charter provisions, and shall have registered in
accordance with” Georgia law. O.C.G.A. § 21-2-2(7).


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registrars.” The Georgia Supreme Court has stated that: “OCGA § 21–2–228

permits a county or municipal board of registrars to challenge a person’s right to

register to vote or to remain on the list of electors, and OCGA § 21–2–229 permits

an elector to bring the same type of challenge.” Cook v. Bd. of Registrars of

Randolph Cty., 291 Ga. 67, 71, 727 S.E.2d 478, 482 (2012). If it is “the same type of

challenge,” it is conceivable that the § 229 burden language may apply to the

present circumstances under the doctrine of in para materia, but it is not necessary

for the Court to make a definitive statutory interpretation ruling for purposes of

resolving the felony match issue.

      Regardless of the applicability of § 229, there was no evidence put forth of

any accused felon having made a formal showing (or offer of proof) in a

§ 231(c)(2) hearing that he or she was not a felon. However, none of Plaintiffs’

felon match witnesses ever proceeded to a § 231(c)(2) hearing; it is important to

note that the evidence at trial showed that some Georgia voters found themselves

incorrectly canceled as persons convicted of disqualifying felonies, without

receiving any advance notice—and thus, there was no § 231(c)(2) hearing process.

Those voters are Dale Thomas, Jean Duncan, Douglas Miller, and Andre Smith

(discussed above). PX. 89 at 1–2, PX. 1715, PX. 2071. Furthermore, three voters,


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Andre Smith, Elizabeth Bauer, and Chris Warren, were either asked to provide

or did provide proof that they were not felons. Tr. 2438:10–14; PX. 658, PX. 900,

PX. 912, PX. 2019. 30

      Plaintiffs’ felon match evidence at trial also showed that in 2018 and 2020,

the Election Administration and Voting Survey (“EAVS”), published by the

Election Assistance Commission, identified Georgia as the state with the most

felon removals (68,249 and 54,730, respectively). PX. 1904; PX. 1981 at 167.


                        c)   The duplicate matching process

      In general, a potential duplicate match occurs when eNet identifies people

who may be the same person, e.g., Jonathan William Smith living in Fulton

County and DeKalb County. Tr. 3575:22–3576:13 (Harvey). Duplicate matches

can be identified either when a new registration is processed or when counties

review batches of potential matches provided by the Secretary of State’s Office.

Tr. 1300:8–21 (Frechette).

      In either instance, the Secretary of State’s Office distinguishes between

“tight” and “loose” potential matches and provides both for county registrars to



30The Court will make specific findings regarding these voters the next section of this
Opinion.
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process. Tr. 793:18–794:9 (Hallman). A “tight” potential match is one involving a

“unique identifier,” like a social security number or a driver’s license number,

“and a lot of other information matching first name, last name, date of birth.” Tr.

793:18–20 (Hallman). A “loose” potential match may include matches on one or

two criteria, for example, first initial and last name. Tr. 791:6–10, 793:12–794:6

(Hallman); see also PX. 1878 at 55.

      Loose matches are often used to find records where an existing voter

record needs to be corrected. Tr. 793:22–794:6 (Hallman). If loose match criteria

were not used, it would run the risk of permitting the system to contain multiple

registrations with multiple errors. Tr. 793:18–794:4 (Hallman). Because it is a

unique identifier, if two records had the same driver’s license number but

different first or last names or a different date of birth, it would still be treated as

a potential match for comparison by the county user. Tr. 767:25–768:5 (Hallman).

      When a new voter’s registration information is initially entered into eNet

by a county user, the system automatically searches existing voter records to

identify whether there are any existing records for that voter and to avoid the

creation of duplicate records. Tr. 762:15–763:1, 787:4–13 (Hallman); Tr. 1221:5–12

(Frechette).


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      If there is a match between certain criteria in the new application and

existing record, the records are sent to the county’s dashboard for review and

determination of whether the records are a true match for the same person. Tr.

1222:23–1223:5 (Frechette). These criteria include, for example, first name, last

name, and date of birth. Tr. 1290:10–21 (Frechette).

      If the county official determines that the records are a true match for the

same person, the information from the new application replaces the information

in the existing record so there is only one surviving record. Tr. 1223:6–12

(Frechette). The purpose of this process is to, where necessary, update an existing

voter record rather than create a new, duplicate record for the voter. Tr. 1222:1–5

(Frechette).

      Ms. Frechette testified that in reviewing potential matches between a new

registration and an existing voting record, county officials also conduct

independent research to determine whether a true match exists. Tr. 1257:7–14

(Frechette). Ms. Frechette testified that the Secretary of State’s Office does not

provide a minimum number of identifiers that must match between a new

application and an existing record before a county official should decide that the

two records are a true match for the same voter. Tr. 1264:3–7 (Frechette). Ms.


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Frechette would, however, help county officials find resources and information

at their disposal to resolve their questions about potential matches. Tr. 1259:18–

22, 1260:8–12 (Frechette).

      Ms. Frechette testified that it was not typical for a county official, in

reviewing potential matches, to automatically assume there was a true match for

the same voter based solely on a matching driver’s license number. Tr. 1257:7–14

(Frechette). Regardless, like the felon match process, under current practices, the

Secretary does not make the final determination of whether the potential

duplicates are, in fact, the same person. That process is completed by the county

election offices. Tr. 3576:14–19 (Harvey); Tr. 1315:23–1316:2 (Frechette).

      The eNet system also runs various batch processes on a daily, weekly, and

monthly schedule to identify potential duplicates, and the results appear on the

dashboard for county registrars to process. Tr. 772:6–773:1 (Hallman); Tr.

1295:25–1296:13, 1300:2–4 (Frechette). eNet is programmed to apply four criteria

to check for potential duplicate records: (1) first name, date of birth, and last four

digits of social security number; or (2) full social security number; or (3) driver’s

license number; or (4) first name, date of birth, and last four digits of social




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security number. PX. 1903 at STATE-DEFENDANTS-00068944; see also Tr.

1300:5–7 (Frechette).

      The process for handling these potential match batches is structurally

similar to that used during new registration; the eNet system displays on a

county worker’s dashboard the existing voter registration information and the

new data side-by-side for the county registrar to determine whether it is the same

person. Tr. 765:13–18, 21–24 (Hallman); see also PX. 1903 at STATE-

DEFENDANTS-00068944.

      When there are duplicate records, the system does not automatically

override an existing record; eNet requires a county user to look at the screen and

make that determination manually. Tr. 765:19–766:1 (Hallman); Tr. 1305:9–16

(Frechette). Under current practices, it is the counties’ responsibility to

implement practices on how to process such potential duplicate records for

review. Tr. 1296:14–15, 1297:14–15 (Frechette); Tr. 765:19–766:1, 772:1–773:1,

773:11–14, 774:7–15 (Hallman).

      As a precautionary measure, if a county cancels a voter from another

county in the duplicate merge process, the other county will be notified of the




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cancelation on their dashboard because that county is required to send the voter

a letter. Tr. 825:21–826:4 (Hallman).

      The system is designed to strike a balance between using business logic to

prevent mistakes and allowing flexibility for registrars to correct errors. Tr. 805:4–

806:3 (Hallman). Mr. Hallman testified that “[y]ou don’t want to make the system

too restrictive because then you can’t fix problems or even identify problems.”

Tr. 805:20–22 (Hallman). Mr. Hallman also testified that adding additional

criteria to the potential matching process would put more demand on the system

and potentially slow down the process of voter registration applications, which

is a problem the State’s vendor has warned against. Tr. 848:11–849:2 (Hallman).

      If a county user mistakenly merges a potential duplicate match that is not

a match, the resulting voter registration file will contain errors. Tr. 794:14–21

(Hallman); Tr. 1223:13–24 (Frechette). Mr. Hallman testified that it is uncommon

for county users to incorrectly merge duplicate voter records, but he stated that

it has happened more than once. Tr. 798:2–5, 12–14, 818:18–25 (Hallman). Where

such did occur, Mr. Hallman testified that it would likely be treated as an

individual training issue for that particular county user. Tr. 803:16–22 (Hallman).




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      Training guides are limited in scope and do not include every aspect of

election procedure, although the county users were reminded during training

sessions to double check their screens and make sure they were not making

mistakes. Tr. 805:22–807:4 (Hallman). None of the Secretary of State’s training

materials contain any best practices about which values must match, or the

proper procedures to follow when evaluating two different records. See, e.g., PX.

50; PX. 800; PX. 1878; PX. 1903. The Secretary’s policy is that “it’s the

responsibility of the county office to review the two records to determine if it is

the same person or not.” Tr. 1324:10–12 (Frechette). Indeed, Ms. Frechette

testified: “Minimal standards just wasn’t part of our vocabulary. It was review

the records and make the decision for your county registrations.” Tr. 1324:22–24

(Frechette).

      Mr. Hallman testified that ultimately, if a county user mistakenly canceled

a registered voter and that person went to his or her polling place to vote, it is

“supposed to be handled” by issuing that person a provisional ballot to vote and

the county going back and researching “what happened with that person’s

record.” Tr. 812:17–813:6 (Hallman).




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                     d)    Vital records matching process

      Unlike the duplicate and felon matching processes, the Secretary does

remove from the voter database voters who appear on lists submitted by the

Georgia Department of Public Health who are deceased. O.C.G.A. §§ 21-2-231(d),

(e); Tr. 3597:2–8 (Harvey). eNet identifies deceased voters by comparing the voter

registration rolls with vital records from the Georgia Department of Health on a

weekly basis. Tr. 884:14–24 (Hallman).

      To prevent incorrect deletions of voter records, the Secretary utilizes what

is called a “tight match,” which compares a (possibly deceased) voter’s and

recently-deceased’s last name, date of birth, and Social Security Number.

Tr. 3597:9–13 (Harvey); Tr. 1321:22–1322:5 (Frechette); see also PX. 800 at 12.

      If those factors match, the registrant is automatically canceled in eNet.

Tr. 3597:9–13 (Harvey); Tr. 1322:22–1323:11 (Frechette). Counties are sent a list of

persons who have been canceled pursuant to this process so they may

doublecheck the Secretary’s work. Tr. 3597:16–25 (Harvey).

      Counties have an independent obligation to remove from the voter

registration database persons they know to be deceased based on information

from “obituaries published by local newspapers, death certificates, verifiable


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knowledge of the death, and information provided in writing and signed by a

family member or members of the deceased person.” O.C.G.A. § 21-2-231(e.1)

      To facilitate this process, in addition to the automatic cancelation of “tight”

vitals matches, the Secretary of State’s Office also provides “loose” potential

vitals matches to counties for manual review. Tr. 885:20–24, 886:5–7 (Hallman).

      A loose potential vitals match is flagged when either of the following sets

of criteria matches between records: (1) last name and date of birth; or (2) last

name and social security number. Tr. 1323:12–21 (Frechette); PX. 800 at 13.

      As with the felon and duplicate matching processes, if eNet identifies a

loose match, the potential match will be displayed on the county dashboard for

review by county registrars. Tr. 1323:17–21 (Frechette).

      Also like these other matching processes, Ms. Frechette testified that the

Secretary of State’s Office does not tell the county how to make the decision of

whether a true match exists between death records and existing voter registration

records. Tr. 1327:3–12, 1329:4–11 (Frechette). It is, again, the counties’

responsibility to review the information in the potential match, decide if there is

a true match, and cancel the record. Tr. 1324:1–3, 10–12 (Frechette). Plaintiffs put

forth no evidence from county officials to show that the criteria used by the


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Secretary of State to identify potential matches definitively led to errors occurring

in counties’ determinations, either due to the volume of the batches or otherwise.

      Counties are encouraged to perform audits on their vital records canceled

automatically by the system to ensure the files have been removed from their

active voter files. Tr. 893:3–11, 894:13–15 (Hallman).

                     e)    List Accuracy witnesses

      Witnesses who testified about list accuracy burdens include the following:

Kia Carter (Tr. 2482–2516); Dasia Holt (PX. 2103 (Holt Dep.)); Kelly Dermody (PX.

2101 (Dermody Dep.)); Nicole Freemon (Tr. 1494–1515); Julian Grill (PX. 2056

(Grill Dep.)); Alkhealasharteula Harrison (Tr. 2665–2690); Emily Huskey (Tr.

1141–1168); Antoinette Johnson (PX. 2105 (Johnson Dep)); Brenda Lee (PX. 2095

(Lee Dep.)); Anthony McKissic (Tr. 2723–2749); Meridith Rose (Tr. 2765–2819);

Andre Smith (Tr. 2429–2481); Jayme Wills (PX. 2052 (Wills Dep.)).

             4.    Plaintiffs expert witnesses

      At trial, Plaintiffs offered expert testimony from the following experts:

Dr. Adrienne Jones; Mr. Kevin J. Kennedy; Dr. Ken Mayer; Dr. Peyton McCrary;

and Dr. Lorraine Minnite. The Court will now provide an overview of the expert

testimony presented at trial.


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                     a)       Dr. Adrienne Jones

      Dr. Adrienne Jones received her J.D. from the University of California,

Berkley. Tr. 937:7–8 (Jones). After graduating law school, she pursued a Ph.D. in

political science at the City University of New York; her graduate work focused

on the Voting Rights Act of 1965. Tr. 937:17–23 (Jones). Dr. Jones has been a

professor of political science at various institutions for around twenty-two years.

Tr. 936:7–19 (Jones). She is currently in her sixth year as a Professor of Political

Science at Morehouse College, where her academic focus is on African American

political development. Tr. 936:12–19, 938:13–19 (Jones). In addition to her

dissertation, Dr. Jones has published two peer-reviewed articles on the VRA, and

she is currently working on another peer-reviewed article and a book on the VRA.

Tr. 940:1–6, 13–19 (Jones).

      This Court qualified Dr. Jones as an expert of historical review. Tr. 950:3–10.

At trial, Dr. Jones testified about the history of voting and voter suppression,

specifically as it related to the history of African American voting in Georgia. Tr.

951:19–22 (Jones). This Court credits the testimony of Dr. Jones inasmuch as her

expert report provides a historical backdrop pertinent to cases brought under

Section 2 of the VRA. However, this Court ascribes only limited weight to Dr.


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Jones’s testimony concerning the matters addressed in her report that occurred

after 1990. Likewise, this Court attributes limited weight to testimony that did

not connect Dr. Jones’s historical backdrop to the present practices at issue. The

Court gives no evidentiary weight to Dr. Jones’s statements about polling place

closures as this Court has already found that Plaintiffs lack standing to assert

their polling place closure claims against Defendants. Doc. No. [612], 36–42.

                     b)    Mr. Kevin J. Kennedy

      Mr. Kevin Kennedy served as Wisconsin’s chief election officer from 1982

through 2016. Tr. 2820:15–19 (Kennedy). 31 He was a member of the National

Association of State Election Directors (“NASED”) from 1990 to 2016 and served

as the organization’s president in 2006. Tr. 2825:23–2826:15 (Kennedy). He was

also involved with the Election Center, a nationwide training organization for

state and local election officials, from the 1980s to 2016. Tr. 2827:9–15 (Kennedy).

      After concluding his time as chief election officer in 2016, he became an

“inspector” for Wisconsin elections; in Georgia, this is equivalent to a poll worker.

Tr. 2824:17–25 (Kennedy). He is currently Madison, Wisconsin’s chief election




31 Mr. Kennedy was also appointed Wisconsin’s chief election officer under HAVA.
Tr. 2821:11–13 (Kennedy).
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inspector, and in that role, he is responsible for overseeing the smooth and proper

administration of elections at the municipal level. See Tr. 2825:5–15 (Kennedy).

The role also requires him to receive training. Tr. 2825:16–18 (Kennedy).

      This Court qualified Mr. Kennedy as an expert on election training; at trial,

he was permitted to testify as to the threshold level of election training in Georgia

and supervision regarding election training. Tr. 2847:5–6.

      At trial, Mr. Kennedy offered his expert opinion on the inadequacy of

training for poll workers in Georgia regarding absentee ballot cancelation. He did

not offer an opinion as to other issues in this case. This Court finds Mr. Kennedy

credible. The Court will weigh his testimony in its Conclusions of Law.

                     c)    Dr. Ken Mayer

      Dr. Kenneth “Ken” Mayer has a bachelor’s degree and a doctorate in

political science; he received his B.A. from University of California San Diego in

1982 and his Ph.D. from Yale University in 1988. While at the University of

California, he also minored in applied mathematics, and much of his coursework

focused on applied statistics and quantitative methods used in political science.

Tr. 327:24–328:4 (Mayer). Since 1989, Dr. Mayer has been a professor of political

science at the University of Wisconsin in Madison, Wisconsin. Tr. 328:6–11


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(Mayer). He is also an affiliate professor at the La Follette School of Public Affairs,

located in Madison, Wisconsin. Tr. 328:7–8 (Mayer).

       This Court qualified Dr. Mayer as an expert on election administration,

including the analysis of voter registration files; voter verification processes; and

the impact of those verification process, as far as they relate to statistical analyses.

Tr. 342:18–342:1.

       At trial, Dr. Mayer offered his expert opinion on Georgia’s Exact Match

policy and citizenship verification requirements. 32

       Dr. Mayer testified that HAVA does not require states to implement the

Exact Match policy Georgia follows. Tr. 358:13 (Mayer). His testimony indicated

that while HAVA requires “that states go through a verification process by

comparing registration information with information [in] driver’s license or

Social Security Administration files . . . it doesn’t say how [states] do that. That

method is left up to the state.” Tr. 358:4–8 (Mayer). Dr. Mayer explained that there




32 Dr. Mayer did not offer an opinion as to whether any state officials have acted with
discriminatory intent against voters of color or whether Georgia’s voter registration
practices and systems were adopted with discriminatory intent. Tr. 423:5–16 (Mayer).
He also did not offer an opinion about training regarding cancelation of absentee ballots.
Tr. 422:24–423:1 (Mayer).
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were other methods of voter verification available to states that still met baseline

HAVA requirements. Tr. 358:16–21 (Mayer).

      After an intensive statistical analysis, Dr. Mayer concluded that Exact

Match did not affect voters uniformly across the state. Tr. 415:14–15 (Mayer).

Dr. Mayer found “a relationship between the percentage of a county that is

non-Hispanic white and the percentage of those registrants in MIDR status.”

Tr. 416:2–4 (Mayer). The higher the percentage of inhabitants that are

non-Hispanic white in a particular county, the lower the percentage of voters in

that county in MIDR status. Tr. 416:5–8 (Mayer).

      Dr. Mayer also found a wide variation in the percentage of voters in MIDR

in counties with similar demographics. Tr. 416:9–16 (Mayer). The variations in

these comparable counties could not be explained by other factors, which

Dr. Mayer felt was “consistent with and suggestive of different administrative

practices in different counties.” Tr. 416:17–19 (Mayer).

      Furthermore, Dr. Mayer concluded that Exact Match “overwhelmingly

disproportionally” impacted voters of color. Tr. 413:25–414:1 (Mayer). In

examining county-level data files of registered voters as of January 2020,

Tr. 412:25–413:2 (Mayer), he found that though white voters made up over half


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of all registered voters, only 11.4% of voters flagged for MIDR were white.

Tr. 413:12–15 (Mayer). African Americans, meanwhile, made up approximately

30% of the overall voter file but nearly 70% of voters placed in MIDR status.

Tr. 413:18–21 (Mayer). Using his experience in statistical analysis, he calculated

that an African American voter is more than ten times likely to be placed in MIDR

status under Exact Match than a white non-Hispanic voter. Tr. 414:5–9 (Mayer).

In all, Dr. Mayer opined, based on data he gathered and analyzed, that voters of

color were far more likely to be flagged and put in MIDR status under Exact

Match than white voters. Tr. 408:10–12 (Mayer).

      Dr. Mayer stated that based on relevant academic literature, it was

“certainly plausible, if not likely” that being flagged as MIDR could “trigger a

poll worker into thinking that they have to subject or should subject or must

subject [the flagged] registrant to a higher level of scrutiny than they do other

voters.” Tr. 403:16–24 (Mayer). Dr. Mayer testified that another aspect of that line

of academic literature suggested that poll workers “frequently” and are “more

likely to” subject voters of color to a higher level of scrutiny than white voters;

voters of color are also more likely to be “asked to do things the law doesn’t

actually require them to do” when poll workers place them under this scrutiny.


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Tr. 404:11–16 (Mayer). However, Dr. Mayer did not directly observe this

phenomenon in Georgia. Tr. 404:24–405:1 (Mayer).

      Dr. Mayer also testified that in his opinion, there was no valid reason for

placing voters who fail Exact Match in MIDR status from an election

administration perspective. Tr. 405:23–406:1 (Mayer).

      Dr. Mayer also evaluated Georgia’s citizenship verification process, and

opined that the process “routinely misidentifies U.S. citizens as noncitizens.” Tr.

365:12–13 (Mayer). He concluded that the verification process had an “error rate”

of 43.1%; of the 3,073 people on the voter rolls flagged for noncitizenship as of

January 2020, 43.1% of them had been able to provide documentation proving

that they were, in fact, citizens by November 2021. Tr. 365:12–14; 366:6–12

(Mayer); PX. 1999 at 7. It was Dr. Mayer’s opinion that Georgia’s method of

relying on driver’s license data to verify citizenship was “known to produce

inaccurate results and can produce errors that approach 100% in terms of every

person they . . . flag as a noncitizen is actually a citizen.” Tr. 366:16–20 (Mayer).

      However, Dr. Mayer acknowledged that it was possible that persons in

pending status for citizenship could indeed be noncitizens. Tr. 504:9–12 (Mayer).

He did not conduct an analysis to determine whether any of the 1,750 registrants


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remaining in pending status for citizenship verification as of November 2021

were actually citizens. Tr. 439:25–440:4 (Mayer).

      Dr. Mayer believes that the SAVE program would likely bring down the

number of voters in pending status for citizenship. Tr. 441:21–24 (Mayer). 33

      In addition to identifying potential accuracy issues, Dr. Mayer’s study of

citizenship verification led him to conclude that Georgia’s citizenship verification

process applies overwhelmingly to voters of color. Tr. 387:9–16 (Mayer).

      When compared to their overall demographic representation in the voter

file, Hispanics were between four and five times more likely to be flagged as

noncitizens. Tr. 389:23–390:5 (Mayer). Asian and Pacific Islander registrants were

between seven and eight times more likely to be flagged as noncitizens. Tr.

390:8–14 (Mayer). African American registrants were also slightly more likely to

be flagged as noncitizens. Tr. 390:15–23 (Mayer).

      Furthermore, Dr. Mayer found that white registrants were both the least

likely to be flagged for noncitizenship and the most likely “to be able to overcome




33 As stated above, SAVE is a web-based program operated by the Department of
Homeland Security to help other governmental entities determine the immigration
status of applicants for public benefits or licenses. PX. 2021 at 4; PX. 2014.
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that or to take steps to move their registration into active status.” Tr. 393:13–15

(Mayer). African American registrants flagged for noncitizenship were “least

likely to be able to take the steps to . . . move their registration into active status.”

Tr. 393:18–21 (Mayer).

      In Dr. Mayer’s opinion, Georgia’s citizenship “verification process

overwhelmingly and disproportionately flags voters of color[,] who are more

likely to be flagged and more likely to have remained in pending status.”

Tr. 398:7–10 (Mayer).

      This Court finds Dr. Mayer credible. The Court will weigh his testimony

in its Conclusions of Law.

                      d)     Dr. Peyton McCrary

      Dr. Peyton McCrary received a bachelor’s and master’s degrees in history

from the University of Virginia; the focus of his master’s program was the

“History of the South.” Tr. 186:14–187:3 (McCrary). Dr. McCrary went on to

receive his Ph.D. in history from Princeton University, again focusing on

Southern history, this time with an emphasis on the Civil War and

Reconstruction Era. Tr. 187:5–9 (McCrary). Since completing his Ph.D., he has




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taught at various universities. Tr. 187:15–21 (McCrary). He consistently taught

courses on the history of the South for twenty years. Tr. 188:7–11 (McCrary).

       This Court qualified Dr. McCrary as an expert in history. Tr. 198:5–10, 22–

23; 289:15. At trial, Dr. McCrary offered his expert opinion on the history of voter

discrimination in Georgia; the history of racial polarization in voting in Georgia;

the history of voter registration processes in Georgia; and the history of “the way

in which the Georgia party system evolved over time and what that has to say

about the context in which decision-making about, particularly the operation of

the voter registration system, both before and after the state began to

implement . . . HAVA [] in the 21st century.” Tr. 200:15–201:16 (McCrary). 34 In

sum, it was Dr. McCrary’s opinion that today’s political context and voter

registration and verification processes in Georgia resemble the political context

and voter registration and verification processes in place during the Jim Crow

era. PX. 1289 at 7–8. However, Dr. McCrary did not testify or speculate as to the

motivations behind implementing certain voter verification processes still in use



34  While Dr. McCrary was allowed to offer expert testimony as to the history of the
implementation of certain pieces of voting rights legislation in Georgia, the Court noted
at trial that the portions of his testimony that were subject to objection (based upon legal
conclusion) were accepted by the Court as lay witness testimony only. See, e.g., Tr.
215:4–21, 258:16–259:7.
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today in Georgia at trial. Tr. 231:25–232:5 (McCrary). This Court finds Dr.

McCrary credible. The Court will weigh his testimony in its Conclusions of Law.

                     e)    Dr. Lorraine Minnite

      Dr. Lorraine Minnite has a bachelor’s degree in American history, two

master’s degrees, and a Ph.D. in political science. Tr. 2332:6–7 (Minnite). She is

an associate professor of Public Policy and chair of the Department of Public

Policy and Administration at Rutgers University. Tr. 2331:20–22 (Minnite). Her

area of academic interest is in American politics, with a special focus on elections

and, more specifically, voter fraud in American elections; this has been her focus

for more than twenty years. Tr. 2337:13–19 (Minnite). Drawing on her years of

academic study, in 2010, Dr. Minnite wrote the peer-reviewed The Myth of Voter

Fraud, published by Cornell University Press. Tr. 2339:11–13, 22–23, 2340:1–4

(Minnite). In addition to her book, she has also written four peer-reviewed

academic articles on voter fraud. Tr. 2341:3–4 (Minnite). Dr. Minnite has

previously testified in other cases regarding voter fraud. Tr. 2332:20–24 (Minnite).

      This Court qualified Dr. Minnite as an expert “in the area of political

science, specializing in elections, the political process[,] and voter fraud in

American elections.” Tr. 2344:19–2345:1. At trial, Dr. Minnite offered her expert


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opinion regarding incidents of voter fraud nationally and in Georgia. In

researching and forming her expert opinions for this case, Dr. Minnite defined

“voter fraud” as “the process whereby voters intentionally corrupt the voting or

the electoral process.” Tr. 2350:13–15 (Minnite) (emphasis added). Dr. Minnite

concluded that empirical evidence showed that incidents of voter fraud are

exceedingly rare nationally and in Georgia; this conclusion applied both to

incidents of fraud at the polls on Election Day and to incidents of fraud in voter

registration. Tr. 2346:3–6 (Minnite). She also found that “a review of the available

evidence in Georgia finds no cases of voter impersonation at the polling place,

and in addition there is minimal evidence of other forms of fraud intentionally

committed by voters, such as what Georgia calls ‘repeat’ voting or voting when

knowing one is ineligible to vote.” Tr. 2346:10–15 (Minnite); PX. 1038 at 3. Dr.

Minnite reaffirmed these opinions following the 2020 Election in Georgia. Tr.

2346:19–22 (Minnite); PX. 2098 at 4.

      Dr. Minnite did not offer an opinion on Georgia’s implementation of

HAVA or on Georgia’s election administration processes generally. Tr. 2404:14–

18, 2405:13–15 (Minnite). As such, her research did not involve examining the

amount of improper or invalid voter registration in Georgia. Tr. 2406:8–10


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(Minnite). Dr. Minnite also testified that she was not opining that Georgia does

not have an interest in preventing voter fraud. Tr. 2410:25–2411:5 (Minnite).

      This Court finds Dr. Minnite credible. The Court will weigh her testimony

in its Conclusions of Law.

             5.    Other Evidence Considered

      Plaintiffs also presented discriminatory purpose evidence that included

the troubling and powerful story of Dr. Nancy Dennard, who, in 2010, was

arrested and charged with felony charges relating to absentee ballots following

the election of the first-ever majority-Black school board. Tr. 683:7–684:12, 676:1–

728:7, 745:8–755:3 (Dennard). The prosecution of Dr. Dennard and others was

prompted by the Secretary of State’s Office, which initiated an investigation and

then asked the Georgia Bureau of Investigations to become involved. Tr. 683:7–

684:12, 676:1–728:7, 745:8–755:3 (Dennard). The charges were eventually

dismissed after then-Attorney General Sam Olens issued an opinion interpreting

O.C.G.A. § 21-2-385(a) or § 21-2-574 as not prohibiting the conduct Dr. Dennard

had been accused of engaging in—merely possessing another voter’s sealed

absentee ballot to help have it delivered. Tr. 649:7–728:7, 745:8–755:3 (Dennard);

see also PX. 2000, 2038, 2047; DX. 736.


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      Other asserted evidence of discriminatory purpose included 2014 and 2018

campaign speeches by then-Secretary Kemp—in one speech, he urged his

supporters to register voters who would vote for Republican candidates and

encourage them to vote in the same way that Democrats had previously done

with minority voters. DX. 740; PX. 2051, Tr. 86:9–17, 88:9–17, 92:18–22 (Kemp

Dep.). Plaintiffs thereafter attempted to tie these campaign statements to

investigations into the New Georgia Project, an organization focused on

registering people of color to vote. PX. 97 at 6. In May 2014, the Secretary of State’s

Office commenced an investigation into the New Georgia Project. The

investigation began after election officials in Butts County complained to the

Secretary of State’s Office about a voter registration drive and the manner in

which it was being conducted. Tr. 3622:21–3623:13 (Harvey). Specifically, based

on the questions being asked—about personal identifiable information, social

security number, driver’s licenses, etc.—the elections office and sheriff’s office

believed that there was an identity theft ring at work. Tr. 3623:1–4 (Harvey). As

the investigation developed, it became focused on forgery, making false

statements on election documents, false voter registration, and providing

fraudulent information on election documents. Tr. 3625:22–3626:3 (Harvey). The


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New Georgia Project was later dropped as a respondent in the matter because

the Secretary’s investigators could not find a causal link between New Georgia

Project and the canvassers the investigators thought had committed forgeries. Tr.

2029:6–23 (Harvey).

                      a)   Judicial notice of Georgia voting and voter
                           registration statistics

      Defendants moved this Court, pursuant to Rules 201(b)(2) and 201(c)(2) of

the Federal Rules of Evidence, to take judicial notice of certain voter registration

and election statistics maintained by the Secretary of State’s Office. Doc. No.

[829]. As indicated during trial, that motion was granted by this Court in the

Docket Order entered June 13, 2022. Tr. 3297:10–12. Specifically, for purposes of

this Opinion, this Court takes judicial notice of the following:

      As of the November 3, 2020 general election, there were 7,638,898

registered voters in Georgia. Doc. No. [829-9], 4.

      As of the June 9, 2020 primary election, there were 7,340,261 registered

voters in Georgia. Id.

      As of the November 6, 2018 general election, there were 6,935,816

registered voters in Georgia. Id.



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       As of the May 22, 2018 primary election, there were 6,694,441 registered

voters in Georgia. Id.

       As of the November 8, 2016 general election, there were 6,637,939

registered voters in Georgia. Id.

       In the January 2021 runoff election between former Senator David Perdue

and now-Senator Jon Ossoff, 1,084,138 absentee by mail ballots were cast. Doc.

No. [829-8], 3.

       In the January 2021 runoff election between former Senator Kelly Loeffler

and now-Senator Raphael Warnock, 1,084,021 absentee by mail ballots were cast.

Doc. No. [829-7], 3.

       In the November 2, 2020 presidential election between former President

Donald Trump and now-President Joe Biden, 1,316,943 absentee by mail ballots

were cast. Doc. No. [829-6], 3.

       In the November 6, 2018 gubernatorial election between Governor Brian

Kemp and Stacey Abrams, 223,576 absentee by mail ballots were cast. Doc. No.

[829-5], 3.




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II.         CONCLUSIONS OF LAW

           The Court now sets forth its conclusions of law, which will include

 consideration of jurisdictional principles followed by consideration of the

 preponderance of the evidence as to the remaining causes of action and

 affirmative defenses. See Langston ex rel. Langston v. ACT, 890 F.2d 380, 383–84

 (11th Cir. 1989) (noting that the plaintiff in a § 1983 suit bears the burden of

 “prov[ing] his case by a preponderance of the evidence” at trial); League of

 United Latin Am. Citizens #4552 (LULAC) v. Roscoe Indep. Sch. Dist., 123 F.3d

 843, 846 (5th Cir. 1997) (indicating that in the Voting Rights Act context, the

 plaintiff was “required to prove by a preponderance of the evidence that all of

 the Gingles preconditions were satisfied”); Swaters v. Osmus, 568 F.3d 1315,

 1323–24 (11th Cir. 2009) (“The [affirmative] defense must be established by a

 preponderance of the evidence.”). 35

           A. Jurisdictional Considerations

                  1.     Standing

           “Standing is the threshold question in every federal case, determining the

 power of the court to entertain the suit.” CAMP Legal Def. Fund, Inc. v. City of



 35    Additional legal standards will be discussed, infra.
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Atlanta, 451 F.3d 1257, 1269 (11th Cir. 2006) (internal quotation omitted). Article

III of the United States Constitution limits courts to hearing actual “Cases” and

“Controversies.” U.S. Const. Art. III § 2; Lujan v. Defs. of Wildlife, 504 U.S. 555,

559–60 (1992). The standing requirement arising out of Article III seeks to uphold

separation-of-powers principles and “to prevent the judicial process from being

used to usurp the powers of the political branches.” Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 408 (2013). Standing is typically determined when the

complaint is filed. Focus on the Fam. v. Pinellas Suncoast Transit Auth., 344 F.3d

1263, 1275 (11th Cir. 2003) (collecting authorities).

      To establish standing, a plaintiff must show three things:

             First, the plaintiff must have suffered an “injury in
             fact”—an invasion of a legally protected interest which
             is (a) concrete and particularized, and (b) actual or
             imminent, not conjectural or hypothetical. Second,
             there must be a causal connection between the injury
             and the conduct complained of—the injury has to be
             fairly traceable to the challenged action of the defendant,
             and not the result of the independent action of some
             third party not before the court. Third, it must be likely,
             as opposed to merely speculative, that the injury will be
             redressed by a favorable decision.

Lujan, 504 U.S. at 560–61 (internal quotations, citations, and alterations omitted).

The party invoking jurisdiction bears the burden of establishing standing “with


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the manner and degree of evidence required at the successive stages” of litigation.

Id. at 561; see Church of Scientology Flag Serv. Org., Inc. v. City of Clearwater,

777 F.2d 598, 607 n.24 (11th Cir. 1985) (standing “is a legal determination based

on the facts established by the record”). At trial, facts concerning standing must

be supported by evidence. Lujan, 504 U.S. at 561; see Langston, 890 F.2d at 383–

84 (noting that plaintiff in a § 1983 suit must prove his case by a preponderance

of the evidence at trial). While standing is determined when the plaintiff’s

complaint is filed, “it must persist throughout a lawsuit.” G. Ass’n of Latino

Elected Offs., Inc. v. Gwinnett Cty. Bd. of Registration & Elections, 36 F.4th 1100,

1113 (11th Cir. 2022).

      The Court will now consider the three requisites that the organizational

plaintiffs must establish: injury in fact, traceability, and redressability.

                     a)     Injury-in-fact

      To establish an injury in fact, a plaintiff must show that it “suffered an

invasion of a legally protected interest that is concrete and particularized and

actual or imminent, not conjectural or hypothetical.” Spokeo, Inc. v. Robins, 578

U.S. 330, 339 (2016) (internal quotations omitted). “A ‘concrete’ injury is one that




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actually exists—it is ‘real,’ as opposed to ‘abstract.’” Ga. Ass’n of Latino Elected

Offs., Inc., 36 F.4th at 1114 (citations omitted).

      Organizations may have standing under a “diversion-of-resources” theory

when they divert financial resources or personnel time to counteract unlawful

acts of a defendant, thereby impairing the organizations’ ability to engage in

typical projects. Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982); Arcia

v. Fla. Sec’y of State, 772 F.3d 1335, 1341 (11th Cir. 2014) (“Under the diversion-

of-resources theory, an organization has standing to sue when a defendant’s

illegal acts impair the organization’s ability to engage in its own projects by

forcing the organization to divert resources in response.”); Common Cause/Ga.

v. Billups, 554 F.3d 1340, 1350 (11th Cir. 2009) (finding an organization had

standing because it diverted “resources from its regular activities to educate and

assist voters in complying with” a challenged statute); Common Cause Ind. v.

Lawson, 937 F.3d 944, 952–53 (7th Cir. 2019) (listing cases finding standing for

voter-advocacy groups that diverted resources to counteract unlawful election




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activity). 36 A diversion of resources constitutes an Article III injury in fact. See

Browning, 522 F.3d at 1165 n.14.

      In the Eleventh Circuit, a litigant can establish organizational standing to

challenge election laws by showing it has diverted or anticipates having to divert

time, personnel, or other resources from its usual projects to assist voters whose

ability to vote is affected by state action. See Arcia, 772 F.3d at 1341; Browning,

522 F.3d at 1165–66 (finding organizational standing when a plaintiff diverted

resources from election-day education and monitoring to educating volunteers

and voters on compliance with a new election law). To create a concrete injury,

the diversion must cause a perceptible impairment of organizational activities.

Jacobson, 974 F.3d at 1249 (11th Cir. 2020). And to show a concrete injury, the

organization must identify the specific activities from which it diverted or is

diverting resources. Id. at 1250; see also Ga. Ass’n of Latino Elected Offs., Inc., 36

F.4th at 1114 (an organization establishes diversion-of-resources standing by




36An organization that diverts its resources voluntarily can still have standing if the
“drain on [the] organization’s resources arises from the organization’s need to
counteract the defendants’ assertedly illegal practices [because] that drain is simply
another manifestation of the injury to the organization’s noneconomic goals.” Fla. State
Conf. of NAACP v. Browning, 522 F.3d 1153, 1166 (11th Cir. 2008) (internal quotations
and citation omitted).
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showing what it would have to divert resources away from to address the effects

of the defendant’s alleged conduct); Ga. Latino All. for Hum. Rights v. Governor

of Ga., 691 F.3d 1250, 1260 (11th Cir. 2012) (finding standing for an immigration

organization that “cancelled citizenship classes to focus on” increased inquiries

about a new law).

      As this Court stated in its summary judgment order concerning standing,

a plaintiff may show a diversion of resources even if it diverts from one activity

aimed at achieving an organizational mission to a different activity aimed at that

same mission. See, e.g., Common Cause/Ga., 554 F.3d at 1350 (finding standing

for organization that diverted resources from its regular voting-related activities

to educate and assist voters in complying with a challenged statute). Similarly,

when an organization diverts its resources to achieve its typical goal in a different

or amplified manner, the organization may still gain standing. See Ga. Ass’n of

Latino Elected Offs., Inc., 36 F.4th at 1115 (finding that an organization diverted

resources if it reassigned personnel to help Spanish-speaking voters understand

English-only materials); Browning, 522 F.3d at 1166 (finding standing when

organization anticipated it would “expend many more hours than it otherwise

would have” on specific election-related activity).


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      Notably, if this Court finds that one Plaintiff has standing with respect to

a challenged practice, there is standing sufficient for the Court to consider the

challenge, regardless of whether any other Plaintiff has standing with respect to

that challenged practice. See Town of Chester, N.Y. v. Laroe Ests., Inc., 137 S. Ct.

1645, 1651 (2017) (“At least one plaintiff must have standing to seek each form of

relief requested in the complaint.”), Ga. Ass’n of Latino Elected Offs., Inc., 36

F.4th at 1113–14 (“We need not parse each Plaintiff’s standing, however, because

one—GALEO—has standing, under a diversion of resources theory, to assert all

of the claims in the second amended complaint.”).

      Eight witnesses testified to support Plaintiffs’ organizational standing:

Bishop Reginald Jackson (the Sixth District); Reverend Raphael Warnock and

Reverend Dr. John H. Vaughn (Ebenezer); Jessica Livoti (Care in Action); Liza

Conrad and Cianti Stewart-Reid (Fair Fight); Pastor Hermon Scott (Baconton);

and Reverend Matt Laney (Virginia-Highland). The Court finds each of these

witnesses credible and specifically credits their testimony summarized below.

                             (1)    The Sixth District has suffered an injury-in-
                                    fact caused by Defendants.

      The Sixth District is an A.M.E. church in Georgia with a long history of

involvement in civil rights, particularly voting rights. Tr. 2974:7–11, 2979:15–

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2982:18 (Jackson). Bishop Reginald Jackson is the Bishop of the Sixth District, a

role he assumed in 2016. Tr. 2973:2–10 (Jackson). Bishop Jackson has undertaken

the task of ensuring that “every eligible person in the Sixth District who is 18 and

above is registered to vote, and . . . actually votes.” Tr. 2982:11–18 (Jackson).

      In 2018, the Sixth District diverted resources to address Exact Match MIDR,

voter roll inaccuracies, and absentee ballot cancelation procedures. Tr. 2999:4–12

(Jackson). Bishop Jackson diverted time preaching and communicating with his

congregation about the Sixth District’s voter initiatives, early voting, and voter

roll inaccuracies. Tr. 2998:23–2999:12 (Jackson); PX. 741 (2018 email urging early

voting). Other Sixth District staff and volunteers devoted time in 2018 to oppose

challenged practices in this litigation and to update Bishop Jackson on their work.

Tr. 2995:1–14, 2996:6–16, 2997:4–9 (Jackson). Similarly, the Sixth District diverted

resources to address concerns with Exact Match MIDR, mismanagement of the

voter rolls, and absentee ballot cancelation procedures during the 2020 election

cycle. See Tr. 2984:4–2985:12 (Jackson). For example, the Sixth District focused on

verifying voters’ registration status, creating a voter empowerment program to

assist in mobilizing voters among individual congregations, helping voters

understand how to handle mail-in applications, and helping voters work through


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new issues relating to voting roll errors and absentee voting that differed from

issues the church had addressed in “routine registration effort[s].” Tr. 2986:6–20,

3008:17–3013:19, 3031:5–13 (Jackson); PX. 1908 (document announcing church

voter protection plan); PX. 1909 (showing voter registration trainings). The Sixth

District also held workshops to address issues with inaccurate voter registrations,

Exact Match, and canceling absentee ballots. Tr. 3024:20–3025:18 (Jackson); PX.

1992. Thousands of AME church volunteers assisted with these efforts during the

2018 and 2020 election cycles. Tr. 2997:4–9, 3018:22–3019:15 (Bishop Jackson).

Also, significant financial resources and staff time were devoted to these efforts.

Tr. 3019:10–15 (Jackson); PX. 1909 (listing a staff member’s outreach duties).

      The evidence adduced at trial showed that resources—including personnel

and volunteer time—were diverted from the Sixth District’s other anticipated or

regular activities, such as focusing staff time on Christian education, addressing

other social issues like youth outreach, and focusing on church efforts related to

COVID-19 or the census. Tr. 2995:19–2996:3, 2999:4–12 (Jackson).

      After carefully reviewing the evidence adduced at trial, the Court finds

that the Sixth District has demonstrated by a preponderance of the evidence that

it suffered a concrete injury-in-fact by diverting its organizational resources from


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its core mission and other anticipated projects to counteract Exact Match MIDR,

voter roll inaccuracies, and absentee ballot cancelation procedures.

                                (2)    Ebenezer has suffered an injury-in-fact caused
                                       by Defendants.

       Ebenezer has long been involved in voting rights efforts, and its Senior

Pastor, Reverend Raphael Warnock, testified in deposition that protecting voting

rights is core to the church’s mission. PX. 2053 Tr. 35:10–36:9, 39:1–10, 41:3–6,

72:8–10 (Warnock Dep.). 37 The church’s efforts have included registering,

educating, and mobilizing voters, as well as challenging barriers to voting. PX.

2053, Tr. 35:10–36:9, 44:10–23, 71:15–23, 38 93:2–17 (Warnock Dep.). Before the 2018



37   The Court overrules Defendants’ objections regarding Reverend Warnock’s
testimony on voting rights being part of Ebenezer’s mission. See Doc. No. [767-1], 6–7.
The testimony is not argumentative. The witness was simply responding to questions
asked. As Senior Pastor of his church, the witness also has knowledge of the matters
being discussed, and the surrounding testimony shows that he laid a foundation to
discuss it. Further, to the extent the witness was testifying as to facts concerning the
church’s mission, the Court does not uphold Defendants’ objection that he was
providing an improper lay witness opinion. To the extent the witness was providing
testimony that could better be described as theological opinions (e.g., PX. 2053, Tr. 39:6–
10 (Warnock Dep.) (stating that “democracy is the political expression of this idea that
all human beings are created in the image of God”), the Court overrules Defendants’
objections but gives that testimony little weight in considering legal issues. Finally, the
church’s mission and its connection to voting rights is clearly relevant to this case.
38  The Court overrules Defendants’ objections as to this testimony. See Doc. No. [767-
1], 16–17. The witness was testifying as to phone banking and similar outreach activities
that his church had undertaken. As Senior Pastor of that church, the witness had a base

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election cycle, Ebenezer devoted its voting efforts to general get-out-the-vote

activities, consistent with the church’s focus on voter registration, education, and

mobilization. See PX. 2053, Tr. 46:6–13, 49:1–3 (Warnock Dep.).

      But Ebenezer expanded its voting rights efforts in 2018 to counteract the

effects of Defendants’ challenged voting practices, such as perceived issues with

the voter roll and the Exact Match MIDR policy. PX. 2053 Tr. 47:7–49:5, 104:15–18

(Warnock Dep.). Reverend Warnock testified in deposition that this new work

was “much harder” than prior voting rights efforts. See PX. 2053, Tr. 108:12–16

(Warnock Dep.). To address these voting issues in 2018, the church newly focused

resources—including volunteer, staff, and worship time—on verifying voter

registration. PX. 2053, Tr. 49:1–20, 107:11–108:6, 185:8–24 (Warnock Dep.). Also,

Ebenezer provided church space for new programs, such as a voter registration

verification hotline, to assist voters grappling with issues caused by Defendants’

challenged voting practices. PX. 2053, Tr. 51:7–53:12, 70:25–72:1, 39 111:10–21




of knowledge to testify as to these matters, and nothing else about the facts of what the
church was doing makes the testimony objectionable. To the extent Defendants are
objecting to the witness’s use of the term “purged” to describe voters, the Court will
afford that term little weight from this witness.
39 For the reasons stated above, the Court again overrules Defendants’ objections as to
this testimony. See Doc. No. [767-1], 16–17.
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(Warnock Dep.). Ebenezer also devoted financial resources, volunteer time, and

worship time to educate voters regarding options to vote early or by absentee

ballot. PX. 2053, 49:12–50:8, 103:3–10, 106:22–107:25, 183:12–185:14 (Warnock

Dep.). Ebenezer continued and expanded these efforts during the 2020 election

cycle by, among other things, devoting church space and time during ministry

meetings and prayer sessions for projects to increase voter turnout and educate

voters. See, e.g., PX. 2053, Tr. 59:3–8 (Warnock Dep.); see also Tr. 2944:9–2946:8,

2948:6–2949:5, 2952:1–2953:23 (Vaughn).

       These programs diverted volunteer and staff time away from Ebenezer’s

other projects and “areas of church life.” PX. 2053, Tr. 106:22–107:25 (Warnock

Dep.). For instance, diverting volunteer time to these voting rights projects

affected other church programs that rely on the same volunteers, such as

Ebenezer’s soup kitchen, programs for youth, or one of the church’s other

“dozens of programs.” PX. 2053, Tr. 107:15–25 (Warnock Dep.). Ebenezer would

otherwise devote these resources to other kinds of church outreach. PX. 2053, Tr.

190:8–16 (Warnock Dep.). 40



40 The Court overrules Defendants’ objections regarding this testimony. See Doc. No.
[767-1], 33–34. The witness was testifying as to missions or other activities in which the

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      After carefully reviewing the evidence adduced at trial, the Court finds

that Ebenezer has demonstrated by a preponderance of the evidence that it has

suffered a concrete injury-in-fact by diverting its organizational resources from

the church’s core mission and other anticipated projects to counteract voter roll

inaccuracies and the Exact Match MIDR policy. Ebenezer’s efforts in 2018 and

thereafter to have voters check their registration status and vote by mail

sufficiently differ from Ebenezer’s prior voting activities to constitute a diversion

of resources. Ebenezer had not previously engaged in voter registration

verification, and its typical get-out-the-vote campaigns were not only different in

nature but also involved less work. Under Eleventh Circuit jurisprudence

concerning diversion of resources, the Court finds that even if the church had

engaged in prior efforts relating to voter turnout and education, the evidence

showed enough of a difference in the work undertaken in 2018 and 2020 to

demonstrate a diversion of resources sufficient to establish an injury in fact.




church would engage if it were not diverting resources to counteract Defendants’
challenged practices. That testimony is admissible here.
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                             (3)   Care in Action has suffered an injury-in-fact
                                   caused by Defendants.

      Care in Action is a nationwide nonprofit organization with a focus in

Georgia. Tr. 83:20–23 (Livoti). It aims to assist domestic workers, and its mission

includes helping such workers exercise their right to vote. Tr. 83:7–12 (Livoti).

Care in Action’s prior voting efforts focused on increasing voter turnout among

domestic workers; voter protection was not part of its mission before 2018. Tr.

91:2–93:23 (Livoti).

      In 2018, Care in Action planned for its voting-related work in Georgia to

end on Election Day. Tr. 94:6–10 (Livoti). But because some voters were unable

to cast their ballots, the organization’s voting work continued past Election Day

to ensure provisional ballots were cured and counted. Tr. 94:19–95:21 (Livoti).

Care in Action directly engaged with voters, diverting resources and volunteer

time from typical activities such as immigration matters to undertake provisional

ballot training, door-to-door communications, phone banks, text message

campaigns, and social media efforts. Tr. 95:9–98:12 (Livoti). To facilitate these

efforts, Care in Action paid for the housing, travel, and meal expenses of staff

members who stayed in Georgia to assist with the unanticipated post-election

activities. See PX. 915; PX. 916; PX. 922; PX. 940; PX. 1006 (receipts and invoices

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for Care in Action’s post-election expenditures, including transportation,

housing, and meals for staff). Similarly, Care in Action spent $107,500 on post-

election digital advertisements to reach potentially affected voters who had cast

provisional ballots. Tr. 96:4–12 (Livoti); PX. 902.

      In 2020, Care in Action expanded its scope of voting work and began voter

outreach and education earlier than in prior election cycles. Tr. 108:4–16, 146:10–

21 (Livoti). Care in Action incurred additional costs to develop training programs

for staff and canvassers, and it devoted more staff time to voting activities than

it had in the past. See Tr. 108:7–16, 115:15–117:22 (Livoti). For example, Care in

Action trained its canvassers to educate voters about the Exact Match MIDR and

Citizenship policies because the organization serves a population with a high

number of immigrants and naturalized citizens who commonly have multiple or

hyphenated last names and who thus are likely to encounter issues under these

systems. Tr. 114:22–115:10, 131:10–18, 149:10–16, 150:1–4, 158:4–6, 161:21–162:1,

179:1–11, 180:18–25 (Livoti). Also, Care in Action has trained its canvassers to

educate voters about challenges they may face due to voter roll inaccuracies,

including being registered under the wrong name. Tr. 119:1–17; 130:5–15; 151:4–

7; 158:4–6; 175:6–16; 181:1–4 (Livoti); see also Tr. 89:11–12 (Livoti) (discussing


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voter address issues that domestic workers face as a transient population). Care

in Action has also undertaken voter education, including through a new voter

hotline, regarding issues with absentee ballots and voter registration

inaccuracies. Tr. 118:22–119:17, 141:17–24, 151:1–7, 160:20–25 (Livoti).

      Care in Action could have reached out to more voters had it not diverted

resources from its traditional get-out-the-vote work, where conversations with

voters are less complex and time consuming. Tr. 115:17–23; 117:12–22 (Livoti).

Further, these expanded voting efforts caused Care in Action to divert resources

from other programs. Tr. 123:6–124:3 (Livoti). For example, its provisional ballot

work in 2018 prevented Care in Action from sending staff to Mexico to work on

immigration issues. Tr. 97:13–24 (Livoti). More broadly, voter protection efforts

divert Care in Action’s resources from its core work of organizing, advocating

for, and providing on-the-job training for domestic workers—all of which Care

in Action contends it would refocus on if the practices at issue were discontinued.

Tr. 123:6–124:11 (Livoti).

      The Court finds that Care in Action has demonstrated by a preponderance

of the evidence that it has suffered a concrete injury-in-fact by diverting its




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organizational resources to counteract Defendants’ Exact Match MIDR and

citizenship policies.

                            (4)    Fair Fight has suffered an injury-in-fact
                                   caused by Defendants.

      Fair Fight is a nationwide nonprofit with its primary activities in Georgia.

Tr. 1383:22–1384:1 (Stewart-Reid). Its mission has long focused on voter

education, voter turnout, and progressive issue research. Tr. 1395:18–20, 1396:5–

7 (Stewart-Reid); Tr. 3852:20–3853:5, 3857:20–3858:3 (Groh-Wargo). Fair Fight is

particularly focused on supporting marginalized communities, voters of color,

young voters, and low-income voters. Tr. 1396:8–13 (Stewart-Reid). But it also

commits resources to research on non-voting progressive issues, such as

Medicaid expansion and reproductive rights. Tr. 1414:6–15 (Stewart-Reid).

      Because of what it observed in the 2018 election, Fair Fight began

expending resources to mitigate voter suppression to protect its core missions of

educating and mobilizing voters. Tr. 3858:4–3859:5, 3895:20–3896:3, 3930:25–

3931:4 (Groh-Wargo). Thus, while Fair Fight was still addressing voting issues, it

diverted resources away from core missions to address a new concern—

perceived voter suppression. Tr. 1395:25–1398:4, 1459:3–24 (Stewart-Reid); Tr.

3858:4–17, 3930:25–3931:4 (Groh-Wargo). For example, the organization’s work

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to counteract Defendants’ acts has caused it to divert resources from other

programs, such as get-out-the-vote campaigns and support of other progressive

causes. Tr. 1424:16–22, 1459:3–14 (Stewart-Reid) (testifying that volunteers now

have less time to conduct get-out-the-vote calls or have more voter interactions

because they are spending time having longer conversations with voters about

the challenged practices).

      Also, to combat the challenged practices, Fair Fight has devoted substantial

staff, volunteer, and financial resources to several new initiatives. Tr. 1399:9–18

(Stewart-Reid); Tr. 1066:6–8 (Conrad); Tr. 3870:21–3871:5 (Groh-Wargo). For

example, Fair Fight devoted staff time and financial resources to create the “Fair

Fight U” program, which trains college students about voter roll inaccuracies,

absentee ballot cancelation, and other voting issues to prepare those students to

check their registration status and exercise their right to vote. Tr. 1399:20–1402:18

(Stewart-Reid); Tr. 3870:11–17 (Groh-Wargo). After the 2018 election, Fair Fight

diverted resources to create and run similar programs to address voter

registration and absentee ballot cancelation issues, which were more complicated

than prior voting projects and consumed more volunteer time. E.g., Tr. 1402:14–

1405:8 (Stewart-Reid) (discussing Democracy Warriors program); PX. 1858


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(showing $33,711 budget for Atlanta Democracy Warriors Summit); PX. 1859

(showing $9,256 budget for Macon Democracy Warriors Summit); see Tr.

1059:12–1084:20 (Conrad) (discussing Voter Protection Department that collects

stories from voters, addresses voter registration issues arising from citizenship

verification, ensures voters’ registration information is accurate, and trains poll

observers); Tr. 1408:12–1409:12 (Stewart-Reid) (discussing the new Organizing

Department, which manages volunteers who conduct voter outreach regarding

voter suppression issues).

      Beyond the new initiatives, Fair Fight’s existing communications and

research departments have diverted resources to address new voting issues by

drafting and releasing press statements and social media content, creating a

website to facilitate voter registration verification, and monitoring media to track

relevant issues. Tr. 1069:2–12 (Conrad); Tr. 1411:14–1414:18 (Stewart-Reid); see

also Tr. 1425:1–8 (Stewart-Reid) (discussing how the organization’s research team

has diverted resources to “media monitoring” concerning “issues with absentee

ballots or Exact Match or the list inaccuracies” instead of other research for

progressive issues such as reproductive health). The group has also diverted

resources from its standard voter education to educate voters about proper


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absentee ballot cancelation. Tr. 1398:7–19 (Stewart-Reid). Thus, as shown above,

Fair Fight’s programs and efforts to address new voting issues have diverted

attention, staff, and financial resources from the organization’s other projects,

including voter engagement and education efforts that are central to the

organization’s mission. Tr. 1404:25–1405:3, 1409:16–18, 1414:12–18, 1426:6–15

(Stewart-Reid); Tr. 3861:19–24 (Groh-Wargo); Tr. 1086:10–1087:15 (Conrad)

(discussing civics programming to educate young voters of color that would

receive more resources if they were not diverted to address voter registration

issues and absentee ballot cancelation issues).

      The Court finds that Fair Fight has demonstrated by a preponderance of

the evidence that it has suffered a concrete injury-in-fact by diverting its

organizational resources from its typical voter turnout and voter education

activities to counteract Defendants’ challenged practices relating to Exact Match

MIDR and citizenship policies, management of the voter rolls, and absentee

ballot cancelation training. To that tend, the Court credits and gives weight to the

testimony of Ms. Groh-Wargo, Ms. Stewart-Reid, and Ms. Conrad regarding

issues relating to the organization’s diversion of resources.




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                             (5)    Baconton has suffered an injury-in-fact
                                    caused by Defendants.

      Baconton, a Georgia church affiliated with the general Missionary Baptist

Convention, maintains a deep commitment to civil rights and social justice issues.

Tr. 2531:13–17, 2541:18–2542:14 (Scott). Voting issues have been a core part of the

church’s organizational mission, and it has long promoted voter education,

registration, and participation. Tr. 2549:1–2550:24 (Scott). Before 2018, the

church’s voting efforts focused on encouraging people to vote because the church

and its Senior Pastor, Reverend Doctor Hermon Scott, “[took] for granted” that

once voters were registered, they were on the rolls and would be able to vote. Tr.

2553:18–2554:4, 2560:13–22 (Scott). But during the 2018 election cycle, the church

changed its focus after hearing about issues with voter registration status. Tr.

2553:18–2557:17 (Scott). Pastor Scott was especially concerned about voters being

unable to vote due to issues with identification cards not matching with voter

registration information. Tr. 2554:5–2556:5 (Scott).

      As a result of the above concerns, Pastor Scott began diverting time during

weekly bible studies and sermons to discuss voting issues and the need to verify

voting registration information, which took time away from religious and other

topics usually discussed. See Tr. 2558:1–2561:2, 2574:7–12 (Scott). The church also

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diverted resources to host countywide meetings to discuss the importance of

voter registration, education, and participation, including a new emphasis on

checking voter registration. Tr. 2561:12–2566:12 (Scott); see PX. 634 at 4 (2018

worship bulletin announcing prayer meeting at Baconton). The church provided

space, volunteers, and staff and printed materials to help host the countywide

meetings. Tr. 2563:17–2564:17 (Scott). Baconton also diverted volunteer time in

2018 for events to help church members verify their voter registration, which

differed from prior voter registration efforts. Tr. 2558:7–12, 2575:22–2578:17

(Scott). Pastor Scott continued diverting his and the church’s time to efforts

regarding voter registration verification in 2022, which the church states will

continue to occur unless the alleged voting practices are ended. See Tr. 2579:6–

2580:3, 2654:14–25 (Scott).

      Pastor Scott testified at trial that if the church’s volunteers and staff had

not diverted resources toward verifying voter registration, they would have been

involved in other activities in line with Baconton’s mission, such as feeding the

hungry, assisting the poor, and visiting prisoners. Tr. 2573:2–17, 2578:3–12,

2587:2–5 (Scott). He also testified that if the challenged voting practices were

ended, his church would reduce time spent on voter registration verification to


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discussing those issues only when the State is removing voters from voting roles,

rather than weekly. Tr. 2656:2–24 (Scott).

      The Court finds that Baconton has demonstrated by a preponderance of

the evidence that it has suffered a concrete injury-in-fact by diverting its

organizational resources from the church’s core mission to counteract issues

relating to Exact Match MIDR policy and voter roll inaccuracies, by educating

and assisting voters with respect to voter registration issues and verification. If

the Court grants relief to Plaintiffs, Baconton would be able to refocus its diverted

resources on its core activities.

                              (6)   Virginia-Highland has suffered an injury-in-
                                    fact caused by Defendants.

      Virginia-Highland is an Atlanta church that is part of the United Church

of Christ. Tr. 527:11–528:23 (Laney). Its mission focuses on combatting racism and

representing marginalized people. Tr. 530:4–12 (Laney). In 2018, the church

diverted resources to address issues with Exact Match MIDR and citizenship

status, voter roll accuracy, and absentee ballot cancelation. Tr. 535:13–536:8,

540:4–541:7 (Laney). For example, while the church has had a “Voting Rights

Ministry” since 2008 that originally focused only on registering voters, the church

expanded the program’s reach in 2018 to include voter registration verification.

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Tr. 532:8–536:8 (Laney). The church then had to spend more time training

volunteers. Tr. 536:23–537:1 (Laney). Similarly, volunteers had to devote more

time with each voter to address potential issues due to voter roll irregularities

and Defendants’ policies. Tr. 535:13–537:11 (Laney). Since 2018, the church has

continued to divert resources to counteract Defendants’ policies by increasing

volunteer numbers, devoting significantly more staff time to the Voting Rights

Ministry, and adding discussions of Defendants’ policies during voter

registration drives. See Tr. 533:22–540:21, 569:11–572:13 (Laney).

      To undertake these new or enhanced voting-related activities, Virginia-

Highland has had to divert resources from its other projects, such as the church’s

LGBTQIA ministry. Tr. 543:4–544:15 (Laney). For example, one church volunteer

resigned from leadership positions in other ministries so she could devote that

time to the voting rights work. Tr. 581:24–582:11 (Laney). Virginia-Highland

anticipates that if this Court does not resolve the challenged practices in

Plaintiffs’ favor, the church will continue to divert resources in future elections,

and away from other ministries, due to the challenged practices. Tr. 547:20–548:3,

577:2–9 (Laney).




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      The Court finds that Virginia-Highland has shown by a preponderance of

the evidence that it has suffered a concrete injury-in-fact by diverting its

resources from other core church programs to counteract Defendants’ Exact

Match MIDR and citizenship policies, management of the voter rolls, and

training concerning absentee ballot cancelation procedures.

                     b)    Traceability and redressability

      “To establish causation [for standing,] a plaintiff need only demonstrate,

as a matter of fact, a fairly traceable connection between the plaintiff’s injury and

the complained-of conduct of the defendant.” Charles H. Wesley Educ. Found.,

Inc. v. Cox, 408 F.3d 1349, 1352 (11th Cir. 2005) (emphasis in original) (internal

quotations omitted). An organizational plaintiff proceeding under a diversion-

of-resources theory establishes traceability by showing that resources were

diverted to counteract the defendant’s allegedly illegal practices. Browning, 522

F.3d at 1166. The traceability requirement is not stringent and can be satisfied

even with a showing that the alleged injury is indirectly caused by the defendant.

See Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1271 (11th Cir. 2019).

      An injury is traceable to an election official responsible for the election

administration process or rule that allegedly has caused the plaintiff’s injury.


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Compare Ga. Ass’n of Latino Elected Offs., Inc., 36 F.4th at 1116 (finding

traceability requirement met with allegations that state election official’s failure

to provide bilingual voting materials and information caused the organizational

plaintiff’s diversion of resources) with Jacobson, 974 F.3d at 1253 (finding no

traceability to election official who was not responsible for the allegedly injurious

policy). Establishing traceability is sufficient to establish causation, but only for

purposes of standing. 41 See Ga. Ass’n of Latino Elected Offs., Inc., 36 F.4th at 1116.

       An injury is redressable when “a decision in a plaintiff’s favor would

significantly increase the likelihood that she would obtain relief.” Lewis v. Gov.

of Ala., 944 F.3d 1287, 1301 (11th Cir. 2019) (en banc) (cleaned up). That is true so

long as the court’s judgment may remedy the plaintiff’s injury, “whether directly

or indirectly.” Id. (quotation marks omitted); see also Ga. Ass’n of Latino Elected

Offs., Inc., 36 F.4th at 1116 (stating it must be “likely,” not merely “speculative,”

that the alleged injury will be redressed by a favorable decision). Thus, if a state

election official lacks the authority to redress the alleged injury, the court cannot

enter a judgment that may remedy the plaintiff’s injury, which means the plaintiff




41 As discussed infra in Sections II(B)(2)(b) & II(B)(3)(b)(1), Plaintiffs still must show
causation to prove liability.
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lacks standing. See, e.g., Jacobson, 974 F.3d at 1269 (finding the plaintiffs lacked

standing because the defendant election official did not control the complained-

of ballot-listing injury, which meant she could not redress the alleged injury).

       After careful consideration of the evidence adduced at trial, the Court finds

that Plaintiffs have standing to pursue their remaining claims because those

claims are traceable to and redressable by Defendants.

                               (1)    Exact Match MIDR and Citizenship are
                                      traceable to and redressable by Defendants.

       The Court finds based on the evidence adduced at trial that Defendants are

legally responsible for the Exact Match MIDR and citizenship policies, and that

those policies are traceable to and redressable by Defendants. State law explicitly

assigns responsibility for the voter verification and matching processes to the

Secretary. See O.C.G.A. § 21-2-50(a)(14) (requiring the Secretary to “maintain the

official list of registered voters for this state and the list of inactive voters required

by this chapter”); O.C.G.A. § 21-2-50.2(a) (stating that the Secretary is the state’s

chief election official under HAVA and thus is “responsible for coordinating the

obligations of the state under” HAVA); O.C.G.A. § 21-2-216(g)(7) (stating the

Secretary “shall establish procedures to match an applicant’s voter registration

information to the information contained in the data base maintained by the

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Department of Driver Services for the verification of the accuracy of the

information provided on the application for voter registration, including whether

the applicant has provided satisfactory evidence of United States citizenship”).

Evidence adduced at trial showed that the Secretary directs or is involved in

many aspects of the relevant processes. See, e.g., PX. 1900 (letter that is drafted

by the Secretary and that is sent by counties to registrants in MIDR status); PX.

2021 at 7, PX. 2022 at 5 (discussing Secretary’s citizenship audit).

      Moreover, HAVA does not mandate the precise requirements of Exact

Match MIDR in a way that precludes Exact Match from being traceable to or

redressable by Defendants. For example, HAVA does not require comparison of

a registration applicant’s first name, last name, date of birth, or citizenship

information. 52 U.S.C. § 21083(a)(5). Nor does it require identifying information

to match exactly. Id. Rather, HAVA requires states to compare voter registration

applicants’ driver’s license numbers or the last four digits of their social security

numbers against that information in the applicants’ DDS or SSA files. 52 U.S.C.

§ 21083(a)(5); Tr. 358:4–12 (Mayer). HAVA does not require that such identifying

information match exactly. 52 U.S.C. § 21083(a)(5); see Tr. 214:6–10 (McCrary); Tr.

357:20–358:8 (Mayer) (“Th[e] method is left up to the state.”); Tr. 508:15–510:3


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(Mayer). Plaintiffs presented evidence of other, less stringent ways to verify

names in voter registration databases that would comply with HAVA. See Tr.

358:16–359:7 (Mayer); PX. 1278 (Mayer Report) at 10. Thus, the Court finds that

HAVA is not a bar to finding traceability and redressability here.

      Similarly, HAVA is not a bar to finding traceability and redressability with

respect to the challenged citizenship verification process. Evidence in the record

showed not only that HAVA itself does not require citizenship verification but

also that other states have adopted alternative means of confirming citizenship

for purposes of voting. PX. 66 at 2 (citations omitted); see also Tr. 363:24–365:4

(Mayer) (discussing states that rely on registrant’s citizenship attestation without

otherwise verifying citizenship status). Also, the evidence at trial showed that the

Secretary exercises oversight of the citizenship verification process. E.g., PX. 1231,

PX. 1779 (citizenship verification letters drafted by the Secretary).

      Finally, state law tasks the SEB and its members with promulgating rules

and regulations to obtain uniformity in county practices, O.C.G.A. § 21-2-31(1),

and formulate, adopt, and promulgate rules and regulations conducive to the fair,

legal, and orderly conduct of elections, O.C.G.A. § 21-2-31(2). The SEB must

investigate, or authorize the Secretary to investigate, the administration of


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election laws. O.C.G.A. § 21-2-31(5); see also Tr. 1742:16–1743:13 (Harvey) &.

4032:7–18 (Sullivan) (discussing SEB in context of complaints concerning election

administration). Other statutory duties obligate the SEB to undertake significant

oversight responsibilities regarding the administration of elections and election

laws. See O.C.G.A. §§ 21-2-31(10), 21-2-33.1(a). The SEB also has enforcement

powers under Georgia law. See O.C.G.A. § 21-2-33.1. And the SEB can have the

Secretary of State provide support and assistance to carry out the SEB’s duties.

O.C.G.A. § 21-2-33.1(h); see also Tr. 4017:18–21 (Sullivan), Tr. 4093:14–17

(Mashburn), & Tr. 1852:1–19 (Harvey) (discussing the SEB’s ability to instruct the

Secretary of State to issue Official Election Bulletins to provide instructions to the

counties). Given this significant oversight authority and based on the evidence

adduced at trial, the Court finds that Exact Match MIDR and citizenship policies

are traceable to the Board and its members.

      For the above reasons, the Court finds that Defendants are sufficiently

responsible for the Exact Match MIDR and citizenship policies such that those

policies are traceable to and redressable by Defendants.




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                             (2)   Some list maintenance practices are traceable
                                   to and redressable by Defendants.

      At summary judgment, the Court ruled that Plaintiffs’ list maintenance

claims are fairly traceable to the Secretary of State because “the law itself

contemplate[s] [a] role for’ the Secretary—i.e., maintaining accurate registration

rolls under HAVA.” Doc. No. [612], 43. None of the parties briefing that

proceeded the Summary Judgment Order addressed O.C.G.A. §§ 21-2-221, 226,

228, or 231, as support for their traceability arguments. Doc. Nos. [441], [489],

[553]. At trial, however, there was extensive testimony and argument regarding

these statutes and their relationship to the Secretary of State’s list maintenance

responsibilities. See, e.g., Tr. 423:22–424:11, 2245:23–2248:1, 3203:10–3209:21,

3350:19–3351:20, 3353:3–7, 3355:8–18, 3580:8–3584:15, 3709:25–3710:10, 3735:25–

3736:10, 3737:10–3739:21, 3757:14–3766:6, 3773:24–3776:1,         3796:20–3799:15,

3800:20–3801:15, 3827:18–3831:10. In light of the evidence adduced at trial, the

Court now determines whether Plaintiffs’ list maintenance claim is fairly

traceable to the Secretary of State. “If an action proceeds to trial, the facts

necessary to establish standing ‘must be supported adequately by the evidence

adduced at trial.” Jacobson, 974 F.3d at 1245 (quoting Lujan, 504 U.S. at 561).



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      In Jacobson, the Eleventh Circuit held that the challenged practice was not

fairly traceable to the Florida Secretary of State because “Florida law tasks the

Supervisors, independently of the Secretary” with conducting the challenged

practice. Jacobson, 974 F.3d at 1253. The Eleventh Circuit reasoned that even

though the Florida Secretary of State has general supervision of the

administration of election laws, where “Florida law expressly gives a different,

independent official control over the order in which candidates appear on the

ballot,” the challenged practice is not traceable to the Florida Secretary of State.

Id. at 1254. Accordingly, the Court will review the relevant statutory authority

regarding list maintenance to determine whether the challenged practices are

traceable to the Secretary of State or to the counties.

      Upon review of the relevant Code sections, the Court construes the duties

of the county registrars and the Secretary of State as follows.

                                    (a)     List Maintenance statutory overview

      State law explicitly assigns responsibility for maintenance of the official list

of registered voters to the Secretary. See O.C.G.A. § 21-2-50(a)(14) (requiring the

Secretary to “maintain the official list of registered voters for this state and the

list of inactive voters required by this chapter”); O.C.G.A. § 21-2-50.2(a)


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(indicating that the Secretary of State shall be responsible for coordinating the

obligations of the state under HAVA); see also 52 U.S.C. § 21083(a)(1), (4) (setting

forth each state’s duties under HAVA; stating that each state “shall implement

. . . a single, uniform, official, centralized, interactive computerized statewide

voter registration list defined, maintained, and administered at the State level

that contains the name and registration information of every legally registered

voter in the State”; and stating that “[t]he State election system shall include

provisions to ensure that voter registration records in the State are accurate and

updated regularly . . . .”). Indeed, Chris Harvey testified that the Secretary is the

state official in charge of ensuring “that the HAVA requirements [are] met.” Tr.

3485:6–11 (Harvey).

      When an individual attempts to register to vote, the county registrar has a

duty to determine whether the individual is eligible to vote. O.C.G.A. § 21-2-

226(a). Once an individual is deemed an eligible elector, the county registrar has

the duty of placing the elector in the proper districts. Id. at 226(b). The counties

then have the duty to “from time to time [examine] the qualifications of each

elector of the county or municipality whose name is entered upon the list of

electors.” O.C.G.A. § 21-2-228(a). If after notice and an opportunity for a hearing,


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“the registrars find that the elector is not qualified to remain on the list of electors,

the registrars shall remove the name of such elector from the list of electors.”

O.C.G.A. § 21-2-228(e).

      In addition to the counties’ general duty to examine the qualifications, on

or before the tenth day of every month, the Secretary of State receives “a complete

list of all persons, including dates of birth, Social Security numbers, and other

information as prescribed by the Secretary of State or The Council of Superior

Court Clerks of Georgia, who were convicted of a felony in this state since the

proceeding reporting period.” O.C.G.A. § 21-2-231(a). Upon receipt of that list

and the list of individuals convicted of felonies in federal court, “the Secretary of

State shall transmit the names of such person whose names appear on the lists of

electors to the appropriate county board of registrars.” O.C.G.A. § 21-2-231(c)(2).

The county registrar then “shall mail a notice to the last known address of each

such person” stating that the person was listed as having a felony and will be

removed from the list of electors thirty days after the notice, unless the individual

requests a hearing. Id.

      On or before the tenth day of every month, the Secretary of State receives

“a complete list of all persons, including addresses, ages, and other identifying


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information as prescribed by the Secretary of State, who died during the

preceding calendar month in the county.” O.C.G.A. § 21-2-231(d). The Secretary

of State then has the duty to remove said persons from the list of electors and

notify the county registrar about the elector’s death. Id. § 21-2-231(e). The County

registrar also has a duty to remove individuals from the list of electors, if the

county registrar obtains information about the individual’s death from

obituaries, death certificates, or other verifiable knowledge of the death. Id. § 21-

2-231(e.1).

          If the county registrar fails to “initiate appropriate action regarding the

right of an elector to remain on the list of qualified registered voters” after

receiving the felon list or information about an elector’s death, “such action may

subject the registrars . . . to a fine by the State Election Board.” O.C.G.A. § 21-2-

231(f).

          At trial, Mr. Harvey testified that the process by which the Secretary of

State maintains the list of voters, with respect to deceased and felon electors, is

by programming eNet with certain criteria; eNet then flags the electors whose

information matches the criteria. Tr. 3716:15–3717:9; 3720:13–20.




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                                    (b)     Traceability    for     the    specific
                                            challenged practices

                                            i)    vitals matching

      With respect to vital records, the Secretary of State receives information

from certain government agencies containing the list of deceased individuals (Tr.

3715:20–3716:7), then the Secretary of State programs eNet to apply certain

matching criteria to the list of deceased persons against the electors on the voter

registration database (Tr. 3717:1–3), then eNet automatically cancels electors

whose information matches that of a deceased person (Tr. 3717:4–13). eNet will

cancel an elector only if there is a “tight match,” which was defined as match in

last name, Social Security number and date of birth. Tr. 3719:7–18.

      Mr. Hallman testified that once the Secretary of State cancels an elector, it

sends the counties “loose matches.” Tr. 886:8–15. Loose matches include: (1) last

name and date of birth, and (2) last name and SSN. PX. 800 at 13.

      Under both the statutory language and the testimony developed at trial,

the Secretary of State is responsible for matching the lists of deceased individuals

against the voter roll. The Secretary of State is then responsible for canceling the

voters that match. The Secretary of State then sends the name of electors that

loosely match the list of deceased electors. The counties then cancel voters who

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are loosely matched or if they obtain certain types of proof that the voter is

deceased.

                                            ii)    felon matching

      With respect to felon matching, the Court first reviews the governing

statute and then discusses how the Secretary of State and counties undertake the

process of attempting to identify felons and remove them from voter rolls.

      Under Georgia law, the Secretary of State receives a monthly list from the

Georgia Crime Information Center “of all persons, including dates of birth, social

security numbers, and other information as prescribed by the Secretary of State

. . . who were convicted of a felony in this state since the preceding reporting

period.” O.C.G.A. § 21-2-231(a). Pursuant to 52 U.S.C. § 20507(g), the Secretary of

State also receives “lists of persons convicted of felonies in federal courts.” See

O.C.G.A. § 21-2-231(c)(2). Upon receiving these lists of felons,

             the Secretary of State shall transmit the names of such
             persons whose names appear on the lists of electors to
             the appropriate county board of registrars who shall
             mail a notice to the last known address of each such
             person by first-class mail, stating that the board of
             registrars has received information that such person has
             been convicted of a felony and will be removed from
             the list of electors thirty days after the date of the notice
             unless such person requests a hearing before the board
             of registrars on such removal.

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      Id. (emphasis added).

      In practice, the Secretary of State receives from the DOC and the DCS a list

containing names of recently convicted felons. Tr. 3719:23–3720:1. The Secretary

of State then runs the list through eNet to identify voters whose information

matches certain criteria that the Secretary of State has developed for matching

purposes.    Tr. 862:15–18     (Hallman);      Tr. 3567:13–17,   3720:5–9    (Harvey);

Tr. 1329:12–20 (Frechette). Specifically, eNet runs six different sets of criteria for

felon matching: (1) Last name, first name, last four digits of Social Security

number, and date of birth for voters in active, inactive, pending, or reject status;

(2) last name, first name, last four digits of Social Security number, and date of

birth for voters in canceled status; (3) last name, last four digits of Social Security

number, and date of birth; (4) first name, last four digits of Social Security

number, and date of birth; (5) last name, first name, and date of birth; and (6) last

name, date of birth, race, 42 and gender. PX. 800 at 21. These matching criteria are




42Plaintiffs did not bring a race discrimination claim with respect to list maintenance,
but it is worth nothing that the felon matching process is the only maintenance system
where the Secretary of State uses race as a criterion.
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listed in descending order from “tight” matches to “loose” matches. See Tr. 871:8–

18, 872:12–18 (Hallman).

       Although the governing statute provides that “the Secretary of State shall

transmit the names of [felons] whose names appear on the lists of electors to the

appropriate county board of registrars,” O.C.G.A. § 21-2-231(c)(2), the process

unfolds more circuitously in practice. 43 Namely, once the Secretary of State has

run the above criteria and developed lists of potential matches between the felon

lists and existing voter registration records, the Secretary of State transmits the

list of potential matches to the counties by displaying them on the county

dashboard for review by the county. Tr. 1329:21–1330:1 (Frechette).

       At that point in the process, the governing statute provides that once the

county receives from the Secretary of State the names of felons who appear on

the county’s voter rolls, the county “shall mail a notice to the last known address

of each such person by first-class mail” informing such persons that they have




43  It is important to note that Plaintiffs concede that the question of whether the
Secretary’s decision to delegate discretionary decision-making about which people on
the list of felons are (or are not) on the list of registered voters complies with Georgia
law “is not at issue in this suit.” Doc. No. [854], ¶ 694. Plaintiffs state that “their challenge
to the felon matching process is not that it violates state law, but that it is carried out in
a way that burdens Georgia’s voters unconstitutionally.” Id.
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been identified as a felon and will removed from the voter rolls absent further

action from the person. O.C.G.A. § 21-2-231(c)(2). But the evidence at trial

showed that under the system in place, the counties do more than simply mail

notices to those identified by the Secretary of State. Rather, each county must

establish its own county-wide policy to apply to each potential match provided

by the Secretary of State to determine whether it is a true match. Tr. 3570:5–10

(Harvey); Tr. 1351:16–1352:11 (Frechette). In other words, under current practices

intended to comport with O.C.G.A. § 21-2-231, regardless of the criteria used for

identifying potential matches, the counties are the ones who ultimately decide

whether individuals in their voter rolls are in fact felons. See Tr. 873:3–5

(Hallman). And if the county decides that someone identified as a potential

match is indeed a felon, then the county must transmit to that individual the

notice letter and follow the remaining, related procedures provided under the

governing statute to remove the person identified as a felon from the voter rolls.

See O.C.G.A. § 21-2-231(c)(2).

      As to traceability, Defendants argue that the counties—not the Secretary of

State—are responsible for erroneous felon cancelations. Specifically, Defendants

contend that “[t]he state is not making anyone take someone off the roll.” Tr.


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4437:1–3. Mr. Harvey testified that once eNet processes the list, the Secretary of

State then sends the list of matches to the counties, and the counties decide which

electors need to be removed as felons. Tr. 3720:21–3721:6. And, a potential match

does “not necessarily [mean] cancellation . . . the county should look at and see if

there is information that the person should be canceled.” Tr. 3725:1–4. Once the

county gets the potential matches, the county determines whether the individual

should be removed as a felon; thus, in practice, the Secretary of State does not

make that final determination. Tr. 3567:7–3568:1.

       For purposes of standing, the Court disagrees that the burdens caused by

the felon matching process are not traceable to the Secretary of State because the

counties ultimately decide who is a felon. 44 As Defense Counsel argued, “how

does this list accuracy work in terms of felon matching? It’s, again, controlled by

the statute.” Tr. 4435:23–25. And as discussed above, the governing statute

provides that the Secretary of State sends the list of felons to the counties, which




44 The Court finds infra that the felon matching claim fails as to liability on causation
grounds. The Court’s finding here is limited to determining whether the actions of the
Secretary of State are sufficiently connected to the alleged constitutional injury for
purposes of standing. See Yellow Pages Photos, Inc. v. Ziplocal, LP, 795 F.3d 1255, 1264–
65 (11th Cir. 2015) (stating that for standing there must be a fairly traceable connection
between the alleged injury in fact and the alleged conduct of the defendant).
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in practice is sent in the form of “matches.” Then, per the governing statute, the

counties must send a notice to the impacted voters informing them that they have

been deemed a felon. But in practice, before that step occurs, counties use the

information that they receive from the Secretary of State to determine whether

matched individuals are indeed felons.

       When outlining the duties for the counties and the Secretary of State,

O.C.G.A. § 21-2-231 uses the word “shall.” The Court acknowledges that there is

debate as to the meaning of the word “shall” 45; however, in this Circuit “[t]he

word ‘shall’ is ordinarily the language of a command.” In re Tennyson, 611 (F.3d

873, 878 (11th Cir. 2010) (quoting Alabama v. Bozeman, 533 U.S. 146, 153 (2001));

see also Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 23

(1998) (“[T]he mandatory ‘shall,’ . . . normally creates an obligation impervious




45 Black’s law dictionary defines “shall,” as 1. Has a duty to; more broadly, is required
to <the requester shall send notice> <notice shall be sent>. • This is the mandatory sense
that drafters typically intend and that courts typically uphold. 2. Should (as often
interpreted by courts) <all claimants shall request mediation>. 3. May <no person shall
enter the building without first signing the roster>. • When a negative word such
as not or no precedes shall (as in the example in angle brackets), the word shall often
means may. What is being negated is permission, not a requirement. 4. Will (as a future-
tense verb) <the corporation shall then have a period of 30 days to object>. 5. Is entitled
to <the secretary shall be reimbursed for all expenses>. • Only sense 1 is acceptable
under strict standards of drafting. SHALL, Black’s Law Dictionary (11th ed. 2019).
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to judicial discretion.”); U.S. v. Peters, 783 F.3d 1361, 1364 (11th Cir. 2015) (“Using

the verb ‘shall in a statute is a command. ‘Shall’ creates an obligation not subject

to judicial discretion.”) (internal citations omitted).

      Having considered the express terms of O.C.G.A. § 21-2-231(c)(2) and the

procedure for felon matching as outlined at trial, the Court finds that the injury

is sufficiently traceable to the Secretary of State for purposes of standing. To start,

the Secretary of State has developed a system in which it generates lists of

potential felon matches that it sends to the counties. Thus, the Secretary of State

starts the felon identification process by identifying “potential” matches and

sending those to the counties. At that point, the counties, relying on the potential

matches that the Secretary of State sent them, undertake the process of

identifying correct matches. And, per O.C.G.A. § 21-2-231(c)(2), the counties

“shall” then start the process of removing voters identified as felons. Because

counties are required by statute to send notice letters and either conduct a

hearing or remove the elector thirty-days after the notice is mailed, the Court

finds that under the plain language of the statute, the counties have no discretion

over whether to send the notice, and must either hold a hearing or cancel a voter.

While the Court acknowledges that in practice the counties do not automatically


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send the notice letter to the impacted voter, see infra, the Court finds that for

purposes of traceability, the Georgia statute does not give the counties discretion

over whether to send a notice letter. See Jacobson, 974 F.3d at 1254 (requiring

courts to look to the specific language of the statute to determine whether an

action is traceable to the secretary of state).

       Accordingly, certain burdens created by the felon matching process are

traceable to the Secretary of State. 46 Moreover, for the reasons discussed supra

with respect to the SEB’s oversight responsibilities in ensuring fair elections and




46 Notably, the origin of the above division of responsibilities between the Secretary of
State and the counties distinguishes this case from Jacobson. In Jacobson, the plaintiffs
sued the Florida Secretary of State and argued that they were “injured because
Republicans, not Democrats, appear first on the ballot in Florida’s general elections.”
Jacobson, 974 F.3d at 1253. The Eleventh Circuit found that there was no traceability
because the Florida Secretary of State was not tasked under Florida law “with printing
the names of candidates on ballots in the order prescribed by the ballot statute.” Id.
Rather, a Florida statute explicitly assigned that role to county officials. Id. (citing Fla.
Stat. § 99.121). Here, however, no statute explicitly assigns voter eligibility decisions to
the counties. Rather, the governing statute provides that the Secretary of State “shall”
transmit felon names to the counties, who then “shall” mail notices to those individuals
and initiate the process to remove the voter from the rolls. To be sure, the evidence
shows that there is now a system in place that delegates certain decision-making
responsibilities to the counties. But the statute does not expressly provide for that. Thus,
the Court finds that this set of facts is distinguishable from the straightforward statutory
responsibilities that created a traceability issue in Jacobson.
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promulgating rules and regulations in accordance with that responsibility, the

Court finds that this matter is also traceable to the SEB.

                                           iii)   duplicate matching

      The Court finds that the duplicate matching process is not traceable to the

Secretary of State. “[T]here must be a causal connection between the injury and

the conduct complained of—the injury has to be “fairly . . . trace[able] to the

challenged action of the defendant, and not . . . th[e] result [of] the independent

action of some third party not before the court.” Lujan, 504 U.S. at 560; see also

Jacobson, 947 F.3d at 1253–54 (holding that the challenged practices were not

traceable to the Florida Secretary of State because state law assigned authority

over the challenged practice to the counties). With respect to duplicate matching,

the Court finds that the causal link between Defendants and the voters was

broken by the counties’ actions.

      Unlike felon and vital record matches, the Georgia Code does not outline

the procedure by which the duplicate matches are evaluated. O.C.G.A. § 21-2-

228(a) requires the county registrars to “from time to time” examine “the

qualification of each elector of the county or municipality whose name is entered




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upon the list of electors.” The statute does not expressly dictate the method that

the counties must take to re-examine an elector’s qualifications.

      At trial, Mr. Hallman testified that “[w]hen a voter registration application

comes in through either [DDS or OLVR], [e]Net is programmed by the Secretary

of State to run automatically a search of existing voter records that are already in

[e]Net.” Tr. 762:15–19. As with vital records and felon matching, the Secretary of

State establishes the criteria for what is determined to be a duplicate match. Tr.

761:2–4. The following is the criteria used to determine a duplicate match: (1)

driver’s license number; (2) last name, first name, date of birth and Social Security

number; and (3) last name, first name, and date of birth. PX. 50, 39. Mr. Hallman

testified that once eNet determines that there is a possible duplicate match, the

counties would see a list of potential matches based upon the different matching

criteria and then would determine whether the voters are in fact a match or two

different people. Tr. 765:13–766:1, 766:9–16.

      Unlike with vital and felon matching, the statutes state that when a county

deems that an elector does meet the registration requirements, the county “shall

remove the name of such elector.” O.C.G.A. § 21-2-228(e). As stated above, the

use of the word “shall” requires the counties to (1) evaluate whether the voters


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on the list of electors are qualified to vote and (2) remove any elector who is not

qualified to vote. See O.C.G.A. § 21-2-228(a). Under the current statutory

framework, the Georgia legislature has expressly delegated the authority to

determine the qualifications of electors and remove electors to the counties, with

the exception of felons and vitals, where the Georgia legislature reserved certain

duties for the Secretary of State. See infra. Although, the Secretary of State has

general authority to maintain the list, “[Georgia] law expressly gives a different,

independent official [general] control” over determining which electors are

qualified to vote and removing electors that are not qualified to vote. Jacobson,

974 F.3d at 1254. 47 As a result, the challenge to duplicate matching is not traceable

to the Secretary of State because the counties have deliberative autonomous

decision-making authority, not the Secretary of State.

       By comparison, with respect to vital matches, the counties are empowered

to remove a voter from the voter rolls only if the county has physical proof that

the voter is deceased, and with felons the statute requires the counties to send a




47 As stated supra, the Georgia legislature, however carved out an exception that gave
the Secretary of State control over determining which electors are disqualified for either
being deceased or a felon.
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notice to all voters who are on the Secretary of State’s list and either hold a

hearing or remove all electors who are on the list. The Georgia legislature

abrogated the counties’ deliberative autonomous decision-making authority

with respect to the cancelation process for electors who appear on the Secretary

of State’s vitals and felons list. Accordingly, the Court finds that there is not

sufficient causation to tie a burden caused by duplicate matching to Defendants.

Accordingly, Plaintiffs’ First and Fourteenth Amendment claim with respect to

the duplicate matching process fails as a matter of law. 48

      For the above reasons, the Court finds that Plaintiffs’ List Maintenance

Claim with respect to felon matching and vitals matching are traceable to

Defendants. However, Plaintiffs’ List Maintenance Claim with respect to

Duplicate Matching is not traceable to Defendants.

                     c)     Inadequate training on absentee ballot cancelation is
                            traceable to and redressable by Defendants.

      As to training related to provisional and absentee ballots, state law requires

that the Secretary “conduct training sessions at such places as the Secretary of

State deems appropriate in each year, for the training of registrars and



48Because duplicate matching is not traceable to the Secretary of State, the Court will
not evaluate the duplicate matching process under the Anderson-Burdick framework.
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superintendents of elections.” O.C.G.A. § 21-2-50(a)(11). The Secretary must train

and select trainings for county election superintendents, registrars, and other

county election officials. See O.C.G.A. §§ 21-2-100(a), 101(a). Former Elections

Division Director Chris Harvey testified that this training structure is a “train the

trainer” scenario because the individuals the Secretary must train then go on to

train other county elections officials and personnel. See Tr. 1871:8–22 (Harvey).

Mr. Harvey also conceded that if the higher-level county elections officials are

not well trained regarding absentee ballot procedures, then they will not be able

to adequately train their personnel on those matters. See Tr. 1873:19–25 (Harvey).

That inadequate training can in turn implicate uniformity and other concerns in

the Secretary’s and the Board’s province. See Tr. 1830:12–20, 1835:21–23, 1838:17–

24, 1865:7–10 (Harvey); O.C.G.A. § 21-2-31.

      Given the above-cited authorities and trial evidence, the Court finds that

Plaintiffs have standing to pursue their claims regarding the training of

superintendents and registrars given the Secretary’s and Board’s direct statutory

responsibilities. O.C.G.A. §§ 21-2-31, 21-2-50(a)(11). Further, the facts adduced at

trial showed that failures by lower-level county officials and poll workers are

attributable to inadequate training of their supervisors. In other words, the


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evidence at trial showed that claims related to the training of lower-level county

officials and poll workers are directly traceable to and redressable by Defendants

because Defendants’ training of superintendents and registrars directly led to the

issues complained of. Thus, Plaintiffs have standing for the absentee ballot

training claims.

             2.    Political Question Doctrine

      Satisfied that Plaintiffs have standing to bring this action, the Court now

turns to the Political Question Doctrine.

      As stated above, Defendants have raised the doctrine of political question

as an affirmative defense to Plaintiffs’ claims. Doc. No. [753-2], 3. More

specifically, Defendants state: “Plaintiffs’ federal claims against Defendants are

barred as they raise political questions that should not be addressed by the Court.”

Id. Additional political question arguments were raised in Defendants’ Rule 52(c)

presentation.

      Federal courts will generally refuse to hear a case if they find it presents a

“political question.” In this context, a political question is generally one that

either is best left to the political branches of government or that lacks judicially

manageable standards. In Baker v. Carr, 369 U.S. 186 (1962), the Supreme Court


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“set out the six indicia of a political question.” McMahon v. Presidential Airways,

Inc., 502 F.3d 1331, 1357 (11th Cir. 2007). Under Baker, any one of the following

indicia removes an issue beyond the scope of justiciability:

             (1) a textually demonstrable constitutional commitment
             of the issue to a coordinate political department; (2) a
             lack of judicially discoverable and manageable
             standards for resolving it; (3) the impossibility of
             deciding without an initial policy determination of a
             kind clearly for nonjudicial discretion; (4) the
             impossibility of a court’s undertaking independent
             resolution without expressing lack of the respect due
             coordinate branches of government; (5) an unusual
             need for unquestioning adherence to a political decision
             already made; or (6) the potentiality of embarrassment
             from multifarious pronouncements by various
             departments on one question.

Aktepe v. United States, 105 F.3d 1400, 1402–03 (11th Cir. 1997) (quoting Baker,

369 U.S. at 217).

      As the Supreme Court explained in Rucho v. Common Cause, --- U.S. ----,

139 S. Ct. 2484 (2019):

             Chief Justice Marshall famously wrote that it is “the
             province and duty of the judicial department to say
             what the law is.” Sometimes, however, the law is that
             the judicial department has no business entertaining the
             claim of unlawfulness—because the question is
             entrusted to one of the political branches or involves no
             judicially enforceable rights. In such a case the claim is
             said to present a “political question” and to be

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            nonjusticiable—outside the courts’ competence and
            therefore beyond the courts’ jurisdiction. Among the
            political question cases the Court has identified are
            those that lack judicially discoverable and manageable
            standards for resolving [them].

Id. at 2494 (internal quotations and citations omitted). The political question

doctrine acts as a jurisdictional bar. See McMahon, 502 F.3d at 1365.

      After review, the Court agrees with Defendants’ general premise that it is

not the place of federal courts to decide complex and subtle questions of election

administration. However, federal courts are equipped and empowered to

address claims that individuals’ voting rights are being burdened. At bottom, the

case sub judice is about individual voting rights and whether Georgia’s election

laws and policies unduly burden individuals’ right to vote. Clearly, there are

judicially manageable standards for evaluating such complaints—the Anderson-

Burdick framework exists for precisely this purpose. See Jacobson, 974 F.3d at

1262 (“If the statute burdened voting or associational rights even slightly, we

could apply legal standards to determine whether the burden was

unconstitutional. Under Anderson and Burdick, we would weigh the burden

imposed by the law against the state interests justifying that burden.”).




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       Without more, Defendants have not carried their burden of establishing a

jurisdictional bar based on a political doctrine affirmative defense.

              3.     Mootness

       As indicated above, “[u]nder Article III of the Constitution, federal courts

may adjudicate only actual, ongoing cases or controversies.” Lewis v. Cont’l Bank

Corp., 494 U.S. 472, 477 (1990). 49 “[T]he doctrine of mootness derives directly

from the case-or-controversy limitation because an action that is moot cannot be

characterized as an active case or controversy.” De La Teja v. United States, 321

F.3d 1357, 1361–62 (11th Cir. 2003) (citations omitted). “Simply stated, a case is

moot when the issues presented are no longer ‘live’ or the parties lack a legally

cognizable interest in the outcome.” Powell v. McCormack, 395 U.S. 486, 496–97

(1969) (citation omitted). More specifically, “[i]f events that occur subsequent to

the filing of a lawsuit . . . deprive the court of the ability to afford the plaintiff . . .

meaningful relief, then the case becomes moot and must be dismissed.” De La

Teja, 321 F.3d at 1362.



49  “The Constitution’s case-or-controversy limitation on federal judicial authority,
Art. III, § 2, underpins both [the] standing and . . . mootness jurisprudence, but the two
inquiries differ in respects critical to the proper resolution of this case, so [the Court]
address[es] them separately.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC),
Inc., 528 U.S. 167, 180 (2000).
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       One “event” that may moot a claim is when the governmental defendant

ceases the behavior on which a claim is based, through the repeal or amendment

of a challenged statute, rule, or policy. Coral Springs St. Sys., Inc. v. City of

Sunrise, 371 F.3d 1320, 1328–29 (11th Cir. 2004). The Supreme Court and the

Eleventh Circuit “have repeatedly indicated that ‘the repeal of a challenged

statute is one of those events that makes it absolutely clear that the allegedly

wrongful behavior . . . could not reasonably be expected to recur.’” Flanigan’s

Enters., Inc. of Ga. v. City of Sandy Springs, 868 F.3d 1248, 1256 (11th Cir. 2017)

(citations omitted). It also appears that the Eleventh Circuit has established an

exception to the general rule that the burden of proving mootness falls on the

party asserting it. Id. “As a result, ‘once the repeal of an ordinance has caused

[the Court’s] jurisdiction to be questioned, [the plaintiff] bears the burden of

presenting affirmative evidence that its challenge is no longer moot.’” Id. “‘The

key inquiry’ is whether the plaintiff has shown a ‘reasonable expectation’—or . . .

a ‘substantial likelihood’—that the government defendant ‘will reverse course

and reenact’ the repealed rule.” Keohane v. Fla. Dep’t of Corr. Sec’y, 952 F.3d

1257, 1268 (11th Cir. 2020) (citations omitted).




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      Three broad factors guide courts conducting this inquiry: (1) whether the

government’s change in conduct resulted from substantial deliberation or is

merely an attempt to manipulate jurisdiction; (2) whether the government’s

decision to terminate the challenged conduct was unambiguous; and (3) whether

the government has consistently maintained its commitment to the new policy or

legislative scheme. Flanigan’s Enters., Inc. of Ga., 868 F.3d at 1257. The Eleventh

Circuit has also stated:

             When considering a full legislative repeal of a
             challenged law—or an amendment to remove portions
             thereof—these factors should not be viewed as
             exclusive nor should any single factor be viewed as
             dispositive. Rather, the entirety of the relevant
             circumstances should be considered and a mootness
             finding should follow when the totality of those
             circumstances persuades the court that there is no
             reasonable expectation that the government entity will
             reenact the challenged legislation.

Id.

      In their Statement of the Case for purposes of the Pretrial Order,

Defendants argued that this Court “lacks jurisdiction over Plaintiffs’ claim as to

training of county election officials on absentee ballot cancellation procedures




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because this claim is moot.” Doc. No. [753-2], 2. As discussed infra, the Court is

unable to conclude that the absentee ballot issue is moot. 50

       B. Count I: Fundamental Right to Vote Claim 51

              1.     Legal Standard

       Count I of Plaintiffs’ Second Amended Complaint brings voting rights

claims under the First and Fourteenth Amendments. Doc. No. [582], p. 69.

Count I claims Defendants’ 52 following conduct imposed the following severe

burdens: (a) failing to train adequately county elections officials on laws




50  For purposes of perfecting the record, the Court notes that Plaintiffs assert that
Defendants presented a “quasi-mootness” argument as to the Exact Match/Citizenship
Match challenged practice and the Secretary of State’s recent use of the SAVE citizenship
verification process (Doc. No. [854], ¶ 521); however, in their proposed findings,
Defendants acknowledge that the Exact Match/Citizenship Match challenged practice
is not mooted through existing statute or regulation. Doc. No. [855], ¶ 1029. In light of
this acknowledgement, the Court declines to render a mootness finding as to the
Citizenship Match challenged practice.
51 “Plaintiffs filed suit under 42 U.S.C. § 1983, which provides them with a federal ‘cause
of action for constitutional violations committed under color of state law. To prevail,
plaintiffs must demonstrate both that the defendants deprived them of a right secured
under the Constitution or federal law and that the deprivation occurred under color of
state law.’” Greater Birmingham Ministries, 966 F.3d at 1221–22 (citations omitted).
Because the Georgia laws and practices at issue fall squarely under color of state law,
the Court need only address the constitutionality of the law. Id.
52 With respect to Count I, the Court uses the term “Defendants” to encompass the
Secretary of State, Sarah Tindall Ghazal, Janice Johnston, Edward Lindsey, and Matthew
Mashburn. “Defendants” in this section will not include the SEB, because the SEB enjoys
sovereign immunity for the claims in Count I.
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governing elections; (b) failing to maintain an accurate and secure voter

registration list; and (c) removing and preventing voter registrations under the

“Exact Match” policy. Id. at 70, ¶ 155. Plaintiffs argue that, due to Defendants’

misconduct, “voters in Georgia have suffered and will continue to suffer

irreparable harm—including disenfranchisement and severe burdens on the

right to vote in any and all elections and disenfranchisement.” Id. at 72, ¶ 157.

      “The Supreme Court has rejected a litmus-paper test for constitutional

challenges to specific provisions of a State’s election laws and instead has applied

a flexible standard.” Common Cause/Ga., 554 F.3d at 1352 (internal quotation

marks omitted). Thus, a reviewing court must first “consider the character and

magnitude of the asserted injury to the rights protected by the First and

Fourteenth Amendments that the plaintiff seeks to vindicate.” Anderson v.

Celebrezze, 460 U.S. 780, 789 (1983). The Court must then “identify and evaluate

the precise interests put forward by the State as justifications for the burden

imposed by its rule.” Id. The Court must consider both the “legitimacy and

strength of each of [the state] interests” and “the extent to which those interests

make it necessary to burden the plaintiff’s rights.” Id. “Only after weighing all

these factors is the reviewing court in a position to decide whether the challenged


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provision is unconstitutional.” Id.; see also Burdick v. Takushi, 504 U.S. 428, 434

(1992).

      “Ordinary and widespread burdens, such as those requiring nominal

effort of everyone, are not severe.” Crawford v. Marion Cty. Election Bd., 553 U.S.

181, 205 (2008) (Scalia, J., concurring) (quotation omitted). However, burdens

“are severe if they go beyond the merely inconvenient.” Id. If a State’s election

law imposes only “reasonable, nondiscriminatory restrictions” upon the First

and Fourteenth Amendment rights of voters, “the State’s important regulatory

interests are generally sufficient to justify” the restrictions. Burdick, 504 U.S. at

434 (citing Anderson, 460 U.S. at 788). But if a State’s election law imposes a

“severe” burden, it must be “narrowly drawn to advance a state interest of

compelling importance.” Id. (citing Norman v. Reed, 502 U.S. 279, 289 (1992)).

“The more a challenged law burdens the right to vote, the stricter the scrutiny to

which we subject that law.” Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312,

1319 (11th Cir. 2019). 53 In other words, “lesser burdens . . . trigger less exacting



53 While this Court recognizes that stay-panel opinions are “tentative,” “preliminary
[in] nature,” and are “not a final adjudication of the merits of the appeal,” this Court
accepts the stay-panel’s opinion in Lee as persuasive authority. Democratic Exec. Comm.
of Fla. v. Nat’l Republican Senatorial Comm., 950 F.3d 790, 795 (11th Cir. 2020); cf. E.

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review.” Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997).

Notably, “[t]o establish an undue burden on the right to vote under the

Anderson-Burdick test, Plaintiffs need not demonstrate discriminatory intent

behind the” challenged practice. Lee, 915 F.3d at 1319.

      During closing argument, Defense counsel argued that the “burdens”

under Anderson-Burdick are limited to “the impact on the voter[‘]s rights to

vote[,] [n]ot the voter individually.” Tr. 4530:19–21. The Court finds that this

bright-line rule is not supported by precedent. In Anderson, the Supreme Court

found that the early filing deadline for small political parties or independent

candidates burdens the rights of voters and candidates to vote for the candidate

of their choice. Anderson, 460 U.S. at 792–94. There, the Court looked at the

burden on the individual voter’s right to vote for their preferred candidate, not

the voter’s ability to cast a vote. In Burdick, the Supreme Court held that Hawaii’s

ballot access law did not “interfere with the right of the voters to associate and

have candidates of their choice placed on the ballot.” Burdick, 504 U.S. at 435.

Again, the Court looked at the burden on an individual voter to vote for a




Bay Sanctuary Covenant v. Trump, 950 F.3d 1242, 1265 (9th Cir. 2020) (treating the
motions panel’s decision as persuasive, but not binding authority).
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particular candidate, not the right to vote generally. In Crawford, the Supreme

Court noted, “in neither Norman nor Burdick did we identify any litmus test for

measuring the severity of a burden that a state law imposes on a political party,

an individual voter, or a discrete class of voters.” Crawford, 553 U.S. at 191

(emphasis added). There, the Court evaluated an individual voter’s hardship in

obtaining a photo ID and the impact of that burden on the voter’s ability to cast

a vote. Id. at 197–98. Accordingly, the Court finds that the Anderson-Burdick

analysis requires the Court first to evaluate the burden of the challenged practice

on the voter individually, and second, to evaluate the impact of that burden on

the individual voter’s right to vote.

      Using this framework, the Court addresses each alleged violation of the

right to vote in turn.

             2.     Issue: Absentee Ballot Cancelation Procedures

                     a)    Challenged practice: lack of training on absentee
                           ballot cancelations

      Plaintiffs have not met their burden in establishing an Anderson-Burdick

violation for Defendants’ training in absentee ballot cancelations. The evidence

adduced at trial does not support that Defendants’ training of county election

superintendents violated the First and Fourteenth Amendments. Plaintiffs have

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not sufficiently shown that the incorrect information caused a burden on voters.

Additionally, Anderson-Burdick does not apply when the challenged practices

are mistakes in election administration. Finally, even if Anderson-Burdick were

to apply, the Court finds that Plaintiff has not met its burden in providing the

Court with an available remedy.

                    b)    Causation

       Plaintiffs have failed to show that the Secretary of State’s training on

absentee ballot cancelations burdened voters. “[S]ection 1983 requires proof of an

affirmative causal connection between the official’s acts or omissions and the

alleged constitutional deprivation.” Zatler v. Wainwright, 802 F.2d 397, 401 (11th

Cir. 1986).

      Plaintiffs argued that in § 1983 voting rights cases, courts do not have to

conduct a separate causation analysis after establishing traceability. Doc. No.

[888], ¶¶ 37–41. Plaintiffs cite Luckey v. Harris, 860 F.2d 1012, 1015 (11th Cir.

1998) to establish that a lesser level of causation is required when seeking

injunctive relief against a state official in their official capacity.” Id. ¶ 39.

However, Luckey does not stand for that proposition. The portion of Luckey

cited is analyzing Ex Parte Young, not causation. “Personal action by defendants


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individually is not a necessary condition of injunctive relief against state officers

in their official capacity. All that is required is that the official be responsible for

the challenged action. As the Young court held, it is sufficient that the state officer

sued must, ‘by virtue of his office, ha[ve] some connection’ with the

unconstitutional act or conduct complained of.” Luckey, 860 F.2d at 1015–16. This

section of Luckey does not mention the level of causation necessary to prove a

constitutional challenge.

      The Eleventh Circuit has expressly held the opposite. In Williams v.

Bennett, 689 F.2d 1370, 1380 (11th Cir. 1982), the Eleventh Circuit confirmed that

“Section 1983 imposes additional proof requirements when that statute is used

as the vehicle to vindicate substantive constitutional rights.” And the statute’s

“language plainly requires proof of an affirmative causal connection between the

actions taken by a particular person “under color of state law” and the

constitutional deprivation.” Id. at 1381. Williams cites Rizzo v. Goode, 423 U.S.

362 (1976) and Sims v. Adams, 537 F.2d 829, 831 (5th Cir. 1976) to support this

understanding. Id. “From Rizzo and Sims it is clear that the inquiry into causation

must be a directed one, focusing on the duties and responsibilities of each of the

individual defendants whose acts or omissions are alleged to have resulted in a


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constitutional deprivation.” Id. The Supreme Court and Eleventh Circuit have

found that Section 1983 causation is required in other constitutional claims. See

Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg’l Plan. Agency, 535 U.S. 302, 344–45

(2002) (Rehnquist, C.J., dissenting) (“We have never addressed the § 1983

causation requirement in the context of a regulatory takings claim, though

language in Penn Central Transp. Co. v. New York City, 438 U.S. 104, 98 S. Ct.

2646, 57 L.Ed.2d 631 (1978), suggests that ordinary principles of proximate cause

govern the causation inquiry for takings claims.”); Thomas v. Bryant, 614 F.3d

1288, 1317 n.29 (11th Cir. 2010) (“Additionally, to prevail on an Eighth

Amendment claim brought pursuant to § 1983, a plaintiff inmate must also show

a causal connection between the constitutional violation and his injuries.”);

Manzini v. The Fla. Bar, 511 F. App’x 978, 982 (11th Cir. 2013) (“The decision of

that state court judge breaks the chain of causation between [defendant’s] actions

and any alleged constitutional violations.”).

      Although the Eleventh Circuit has not definitively held in the voting rights

context that a plaintiff must establish Section 1983 causation in addition to

traceability, no case law states that the Section 1983 causal analysis does not apply.

Given that the Supreme Court and the Eleventh Circuit have required plaintiffs


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to prove Section 1983 causation and traceability in various other contexts, the

Court sees no reason to avoid doing so here.

      The Court finds that Plaintiffs have not sufficiently proven causation under

Section 1983. Plaintiffs provided evidence that the Secretary of State’s election

certification materials were not updated after the passage of HB 316. Tr. 2118:13–

2119:11. First, Chris Harvey testified that certification materials are reviewed

only once when the superintendents obtain their initial certification. Tr. 3534:10–

23. These certification materials were not, and could not have been, used

statewide for all county superintendents, and each county from which Plaintiffs

presented isolated problems with absentee ballot cancelations involved

superintendents who were initially certified long before the materials with

incorrect information. Tr. 3535:17–3537:11. For example, the county election

supervisors for Fulton, DeKalb, and Muscogee—where Deborah Allen, Aaron

Karp, and Margaret Whatley voted, respectively—were certified before the 2020

elections and had no reason to see the erroneous materials. Tr. 3535:17–3537:11.

      With the exception of Cobb County, the State demonstrated that none of

the county election superintendents in the counties where an incident with

absentee ballot training occurred would have seen the erroneous certification


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materials before the 2020 election. Tr. 3535:17–3537:11. Although the Cobb

County election supervisor was trained on the outdated election certification

materials, there was no testimony regarding the effect that those certification

materials had on training poll workers on absentee ballot cancelation. Plaintiffs

did not introduce testimony from anyone who worked on the 2020 election in

Cobb County regarding the training that was given on absentee ballot

cancelations. Accordingly, there is not sufficient evidence to state that any

difficulty that a voter faced in canceling their absentee ballot was proximately

caused by the incorrect certification materials. In other words, there was no

connection between the materials and an actual voter issue.

      Second, there was no testimony at trial that any poll worker actually

received improper training in 2020 due to the content of the certification materials.

Plaintiffs presented evidence that Defendants’ poll workers’ manual was not

immediately updated after the passage of HB 316. Tr. 2131:9–28. While this Court

acknowledges that the Secretary of State’s 2020 poll worker manual contained an

error, there was no testimony or other evidence that the manual was actually

used in any of the counties where a voter experienced an issue with absentee

ballot cancelation. See Tr. 3538:8–14.


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      Finally, there is testimony that the Secretary of State’s Office provided

alternate forms of training on absentee ballots. Training efforts in 2020, after the

changes to HB 316, were significant both in terms of frequency and quantity of

topics to discuss.

      The Court finds that there is not sufficient record evidence to establish that

the incorrect training materials proximately caused any injury to a voter.

                     c)    Applicability of Anderson-Burdick

      As an initial note, the Court is not persuaded that an Anderson-Burdick

violation has occurred with respect to absentee-ballot cancelations. At summary

judgment, the Court examined whether Plaintiffs’ training claims should be

analyzed under Anderson-Burdick or 42 U.S.C. § 1983. Doc. No. [617], 18–23. The

Court ultimately concluded that Anderson-Burdick is the proper vehicle for

analyzing Plaintiffs’ training claims because “where, as here, the plaintiff’s claims

are constitutional challenges alleging a generalized burden on the right to vote,

Anderson-Burdick squarely applies.” Id. at 22. The Court maintains that

Anderson-Burdick is the proper mechanism for evaluating a plaintiff’s

constitutional challenge to generalized burdens on the right to vote, including

when those burdens are caused by the Secretary of State’s failure to train county


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election officials. However, the Court finds that Anderson-Burdick does not

apply when the challenged practice is not the Secretary of State’s failure to

properly train the counties on a state law, statute, or policy, but rather that the

Secretary of State made a mistake in election administration.

      Anderson-Burdick applies when a party challenges a state’s law, statute,

rule, or policy, not a mistake in election administration. “[A] court must identify

and evaluate the interests put forward by the State as justifications for the burden

imposed by its rule, and then make the ‘hard judgment’ that our adversary

system demands.” Crawford, 553 U.S. at 190; see also Burdick, 504 U.S. at 433

(applying balancing test to “voting regulations”); Anderson, 460 U.S. at 782–83,

(challenging an Ohio statute requiring an Independent Presidential candidate to

file a statement of candidacy). The Eleventh Circuit in Jacobson opined that

Anderson-Burdick applies “[when] the statute burden[s] voting or associational

rights even slightly, [in which case] we could apply legal standards to determine

whether the burden was unconstitutional . . . . But [when] the statute does not

burden the right to vote, we cannot engage in that kind of review.” Jacobson, 974

F.3d at 1262.




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      Anderson, Burdick, and their progeny do not apply to accidental mistakes

on the part of election officials during the administration of elections. “Unlike

systematic discriminatory laws, isolated events that adversely affect individuals

are not presumed to be a violation of the equal protection clause.” Gamza v.

Aguirre, 619 F.2d 449, 453 (5th Cir. 1980). 54 “If every state election irregularity

were considered a federal constitutional deprivation, federal courts would

adjudicate every state election dispute . . . . [But] Section 1983 . . . did not

authorize federal courts to be state election monitors.” Id. at 453–454.

      Here, Plaintiffs argued that Defendants’ absentee-ballot cancelation

training materials violated the First and Fourteenth Amendments because they

contained incorrect information that burdened some voters’ right to vote.

Tr. 4400:23–4401:14. Mr. Harvey testified that following the passage of HB 316,

Plaintiff provided evidence that the Secretary of State’s Office did not

immediately update the election certification materials or the poll workers’

manual to reflect the changes to the cancelations of absentee ballots. Tr. 2118:13–




54 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit
handed down prior to October 1, 1981.
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2119:11. This means that a county election superintendent appointed to the

position between April 2019 and the January 2021 runoff may have been certified

on incorrect materials. Tr. 3538:15–3540:2. Additionally, there was testimony that

the poll worker manual developed by the Secretary of State was not updated to

show the changes in absentee ballot cancelation procedures for the 2019 and 2020

elections. Tr. 2131:9–28. The poll workers’ manual has since been updated with

the correct information. Tr. 2131:9–28.

      Plaintiffs’ challenge to Defendants’ training on absentee ballot cancelations

is one of an election irregularity and thus does not violate the First and

Fourteenth Amendments. “To hold otherwise would effectively transform any

inadvertent error in the administration of state and local elections into a federal

equal protection violation.” Lecky v. Va. State Bd. of Elections, 285 F. Supp. 3d

908, 919 (E.D. Va. 2018). What Plaintiffs are challenging is Defendants’ failure to

adequately enforce a Georgia statute, not the constitutionality of the statute

itself. 55 Plaintiffs also do not assert that the absentee training materials that

contained incorrect information exemplified a policy of the Secretary of State.



55The Court has been unable to find a Supreme Court or Eleventh Circuit case where
Anderson-Burdick was applied to incorrect training materials. See Anderson, 460 U.S.

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      Therefore, the Secretary of State’s failure to update the poll workers’

manual and change the election certification materials were mistakes in election

administration, not the implementation of a state statute, regulation, or policy.

Accordingly, the Court finds that Anderson-Burdick is not applicable.

                      d)      Anderson-Burdick framework

                           (1) Burdens

      Although Anderson-Burdick is not applicable to Plaintiffs’ absentee ballot

cancelation claim, out of an abundance of caution, the Court will conduct an




780 (challenge to Ohio statute regarding independent candidates); Burdick, 504 U.S. 428
(challenge to Hawaii’s law prohibiting write-in candidates); Crawford, 553 US at 181
(challenge to Indiana’s voter ID law); Clingman v. Beaver, 544 US 581 (2005) (challenge
to Oklahoma’s law that had invite-only primary system); Timmons, 520 US at 351
(challenge to Minnesota’s law prohibiting candidates from appearing on more than one
party’s ballot); Norman, 502 U.S. at 279 (challenge to Illinois’s signature requirement
law); Libertarian Party of Ala. v. Merrill, No. 20-13356, 2021 WL 5407456 (11th Cir. Nov.
19, 2021) (challenge to Alabama law regarding party access to voter list); New Ga.
Project v. Raffensperger, 976 F.3d 1278 (11th Cir. 2020) (challenge to Georgia’s law
requiring absentee ballots to be received by election day); Cowen v. Ga. Sec’y of State,
960 F.3d 1339 (11th Cir. 2020) (challenge to Georgia’s law regarding ballot-access);
Independent Party of Fla. v. Sec’y of State 967 F.3d 1277 (11th Cir. 2020) (challenge to
Florida’s law regarding signature requirements for ballot-access); Lee, 915 F.3d at 1312
(challenge to Florida’s signature matching law); Common Cause/Ga., 554 F.3d at 1340
(challenge to Georgia’s voter ID law); Green v. Mortham, 155 F.3d 1332 (11th Cir. 1998)
(challenge to Florida’s law imposing qualifying fees on candidates); Fulani v. Krivanek,
973 F.2d 1539 (11th Cir. 1992) (challenge to Florida’s signature verification law).
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Anderson-Burdick analysis. 56 Assuming arguendo that the Anderson-Burdick

framework does apply to the absentee-ballot cancelation claim, the Court finds

that the burden on voters outweighs Defendants’ justifications. The Court begins

its analysis by identifying the burden of the absentee ballot cancelation training

on the right to vote.

       Plaintiffs provided testimony from seven voters who experienced

difficulty with in-person absentee ballot cancelations during the 2020 election

cycle. 57 Despite the difficulty, all but one of the voters was able to cast a vote in



56 Although the Court finds that Plaintiffs’ Training: Absentee-Ballot Cancelation claim
fails as a matter of law, the Court will out of an abundance of caution engage in the
Anderson-Burdick analysis. See Jacobson, 947 F.3d at 1262 (“If the statute burdened
voting or associational rights even slightly, we could apply legal standards to determine
whether the burden was unconstitutional. Under Anderson and Burdick, we would
weigh the burden imposed by the law against the state interests justifying that
burden.”); New Ga. Project, 976 F.3d at 1282 (reversing the district court in part because
“the district court also erred in accepting the plaintiffs’ novel procedural due process
argument. The standard is clear: ‘[W]e must evaluate laws that burden voting rights
using the approach of Anderson and Burdick.’”).
57 Plaintiffs also submitted voter complaints that were received by the Secretary of State
to show that the Secretary of State was on notice that counties were not correctly
canceling absentee ballots at the polls. See PX. 1929, 1931 (two Clarke County voters
were able to vote by casting an absentee ballot in the June 2020 primary after attempting
to cancel their ballots and vote in person); PX. 1932 (Coweta County voter that was told
she could not vote in person because she received an absentee ballot); PX. 1950 (Fulton
County voter instructed to destroy her absentee ballot in front of the poll worker before
being permitted to vote in-person); PX. 1935 (Coweta County voter instructed to destroy
her absentee ballot in front of the poll worker before being permitted to vote in-person).
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the election. Mildred Russell of Webster County was able to cast her vote after

the initial election was nullified. PX. 1589; PX. 1149, at 3; PX. 1131. Aaron Karp of

DeKalb County was ultimately able to vote provisionally in the June 2020

primary after signing an affidavit swearing that he did not also submit his

absentee ballot. Tr. 603:17–19, 612:15–613:1, 614:13–17. Deborah Allen, of Fulton

County, was able to vote provisionally in the June 2020 primary after waiting for

forty minutes. Tr. 626:18–627:25, 635:6–639:7. Margaret Whatley, of Muscogee

County, was able to place her absentee ballot in a dropbox in the November 2020

general election after waiting for an hour to try to cancel her ballot. PX. 2050 at

21:8–12, 23:11–24:4, 24:10–16, 27:18–28:2. Dayle Bennett of Fulton County was

able to vote in the September 2020 special election after having to return home,

retrieve her absentee ballot, and surrender the ballot at the polls. Tr. 2713:4–17,

2720:8–13. Patricia Andros of Cobb County was able to vote provisionally in the

June 2020 primary. Tr. 2694:12–17, 2695:22–24, 2696:5–24. Aria Aaron of Clayton

County was able to vote in person in the November 2020 general election after

signing an affidavit. PX. 2057 at 24:14–19, 30:14–23. 58



58Defendants objected to PX. 2057 at Tr. 29:17–31:8 on the grounds of speculation. Doc.
No. [760-1]. As to PX. 2057 at 30:14–23, this objection is overruled. Ms. Aaron’s

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      The only voter who was unable to vote was Saundra Brundage of DeKalb

County. Tr. 1237:22–24; 1238:23–25. Ms. Brundage testified that she requested an

absentee ballot for the first time in the 2018 general election Tr. 1239:16–1240:3.

Ms. Brundage never received her absentee ballot. Tr. 1240:7–8. She then went to

vote in person by taking the bus to her polling place from her senior living facility.

Tr. 1240:17–21; 1241:1–5. Ms. Brundage testified that a poll worker told her that

she had requested an absentee ballot and that the poll worker was not “ready to

let [Ms. Brundage] vote” but did not give a reason why. 59 Tr. 1240:21–25; 1241:8–

16; 1241:17–21. The poll worker did not suggest that she cast a provisional ballot

at that time but pointed out a man and said Ms. Brundage needed to talk to him.60

Tr. 1241:22–1242:5. Ms. Brundage waited while the individual walked up and

down the aisle talking on the telephone. Tr. 1242:6–14. Ms. Brundage stated that

she tried to wait for the man to finish but was never able to talk to him. Tr.

1242:23–1243:2. Unfortunately, Ms. Brundage had to leave the polling location




testimony is not speculative because she is testifying about her experience.
59This statement was not admitted for its truth but was admitted for the purpose of
showing course of conduct under FRE 803(3).
60This statement was not admitted for its truth but was admitted for the purpose of
showing course of conduct under FRE 803(3).
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before the man apparently finished his phone call because she had to catch the

bus that had taken her to the polling location. Tr. 1250:7–12. Ms. Brundage

testified that she was at the polling location for approximately fifteen minutes. Id.

      The Court finds that the burden of the Secretary of State’s incorrect training

materials on absentee-ballot cancelations was at most slight. The Supreme Court

in Crawford held that “[b]urdens of that sort arising from life’s vagaries, however,

are neither so serious nor so frequent as to raise any question about the

constitutionality.” Crawford, 553 U.S. at 197.

      With the exception of one voter, all of the witnesses were able to vote in

the election either in-person by regular ballot, by provisional ballot, or by

absentee ballot. These Plaintiffs may have experienced longer wait times;

however, this is a burden arising from life’s vagaries and does not amount to a

substantial burden. “[W]hile the Court understands that a long commute or wait

in line can be an inconvenience, courts have routinely rejected these factors as a

significant harm to a constitutional right.” Gwinnett Cty. NAACP v. Gwinnett

Cty. Bd. of Registration and Elections, 446 F. Supp. 3d 1111, 1124 (N.D. Ga. 2020);

see League of Women Voters of Fla., Inc. v. Detzner, 314 F. Supp. 3d 1205, 1216

(N.D Fla. 2018) (“[S]ome courts have characterized administrative burdens like


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waiting in line and commuting as not severe.”); Common Cause Indiana v.

Marion Cty. Election Bd., 311 F. Supp. 3d 949, 957–58 (S.D. Ind.), vacated and

remanded, 925 F.3d 928 (7th Cir. 2019) (discussing certain administrative

difficulties involved in early voting as “nonsevere, nonsubstantial, or slight

burden[s] on the general right to vote as a matter of law”); Jacksonville Coal. For

Voter Prot. v. Hood, 351 F. Supp. 2d 1326, 1335 (M.D. Fla. 2004) (“While it may

be true that having to drive to an early voting site and having to wait in line may

cause people to be inconvenienced, inconvenience does not result in a denial of

meaningful access to the political process.”). While the Court is sympathetic to

the inconveniences resulting from a long wait to vote, the Court finds that the

longer wait time was a slight burden.

      The Court finds that casting a provisional ballot does not create a severe

burden on the right to vote. In Crawford, the Supreme Court found that “the

right to cast a provisional ballot provides an adequate remedy for problems”

stemming from absentee ballots. Crawford, 553 U.S. at 197–98. Relying on

Crawford, other courts have found that casting a provisional ballot does not

burden the right to vote. See South Carolina v. U.S., 898 F. Supp. 2d 30, 41 (D.D.C.

2012) (“[C]asting a provisional ballot instead of a regular ballot does not burden


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the right to vote.”); N.C. State Conf. of the NAACP v. McCroy, 156 F. Supp. 3d

683, 701 (M.D.N.C. 2016) (finding that using a provisional ballot does not impose

a material burden on the right to vote). Accordingly, the Court finds that the

voters casting of a provisional ballot is, at most, a slight burden on voters.

      Plaintiffs have presented evidence of one voter who was unable to vote,

Ms. Brundage. While Ms. Brundage was unable to vote, her inability to cast her

ballot cannot fairly be attributed to Defendants. Ms. Brundage testified that her

senior care facility allotted her only fifteen minutes to vote, and she was unable

to cancel her absentee ballot during that time. While the denial of the franchise is

a severe burden, the evidence does not indicate that Defendants denied Ms.

Brundage the franchise or that her inability to vote was caused by inadequate

training on absentee ballot cancelations.

      Accordingly, the Court finds that the burden caused by the Secretary of

State’s incorrect training materials was slight, and does not exceed the ordinary

burdens of voting.

                              (2)   Justifications

      Next, the Court turns to the Secretary of State’s justification for the burden.

The Court finds that the Secretary of State’s only asserted justification for the


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burden was that it made a mistake in failing to update its training materials. Mr.

Harvey testified about the incorrect materials stating:

            I can say that as far when we train the counties in person,
            at conference and at webinars, we were using the new
            information. I think – and, again, it’s not an excuse, but
            as laws change and there are so many things that need to
            be updated, forms and procedures and PowerPoints, and
            trying to get the information out there, that we just – we
            just dropped the ball on that.

Tr. 2119:16–22. Mr. Harvey also testified,

            And I think when you asked about where I dropped the
            ball? I think it was because I was more focused on
            making sure that they got the newest information in their
            hands right now, because it was -- it was -- it was
            necessary. And then just didn’t connect the dots and
            close the loop on the back end. Again, I’m not trying to
            minimize it or excuse it, but the – it should have been
            done. There’s no question about it.

Tr. 2121:6–12.

      Plaintiffs’ expert, Mr. Kennedy, concedes that mistakes are common in

election administration.

            I think recognizing that you are dealing with a very
            human-driven process from the millions of voters that
            show up at -- to cast their ballot either in person or
            absentee, the thousands of poll workers, that you are
            going to have misfires, mistakes made both by voters and
            election officials.


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Tr. 2908:15–19.

                               (3)     Weighing the burdens

      The third and final step of the Anderson-Burdick balancing test requires

the Court to “weigh” the above “factors”—the character and magnitude of the

asserted injury to voter’s constitutional rights weighed against the state’s

justifications—“to determine if the Secretary of State violated the First and

Fourteenth Amendment.” Swanson v. Worley, 490 F.3d 894, 902–03 (11th Cir.

2007). When a state’s practice imposes only “reasonable, nondiscriminatory

restrictions” upon a plaintiff’s First and Fourteenth Amendment rights, a state’s

“important . . . interests   will    usually    be   enough   to   justify   reasonable,

nondiscriminatory restrictions.” Timmons, 520 U.S. at 358.

      The Court finds that when weighing the burdens caused by the incorrect

training materials against the State’s justification that this is an example of

mistakes in election administration, the Court finds that the burden outweighs

the justification. Although the burden to voters was slight, the State does not have

an important interest in producing incorrect training materials. Accordingly,

under the Anderson-Burdick framework, Plaintiffs have met their burden in




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establishing that the Secretary of State violated the First and Fourteenth

Amendments when training the counties on absentee-voting cancelations. 61

                     e)     Remedies

      Even if the Court were to find that Anderson-Burdick applied and that

Plaintiffs satisfied their burden in establishing a First and Fourteenth

Amendment violation, Plaintiffs have not proposed viable remedies. “The

absence of an available remedy is not only relevant at the remedial stage of the

litigation, but also precludes, under the totality of the circumstances inquiry, a

finding of liability.” Nipper v. Smith, 39 F.3d 1494, 1533 (11th Cir. 1994). Plaintiffs’

requested remedies include posting signs in the polling places explaining that

voters can cancel their absentee ballots, even if they did not bring them to the

polls (Tr. 3225:18–21); incorporating the procedure for in-person absentee ballot

cancelations into mandatory trainings (Tr. 3226:16–21); informing county officials

that poll workers need to be trained on absentee ballot cancelation (Tr. 3226:21–

24), issuing an Official Election Bulletin regarding absentee ballot cancelation




61  As the Court noted above, Plaintiffs have not met their burden for a First and
Fourteenth Amendment claim concerning absentee ballot cancelations because
Plaintiffs have not sufficiently established causation or that Anderson-Burdick applies
to errors in election administration.
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procedures (Tr. 3227:10–15); require county officials to certify that they have a

plan in place to train on absentee ballot cancelation procedures (Tr. 3227:16–18).

       These are the exact kinds of remedies that the Eleventh Circuit has

cautioned against. “Federal judges can have a lot of power—especially when

issuing injunctions. And sometimes, we may even have a good idea or two. But

the Constitution sets out our sphere of decisionmaking, and that sphere does not

extend to second-guessing and interfering with a State’s reasonable,

nondiscriminatory election rules.” New Ga. Project v. Raffensperger, 976 F.3d

1278, 1284 (11th Cir. 2020). In Coalition for Good Governance v. Raffensperger,

1:20-cv-1677-TCB, 2020 WL 2509092, at *4 (N.D. Ga. May 14, 2020), Chief Judge

Batten stated that ordering defendants to adopt “Plaintiffs’ laundry list of so-

called ‘Pandemic Voting Safety Measures’ would require the Court to

micromanage the State’s election process” and bore “little resemblance to the

type of relief plaintiffs typically seek in election cases.” 62 In Coalition for Good




62 In Coalition for Good Governance, the court ruled that the case itself was a non-
justiciable political question. In Coalition for Good Governance, the plaintiffs asked the
court to determine the number of COVID-19 procedures that were sufficient. Just as
with the question of fairness, see Rucho, 139 S. Ct. at 2494, Jacobson, 974 F.3d at 1262,
there are not justiciably manageable standards to determine how many COVID-19
procedures are enough. Coal. for Good Governance, 2020 WL 2509092, at *3. In the case

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Governance, the plaintiffs requested that the court require the State to implement

certain COVID-19 safety procedures, such as adjusting the number of voting

stations, expanding early voting, implementing curbside voting and temporary

mobile voting centers, streamlining voter check-in, offering state provided PPE,

and increasing physical distancing. Id. at *1.

       In the case sub judice, like in Coalition for Good Governance, Plaintiffs’

proposed remedies include sign placement in polling locations and mandating

the form of training the Secretary of State needs to give regarding absentee ballot

cancelation. The Court finds that requiring signs in polling places is like the

measures sought in Coalition for Good Governance, and thus are non-justiciable.

Also, the Court finds that requiring the form of training that the Secretary is

required to give is micromanaging the State’s election process, which likewise is

non-justiciable. Thus, even if the Court were to find that Anderson-Burdick

applies, the Court would find for Defendants because Plaintiffs have not shown

a viable remedy for addressing incorrect training on absentee ballot cancelations.



sub judice, Plaintiffs are not challenging whether a particular statute or practice is fair;
rather Plaintiffs ask the Court to decide whether a particular statute of practice unfairly
burdens a voter’s right to vote and whether the State has a sufficient justification for
said burden. Just as the challenged practices in Anderson, Burdick, and their progeny
are justiciable, these claims are justiciable. See supra Section II(A)(2)(c)(2).
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                                *     *         *   *

      In conclusion, the Court finds that Plaintiffs failed to meet their burden in

establishing First and Fourteenth Amended violation with respect to absentee

ballot cancelation training because (1) there is not sufficient evidence of causation,

(2) Anderson-Burdick does not apply to challenges to incorrect training materials,

and (3) no viable remedies are available to ameliorate any burden caused by the

incorrect training materials.

             3.     Issue: The Secretary of State’s Alleged Mismanagement of the
                    Voter Rolls

      “The second practice that [P]laintiffs challenge is the Secretary’s

affirmative mismanagement of Georgia statewide voter registration lists.

Mismanagement that creates barriers to getting and staying on the voter rol[l]s.”

Tr. 37:16–19. Specifically, Plaintiffs challenge “the Secretary of State’s over-

inclusive criteria for matching a person’s voter registration record to another

record, whether a death record, a felony record, a new registration record or just

another existing record elsewhere in the database.” Tr. 38:20–24. As discussed

above, the duplicate matching process is not traceable to Defendants.

Accordingly, the Court will only evaluate whether the vitals and felon matching

process violate the First and Fourteenth Amendments.

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                    a)     Vitals

                             (1)    Burdens

      With respect to vital records, the Court finds that Plaintiffs have failed to

produce sufficient evidence of the burdens on voters resulting from vital record

matches. Plaintiffs provided evidence of one voter who was incorrectly listed as

deceased, Deborah Hall. PX. 490, 3–4. Plaintiffs did not introduce evidence into

the record of whether Ms. Hall was ultimately allowed to vote. There is also no

evidence about the process that Ms. Hall went through to be reinstated onto the

voter rolls. Rather, the evidence suggests that the SEB was investigating Ms. Hall

for attempted voter fraud, not the county for incorrectly canceling her. Id. at 3.

The Court acknowledges that there may be some burden on a voter who has been

erroneously canceled as deceased; however, without more evidence, that burden

is pure conjecture. Accordingly, the Court finds that Plaintiffs have not provided

sufficient evidence of a burden on voters regarding the vital matches.

                             (2)    Justifications

      The Court finds that the State has an important state interest in removing

deceased electors from the voter rolls.

      First, the Court finds that the State has a legitimate interest in ensuring that

the voter roll does not contain deceased voters or duplicate voters. The State
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presented evidence that HAVA requires the Secretary of State to ensure that the

voter roll does not contain ineligible voters or deceased voters. Tr. 3712:6–

3714:16. HAVA requires that “the chief State election official, shall implement, in

a uniform and nondiscriminatory manner, a single, uniform, official, centralized,

interactive   computerized     statewide     voter   registration   list . . . [t]he   list

maintenance . . . shall be conducted in a manner that ensures that -- . . . (ii) only

voters who are not registered or who are not eligible to vote are removed from

the computerized list, and (iii) duplicate names are eliminated from the

computerized list.” 52 U.S.C. § 21083(a)(1)(A); (a)(2)(B)(ii)–(iii). HAVA states

“each State and jurisdiction shall be required to comply with the requirements of

[52 § 21083](a) on and after January 1, 2004.” 52 U.S.C. § 21083(d)(1)(A). Also,

“[t]he Attorney General may bring a civil action against any State or jurisdiction

in an appropriate United States District Court for such declaratory and injunctive

relief (including a temporary restraining order, a permanent or temporary

injunction, or other order) as may be necessary to carry out the uniform and

nondiscriminatory election technology and administration requirements under

sections 21081, 21082, and 21083 of this title.” 52 U.S.C. § 21111. Because the State

is subject to potential legal action by the Attorney General for failure to


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implement HAVA, the Court finds that State has an important interest in

complying with HAVA.

      Second, Defendants argue that there is an important state interest in

deterring fraud. Tr. 4482:18–24. “A State indisputably has a compelling interest

in preserving the integrity of its election process.” Purcell v. Gonzalez, 549 U.S.

1, 4 (2006) (internal quotation marks omitted). As the Supreme Court stated in

Crawford, “there is no question about the legitimacy or importance of the State’s

interest in counting only the votes of eligible voters.” 128 S. Ct. at 1619. Georgia

has an interest in preventing election fraud that “provides a sufficient

justification for carefully identifying all voters participating in the election

process.” Id. When the State provides an important state interest, the Court then

looks to “the extent to which those interests make it necessary to burden’ voting

rights.” Lee, 915 F.3d at 1322 (quoting Anderson, 460 U.S. at 789).

      Finally, Defendants have an important interest in preventing vote dilution

(Tr. 4483:17–24). As stated above, the State has a compelling state interest in

preventing voter fraud. The State also has an important state interest in

preventing vote dilution. See Reynolds v. Sims, 377 U.S. 533, 555 (1964) (“The

right to vote freely for the candidate of one’s choice is of the essence of a


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democratic society, and any restrictions on that right strike at the heart of

representative government. And the right of suffrage can be denied by a

debasement or dilution of the weight of a citizen’s vote just as effectively as by

wholly prohibiting the free exercise of the franchise.”).

                              (3)    Weighing the burdens

      The Court finds that the State’s justifications for vital matching outweigh

the burdens imposed by the vital matching process. Here, the Court found that

Plaintiffs did not present sufficient evidence to show that the vital matching

process imposes a severe burden on voters. See supra Section II(B)(2)(b)(3). In

fact, the evidence adduced at trial does not establish the magnitude, if any, of the

burden caused by the vital matching process. Accordingly, the burden imposed

by the vital matching process is slight.

      “Because the burden is ‘slight,’ . . . the State’s important regulatory

interests are generally sufficient to justify’ the restrictions.’” Black Voters Matter

Fund v. Raffensperger, 508 F.3d 1283, 1301 (N.D. Ga. 2020) (quoting Burdick, 504

U.S. at 439, 434). The Court finds that the State’s important regulatory interests

in complying with HAVA, preventing voter fraud, and preventing vote dilution

are sufficient to justify the slight burdens imposed by the vital matching process.


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                     b)     Felon Matching

                                (1)   Burdens

      The Court finds that the felon matching process severely burdens voters.

“Burdens are severe if they go beyond the merely inconvenient,” Crawford, 553

U.S. at 205 (Scalia, J., concurring), and Plaintiffs provided evidence that voters

who are misidentified as felons face additional burdens when exercising their

right to vote that exceed a simple inconvenience. For example, Plaintiffs

introduced detailed evidence of the burdens three voters who were incorrectly

listed as felons faced as they tried to remedy the felon matching mistake and

exercise their right to vote.

      On August 3, 2018, Chris Warren received a letter informing him that he

had been identified as having a felony conviction and that he could attend a

hearing on August 9, 2018, regarding his felony status. PX. 912. 63 The letter

contained information for Mr. Girtman, the person to contact regarding a conflict

with the hearing date. Id. During their conversation, Mr. Girtman agreed that

Mr. Warren was not a felon and that the person who was a convicted felon lived



63There was significant discussion on the admissibility of PX. 912. The Court ultimately
admitted PX. 912 as an adoptive admission. Tr. 1677:12–14. Accordingly, these exhibits
will be evaluated for their truth.
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100 miles away, had a different driver’s license number, and had a different

Social Security number. Id.; PX. 2019. Mr. Girtman told Mr. Warren he did not

need to do anything further and would be able to vote. PX. 912.

      When Mr. Warren went to his polling place to vote, however, he learned

that he had been removed from the voter rolls. Id. Mr. Warren was able to vote

by provisional ballot. PX. 900. On November 8, 2018, Mr. Warren went to the

voter registration office to “cure” his registration and provisional ballot. Id. While

at the voter registration office, Mr. Warren was instructed to provide his driver’s

license. Id. Mr. Warren reached out to the ACLU regarding his experience, and

the ACLU, in turn, emailed Mr. Germany about the situation. PX. 912; PX. 900.

Ultimately, Mr. Warren’s provisional ballot was counted. PX. 2019.

      Andre Smith also testified that he was erroneously labeled a felon. In

Mr. Smith’s case, he was initially canceled as a felon on December 12, 2018. DX.

390. Mr. Smith’s eNet records reflect that a letter was sent to Mr. Smith on

December 20, 2018, and the comment reads “FELON.” Id.

      Mr. Smith testified that in May of 2020, he called the Fulton County

registrar’s office numerous times, and upon speaking with the Fulton County

registrar, Mr. Smith was asked to provide his date of birth and Social Security


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number. Tr. 2434:21–2435:4; 2435:17–2436:15. Mr. Smith then testified that he was

instructed by the Fulton County registrar’s office to call the jail or prison where

he had been held after being arrested. Tr. 2438:10–14. Mr. Smith testified that he

did not know who to call because he had never been convicted of a felony.

Tr. 2438:12–16; Tr. 2433:16–24. Mr. Smith then contacted Fair Fight about being

listed as a felon. Tr. 2442:12–16. Mr. Smith testified that a representative at Fair

Fight called the Fulton County Registrar multiple times and was able to get

confirmation that Mr. Smith would be reinstated to the voter rolls. Tr. 2442:21–

2443:1. When Mr. Smith arrived at the polls on Election Day in June 2020, he

learned that his registration could not be verified. Tr. 2448:1–2. He was eventually

allowed to vote by provisional ballot. Tr. 2249:7–8.

      On July 16, 2020, Mr. Smith received a letter informing him that he was

flagged as a felon, and if this information proved incorrect, to request a hearing

from the Fulton County Voter Registration office. PX. 2088. Mr. Smith’s eNet

record shows that he was canceled again on August 25, 2020, and the status

reason was “FELON.” DX. 390. On August 25, 2020, Fulton County sent a letter

to Mr. Smith stating that he was reinstated and had been canceled based on an

incorrect match with a different Andre Smith. PX. 2089. When Mr. Smith checked


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his status on MVP immediately before testifying in this case, in April of 2022, his

MVP page indicated that he had once again been canceled because of a felony

conviction. PX. 2097.

      Elizabeth Bauer was flagged in eNet numerous times for being a felon. PX.

658. 64 Ms. Shea Hicks, the Gordon County Board of Elections Chairperson,

emailed Mr. Hallman on September 27, 2018, to inform him that a voter who had

been previously convicted of a misdemeanor “ke[pt] showing up on [her]

dashboard,” as a felon even though Ms. Hicks had rejected the voter as a felon

match in past. Id. Ms. Hicks confirmed that Ms. Bauer, the voter in question,

reappeared on the Secretary of State’s list of felons even though the county had

previously removed her as a false match. Id. Ms. Hicks told Mr. Hallman that she

was “100% sure” that Ms. Bauer was not a felon; Ms. Hicks had spoken with the

county’s probation office to confirm as much, and Ms. Bauer brought

documentary proof that she was not a felon to the county office herself. Id.

Despite the fact Ms. Bauer presented evidence that she was not a felon, that Ms.




64 At trial the Court took PX. 685 under advisement. Tr. 3104:16–3105:16. On September
22, 2022, the Court ruled that PX. 685 was admitted. The Court finds that the email
exchange between Mr. Hallman and Ms. Hicks is evidence of an adoptive admission.
Doc. No. [815].
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Hicks investigated and confirmed Ms. Bauer’s non-felon status, and that Ms.

Hicks marked Ms. Bauer as a false felon match in eNet, the Secretary of State

continued to list Ms. Bauer as a felon in the list of matches it sent to the country

as part of the felon match process.

       Other voters had similar experiences. See, e.g., PX. 89 at 1–2 (Dale Thomas

and Jean Duncan, mistakenly canceled as persons convicted of a felony in 2013);

PX. 2159 at 83–85 (transcript of SEB Case No. 2013-052 regarding these same

voters); 65 PX. 1715 (Douglas Miller of Stuart County, canceled as a felon match

with Robert Miller of Franklin County). 66 The Court infers that these voters did

not receive notice from the counties that they were being removed from the voter




65 Plaintiffs moved for the admission of PX. 2159. During the trial, the Court took the
exhibit under advisement. Tr. 4050:12–4054:21. The document is admissible as a credible
government record under FRE 803(8). The Court finds that this document is a public
record because it is the direct transcript from the SEB Meeting on August 21, 2019. Mr.
Harvey testified that SEB meetings are transcribed. Tr. 3656:15–17. Accordingly, the
Court finds that PX.2159 is admissible as a public record because it (1) sets out that it
the August 21, 2019 meeting of the SEB and (2) that the meeting were transcribed and
placed on the Secretary of State’s website. Finally, Defendants did not provide sufficient
evidence to show that the official transcription lacks trustworthiness.
66 PX. 1715 was taken under advisement by the Court. Tr. 3104:16–3105:2. Defendants
raised a Rule 401 objection to this document, see id. This document is relevant as an
example of a voter whose “record was cancelled in error” based on data from the
Department of Community Service and the Department of Community Supervision. PX.
1715 at 1.
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rolls as felons, and eventually went through a process of attempting to remove

the felon flag themselves.

      The Court finds that felon matching creates a severe burden on voters. The

felon matching process forces individual voters erroneously caught by the

Secretary’s matching criteria to navigate administrative obstacles that are

distinctly more burdensome than the obstacles that the Supreme Court and

Eleventh Circuit have examined. For example, felon match differs from photo ID

laws in several aspects. A voter erroneously listed as a felon will have to remedy

that mistake to remain on the voter rolls, whereas photo ID laws apply after the

voter is on the voter roll. Once a voter has been flagged as a felon, a voter must

do something—i.e. request a hearing or contact the counties or the Secretary of

State’s Office—in order to remain on the voter roll.

      Additionally, the photo ID laws examined in Crawford and Common

Cause/ Georgia only applied to in-person voting, whereas the felon matching

process touches on all methods of voting in Georgia. See Crawford, 553 U.S. 181

(evaluating a photo ID law that only applied to in-person voters in Indiana);

Common Cause/Georgia, 554 F.3d 1340 (evaluating a similar law in Georgia).

Furthermore, in Crawford and Common Cause/Georgia, the states were


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required under state law to issue a free photo ID to any legitimately registered

voter. In Georgia, for example, voters were entitled to a free photo ID if they

could provide proof that they were registered to vote and swore an oath that they

did not have another acceptable form of photo ID. Common Cause/Georgia, 554

F.3d at 1346. This process is far simpler and more navigable than the processes

some voters incorrectly identified as felons sub judice.

       Take, for example, the case of Mr. Smith. While he was ultimately able to

vote, Mr. Smith was erroneously listed as a felon; Mr. Smith made calls to the

Fulton County Board of Registrars to contest his designation as a felon; Mr. Smith,

who was never convicted of a felony, was instructed to contact the jail or prison

to retrieve paperwork indicating that he was no longer serving a sentence, Fulton

County later determined that Mr. Smith was not a felon and reinstated him to the

voter rolls; upon arriving at the polls, however, Mr. Smith learned that his

registration was canceled; Mr. Smith, then voted provisionally, and that

provisional ballot was counted; but, before testifying at this trial, he discovered

he was once again listed as a felon. Tr. 2431:12–13; 2432:11–22, 2435:3–7; 2436:7–

12; 2437:24–2438:2; 2442:12–2443:1; 2448:1–2; 2249:7–8; PX.2097.




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      The burdens that Mr. Smith faced are distinct and more severe than

obtaining a free photo ID prior to voting. Once a voter is issued a photo ID, the

voter presumably will not experience that burden again prior to the ID’s

expiration date. But under the felon match process, Mr. Smith had to address

administrative errors multiple times, even though he, at no time, was convicted

of a felony. The process a duly registered and qualified voter must go through to

correct being erroneously flagged as a felon is a far more involved, confusing,

and burdensome than going to a state agency with proof of voter registration and

swearing an oath.

      Consider also that being accused of being a convicted felon is not a

common occurrence and does not have an obvious response. There are other

contexts in which an individual may be asked to present a form of photo ID. For

example, “[b]efore an adult passenger can board an airplane for a commercial

flight in the United States, the passenger must present to a federal official an

identification   card   with   a   photograph   of   the   passenger.”   Common

Cause/Georgia, 554 F.3d at 1345. But it is not every day that a person is asked to

provide evidence that he or she is not a felon. Though the Court found Mr.

Harvey’s testimony credible and the county bears the burden of proof at a felon


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match hearing (Tr. 3828:6–12, 3842:12–18), none of the witnesses presented at trial

ever attended a hearing, and at least two voters, Mr. Smith, and Mr. Warren

stated that they were asked to provide proof that they were not felons when they

contacted the county board of registers. Mr. Smith was asked by Fulton County

to call the jail where he had been held to prove he had not been there serving a

felony sentence. Tr. 2438:10–14. Mr. Warren said he was informed that he “had

to either provide proof of [his] eligibility to remain a registered voter or attend a

hearing.” PX. 912. And the Court agrees with Mr. Warren that “[i]t’s hard to

provide documentation proving that something did not occur.” Id.

          Members of the Secretary of State’s Office also agree; when asked, “it’s not

easy to prove you’re not a felon?” Mr. Harvey responded, “[n]o. You’re trying to

prove a negative.” Tr. 3739:20–21. Asking an otherwise qualified and properly

registered voter to provide documentation proving that he or she is not a felon is

far more burdensome than asking a voter to provide the same kind of

documentation he or she must show every time she or she takes a commercial

flight.

          The burdens resulting from the felon match process also differ those

resulting from pre-determined absentee ballot deadlines during COVID. Voters


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incorrectly identified as a felon do not have “numerous avenues” available to

them to “mitigate the administrative burdens placed on them that are more than

just inconvenient in order to remedy the error. New Georgia Project, 976 F.3d at

1281. While voters concerned about absentee ballot deadlines during COVID

could have “return[ed] their ballots through the mail, hand-delivery, or a drop

box,” “participate[d] in early in-person voting,” or “vote in person on Election

Day,” there is nothing voters flagged as felons can do “differently” to avoid being

burdened by their false felon status. Id. The burden resulting from the felon

match process is not being caused by the voter’s own failure to take reasonable

steps to stop themselves from being burdened. See id. at 1282 (“Voters must

simply take reasonable steps and exert some effort to ensure that their ballots are

submitted on time, whether through absentee or in-person voting.”); Democratic

Nat’l Comm. v. Wisconsin State Legislature, --- U.S. ---, 141 S. Ct. 28, 33 (2020)

(Kavanaugh, J., concurring in the denial of application to vacate a stay) (“A

deadline is not unconstitutional merely because of voters’ ‘own failure to take

timely steps’ to ensure their franchise.”) (internal citations omitted). Unlike

absentee-ballot deadlines during COVID, being erroneously flagged as a felon is




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not something the voter has any agency over. There are no options available to

voters except to shoulder the burden.

       For the above reasons, the Court finds that voters are severely burdened

by the felon matching process; the procedural hurdles voters incorrectly flagged

as felons must jump through to remedy that error impose a severe burden on the

right to vote. 67

                                (2)    Justifications

       The Court finds that Defendants have both important and compelling

interests in removing felons from the voter rolls.

       First, the Court finds that the State has an important interest in keeping

felons from voting. Under O.C.G.A. § 21-2-216(b), “no person who has been

convicted of a felony involving moral turpitude may register, remain registered,

or vote except upon completion of the sentence.” “[A] State has a significant



67  The Court finds that his burden differs from the burdens resulting from list
maintenance/ use it or lose it. The Court awarded summary judgment to Defendants
on list maintenance/ use it or lose it because (1) all impacted voters either, made no
contact with the Secretary of State for five years, or the postal service database reflected
that the elector moved, (2) the voters could always re-register to vote, and (3) the
cancellations applied uniformly. Doc. No. [617], 52–55. With respect to felon matching,
there is sufficient evidence in the record to show that some of the impacted voters (1)
were not felons and (2) were cancelled despite numerous attempts to prove that they
were not felons prior to the election.
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interest in enforcing its own laws.” Cameron v. EMW Women’s Surgical Center,

P.S.C., --- U.S. ----, 142 S. Ct. 1002, 1011 n.4 (2020). The felon matching process

allows the Secretary of State to enforce the law that prohibits individuals from

registering to vote when they have been convicted of a felony and who are

currently serving their sentence. Accordingly, Defendants’ interest in upholding

Georgia’s ban on felon voting is important.

      Second, Defendants have a compelling interest in preventing voter fraud.

Defendants argue that the felon matching process deters fraud. Tr. 4482:18–24.

“A State indisputably has a compelling interest in preserving the integrity of its

election process.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (internal quotation

marks omitted). As the Supreme Court stated in Crawford, “there is no question

about the legitimacy or importance of the State’s interest in counting only the

votes of eligible voters.” 128 S. Ct. at 1619. Georgia has an interest in preventing

election fraud that “provides a sufficient justification for carefully identifying all

voters participating in the election process.” Id.

      Finally, Defendants have a compelling interest in preventing vote dilution.

Tr. 4483:17–24. “The right to vote freely for the candidate of one’s choice is of the

essence of a democratic society, and any restrictions on that right strike at the


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heart of representative government. And the right of suffrage can be denied by a

debasement or dilution of the weight of a citizen’s vote just as effectively as by

wholly prohibiting the free exercise of the franchise.” Reynolds v. Sims, 377 U.S.

533, 555 (1964). The felon matching process removes ineligible voters from the

voter rolls, thereby preventing the dilution of eligible voters. Accordingly, the

State has a compelling interest in preventing vote dilution.

      When the State provides an important state interest, the Court then looks

to “the extent to which those interests make it necessary to burden’ voting rights.”

Lee, 915 F.3d at 1322 (quoting Anderson, 460 U.S. at 789).

                             (3)    Weighing the burdens

      The Court finds that the Defendants’ justifications for using “loose

matches” do not outweigh the burdens on voters. As stated above, the Court

found that voters were severely burdened by the felon matching process.

Specifically, the procedural hoops qualified voters must jump through to correct

erroneous felon flags severely burdens the right to vote, especially given that

some voters, like Mr. Smith and Ms. Bauer, must prove they are not felons

multiple times. “[W]hen [a voter’s] rights are subject to ‘severe’ restrictions, the

regulation must be ‘narrowly drawn to advance a state interest of compelling


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importance.’” Burdick, 504 U.S. at 434. See also New Georgia Project, 976 F.3d at

1280 (“If a State’s rule imposes a severe burden on the right to vote, then the rule

may only survive if it is narrowly tailored and only if the State advances a

compelling government interest.”).

      The Court finds that the felon matching process is not narrowly drawn.

The Secretary of State identifies various criteria for determining whether a

registered voter is also a felon. PX. 800, 21. Those are: (1) last name, first name,

last four digits of Social Security number, and date of birth for voters in active,

inactive, pending, or reject status; (2) last name, first name, last four digits of

Social Security number, and date of birth for voters in canceled status; (3) last

name, last four digits of Social Security number, and date of birth; (4) first name,

last four digits of Social Security number, and date of birth; (5) last name, first

name, and date of birth; and (6) last name, date of birth, race, and gender. Id.

Plaintiffs challenge the use of the last set of criteria. Doc. No. [854], ¶¶ 730, 973.

      With respect to the final criteria, Mr. Hallman recommended removing this

set of criteria because it was “pretty loose.” PX.1151.




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PX.1151 (excerpted). The email shows that the Secretary of State contemplated

removing the criteria altogether. Id. In just one run of the felon match process in

August 2019, the last name, race, gender, and birth date criteria identified

roughly 25,000 matches of an approximate 50,000 total felon matches. Id.

      Additionally, trial testimony shows that the Secretary of State knew that

the final set of criteria—last name, date of birth, race, and gender—would likely

result in “a lot” of non-matches.

            Q:     That this criteria that the Secretary of State uses in
                   its eNet system to identify potential matches
                   against the felon list includes a criteria that you

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                    knew was pretty loose, right, and that would
                    produce matches that would be teed up for all the
                    counties that you are aware would likely -- would
                    likely include a lot of non-matches, right?

               A:   Correct.

Tr. 878:3–9.

      “Narrow tailoring requires the government to employ the least restrictive

alternative to further its interests.” In re Georgia Senate Bill 202, --- F.Supp.3d ---

, ---, 2022 WL 3573076, *15 (N.D. Ga.) (citing United States v. Playboy Ent. Grp.

Inc., 529 U.S. 803, 813 (2000)). Relying on the matching criteria examining only

last name, date of birth, race, and gender is not the least restrictive means

available to the government to further their interest in monitoring voters’ felon

status; the State already employs five less restrictive matching criteria to check

felon status. By a member of the Secretary’s Office’s own admission, the last

name, date of birth, race, and gender criterion could—and even should—be

removed from the felon matching process. PX. 1151. What’s more, there is direct

testimony from an individual who works in the Secretary of State’s Office that

shows that the felon matching criterion is not narrowly drawn, but is in fact,

“pretty loose.” Mr. Hallman’s testimony and the email to Mr. Rayburn illustrate



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that the Secretary of State’s Office knows that the felon matching process would

likely result in “a lot” of non-matches. Tr. 878:3–9.

        Because the loose match criteria catch “a lot” individuals who are not

felons during the match process and thereby increase the likelihood that voters

will be erroneously labeled as felons and suffer the resulting administrative

burdens, the final matching criteria are not narrowly tailored. 68 Tr. 878:3–9; PX.

1151.

        Although the Court finds that the State has a compelling interest in

restricting the list of electors to eligible voters and in preventing eligible voters’

votes from being diluted by non-eligible voters being permitted to participate in

the electoral process, the Court finds that the process by which voters are

determined to be felons is not narrowly drawn to address that interest.

Accordingly, the Court finds that the felon matching process violates the First

and Fourteenth Amendments.




68The Court acknowledges that provisional ballots are available to voters who are
canceled because they are falsely flagged as felons. However, because the Court has
determined that the burden on the voter results from the procedural hurdles voters
must clear in order to fix the felon match mistake, the Court does not find that fact
compelling when weighing the State’s interests against the burden to the right to vote.
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                             (4)   Causation

      Despite the Court’s holding that the felon matching process violates the

First and Fourteenth Amendment right to vote, the Court also finds that the

various burdens resulting from the felon matching process are caused by the

counties and not Defendant Secretary of State. “[S]ection 1983 requires proof of

an affirmative causal connection between the official’s acts or omissions and the

alleged constitutional deprivation.” Zatler v. Wainwright, 802 F.2d 397, 401 (11th

Cir. 1986). As stated supra Section II(B)(2)(b), Plaintiffs have the burden of

proving not only that felon matching is traceable to Defendants but also that

Defendants’ actions concerning felon matching caused the First and Fourteenth

Amendment violation under Anderson-Burdick. Plaintiffs have not carried their

burden of proof as to causation.

      The Court finds that the causal link between the burdens of felon matching

and Defendants is broken. Although O.C.G.A. § 21-2-231 requires the Secretary

of State to send the counties the list of electors who have been flagged as felons,

and the counties are then required to transmit a notice to all electors who appear




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on that list, in practice, that is not how the felon matching occurs. 69 Employees of

the Secretary of State testified, and the evidence shows, that eNet uses certain

matching criteria to match the list of electors against the list of felons; once there

is a match, eNet sends the counties a list of electors who are potentially felons;

the county is then tasked with determining whether an elector is, in fact, a felon;

and if the county determines either that an elector is a felon or that more

information is needed, the county sends a notice to the elector that he or she was

flagged as a felon. Tr. 899:10–12, 899:23–900:4; PX. 1878, at 30–31; PX. 800. Thus,

once the Secretary of State, by way of eNet, sends the counties the list of potential

electors who are felons, the counties take certain investigative steps to determine

whether an elector is a felon before sending the notice that he or she has been

flagged as a felon. Tr. 3570:7–11. These steps include, but are not limited to,

comparing the voter record information on one side of an eNet screen with the

felon record information on the other side of the screen. Id.; PX. 800 at 25.




69  The Court notes again that Plaintiffs concede that the question of whether the
Secretary’s decision to delegate discretionary decision-making about which people on
the list of felons are (or are not) on the list of registered voters complies with Georgia
law “is not at issue in this suit.” Doc. No. [854], ¶ 694. Plaintiffs state that “their challenge
to the felon matching process is not that it violates state law, but that it is carried out in
a way that burdens Georgia’s voters unconstitutionally.” Id.
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      The Court finds that the independent actions of the counties in

investigating whether an elector is a felon and then canceling the elector are

independent actions that break the causal chain to the Secretary of State. “The

causal relation does not exist when the continuum between Defendant[s’] action

and the ultimate harm is occupied by the conduct of deliberative autonomous

decision-makers.” Dixon v. Burke Cty., 303 F.3d 1271, 1275 (11th Cir. 2002). One

way to determine if the causal link is destroyed is whether the defendant

“exercised extraordinary influence over” the third party or whether the third

party exercised “individual freedom of rational choice.” Id. Here, the burdens a

voter faces in attempting to correct a false felon match are caused by the county’s

deliberative autonomous decisions, not the Secretary of State’s. Mr. Harvey

testified that the counties investigate and ultimately decide whether an elector is

a felon, not the Secretary of State. Tr. 3569:12–3570:10. The counties, not the

Secretary of State, actually cancel voters. And testimony from voters flagged as

felons at trial also showed that it is the counties, not the Secretary of State, that

required voters like Mr. Smith and Mr. Warren to produce evidence proving they

are not felons. Tr. 2438:10–14 (Mr. Smith testifying that a county official asked

him to contact the jail or prison where he had been detained to sort out his felon


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status); PX. 912 (Mr. Warren writing to the ACLU that the letter he received from

the county told him to “provide proof of [his] eligibility to remain a registered

voter”). Thus, the counties, not the Secretary of State, cause the voters’ burdens.

      Additionally, no witness testified that an error with the statewide voter

database is proximately caused by the Secretary of State’s criteria for felon

matching. Plaintiffs never presented a county election official or other witness to

substantiate Plaintiffs’ assertions that the issues experienced by voters were

caused by the Secretary of State’s selection of certain criteria or other

management efforts of the voter registration database.

      For example, with regard to Mr. Smith, Plaintiffs were unable to identify

or explain—through a county official, a voter, other testimony, or other

evidence—that any action or inaction caused the cancelation of Mr. Smith’s

record by the Secretary of State. Indeed, in one exhibit letter, Fulton County

admitted that it was responsible for the error and that the error occurred because

it had misidentified him with another voter who had the same “first name, last

name and date of birth.” PX. 2089.

      The evidence shows that in practice, the counties decide which voters to

send a notice to, the counties conduct the hearings, the counties determine which


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voters need to be removed from the voter rolls, and the counties remove the

felons from the voter roll. The voter is entirely unaware that the Secretary of State

flagged him or her as a potential felon until after the county takes the initial step

of determining whether the flagged elector is a “true match” for a felon. Tr.

3570:5–10; 1351:16–1352:11. Thus, the burdens caused by the felon matching

process are caused not by the Secretary of State but by the counties.

      The Court finds that Plaintiffs have not met their burden in proving a First

and Fourteenth Amendment violation because Plaintiffs have not proven that the

Secretary of State caused the burden on voters who are mislabeled and/or

canceled by the felon matching process. Although the Court is finding for

Defendants, the Court notes that it would be a better practice for the Secretary of

State to do away with the final matching criterion—last name, date of birth,

gender, and race. This statement is given as a recommendation and should not

be construed as a remedy. Accordingly, Plaintiffs have not proven causation;

therefore, Plaintiffs’ First and Fourteenth Amendment claims ultimately fail as to

the felon matching process.




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             4.     Issue: Exact Match

      Plaintiffs argue “this Secretary of State’s ‘exact match’ policy creates

unnecessary and discriminatory obstacles for eligible voters to get registered.”

Tr. 23:22–24. Plaintiffs challenged two different aspects of Exact Match. First,

Plaintiffs challenged MIDR status that resulted from discrepancies between a

voter’s registration form and DDS or the SSA records. Tr. 32:12–34:3. Plaintiffs

also challenged the Secretary of State’s Office’s citizenship matching process. Tr.

29:7–17. The Court will first evaluate whether MIDR is a constitutional violation

under Anderson-Burdick. The Court will then evaluate whether citizenship

matching violates Anderson-Burdick.

                      a)      Challenged Practice: MIDR

                           (1) Burdens

      Exact Match is the process by which the Secretary of State verifies a voter’s

registration. In Georgia, when an individual registers to vote, he or she is

required to provide a valid Georgia Driver’s License or Georgia ID Number.

PX. 6; O.C.G.A. § 21-2-220.1(a). When an applicant provides a Georgia driver’s

license number or state identification number, it is matched against his or her

information in the DDS database: driver’s license number, first twenty characters

of the last name, first initial of the first name, and date of birth. PX. 1753 at 1; Tr.
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1197:24–1198:23; Tr. 1936:1–24. For an applicant who did not provide his or her

Georgia driver’s license or state identification numbers but did provide the last

four digits of his or her Social Security number, the following information on his

or her voter registration application is matched against his or her information in

the SSA database: the last four digits of his or her Social Security number, first

twenty characters of the last name, first initial of the first name, and date of birth.

Id. An applicant who does not provide his or her Georgia driver’s license number,

state identification card number, or last four digits of their Social Security number

will not have his or her information matched against any database. Failure to

provide said information, however, does not prevent an applicant from being

registered to vote. Tr. 1943:6–25; 1946:2–1947:22.

      Since HB 316 was passed, a registrant who fails the verification process is

added to the active voter rolls and flagged as MIDR. O.C.G.A. § 21-2-220.1

(providing that in cases of an inexact match, “the applicant shall nevertheless be

registered to vote but shall be required to produce proof of his or her identity . . .

at or before the time that such applicant requests a ballot for the first time”).

When a registrant is placed into MIDR status, county officials send the voter a




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form letter drafted by the Secretary of State and generated through eNet, the

Secretary of State’s voter registration database. PX. 1900.

      An applicant may be placed in MIDR status due to typographical errors,

changes in the way people spell their names, and minor changes in characters

between the two databases. Tr. 408:17–409:6; PX. 1278, 6. A transposed letter or

number (Tr. 1956:14–1957:2), the presence of a hyphen (Tr. 1957:3–6), or the

presence of an apostrophe (Tr. 1957:7–12) can cause a match failure. See PX. 1182

(Secretary of State employee Kevin Rayburn acknowledging an applicant was in

MIDR because of a missing letter at the end of the applicant’s last name).

Therefore, if an “applicant’s last name is hyphenated on the voter registration

application but not on the applicant’s driver’s license,” he or she could fail

verification. Tr. 1957:3–6. For paper applications, the Exact Match MIDR process

can occur only after county election personnel type the information into eNet. Tr.

1950:7–22. The Secretary of State’s Office has admitted that failures to verify

“could be caused by erratic handwriting on a voter registration application or by

a clerk committing a typing error when entering information.” PX. 1119; Tr.

1957:15–1958:8.




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      At trial, Plaintiffs did not present any testimonial evidence of burdens that

individual voters experienced regarding being placed in MIDR status. Dr. Carlos

del Rio did testify about a difficult experience he had at the polls during the

November 2018 election, which was presumably caused by discrepancies in the

spelling of his last name on the voter rolls and on his driver’s license. Tr. 473:8–

475:19. However, Dr. del Rio’s experience was not based on MIDR because it

occurred prior to the passage of HB 316. 70 Accordingly, the burdens that Dr. del

Rio faced are not attributable to MIDR.

      Plaintiffs did provide expert testimony from Dr. Mayer that an MIDR flag

at the polls could result in a burden to voters. Dr. Mayer was qualified as an

expert on election management as it relates to statistical analysis. Tr. 342:25–343:2.

Dr. Mayer testified that “it is certainly plausible, if not likely, that the simple fact

that there is an MIDR flag, there is something in the voter’s registration record

that is different than most registrants, that it could easily trigger a poll worker

into thinking that they have to subject or should subject or must subject this




70 HB 316 was enacted on April 2, 2019 (Doc. No. [68]), and Dr. del Rio’s experience
occurred in November of 2018. Tr. 473:8–475:19. The placement of registrants in Active-
MIDR status represents a change pursuant to HB 316. Tr. 3576:24–3577:17.
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registrant to a higher level of scrutiny than they do other voters.” Tr. 403:18–24.

Dr. Mayer also testified that the letter that informs voters of their MIDR status

carries the impression that the voter is not registered to vote, the letter does not

clearly tell a voter what form of identification is needed to clear the MIDR status.

Tr. 401:15–403:3. On cross-examination Dr. Mayer conceded that he did not

conduct any research in Georgia after the passage of HB 316 to determine if any

voters were in fact confused about MIDR status. Tr. 458:11–14.

      Without any direct testimony from a voter who experienced being in

MIDR status or testimony from a poll worker about how they treat individuals

in MIDR status, the Court finds that the burden on voters is relatively low. Here,

Plaintiffs have not provided direct evidence of a voter who was unable to vote,

experienced longer wait times, was confused about voter registration status by

being in MIDR status, or experienced heightened scrutiny at the polls due to

MIDR status. Also, there is no testimony about how a voter is treated by a poll

worker because of the MIDR flag.

      Dr. Mayer’s testimony at best states that there is a statistical probability

that individuals in MIDR status face these burdens. However, Dr. Mayer’s

testimony is based upon nationwide statistics and are not specific to Georgia’s


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voting systems. Thus, if a burden does exist, it is minimal. Because the burden is

minimal, it “may be warranted by ‘the State’s important regulatory interests.’”

Common Cause, 554 F.3d at 1352.

                            (2)    Justifications

      Defendants advanced two justifications for MIDR. First, Defendants

argued that MIDR is important to ensuring that voters are able to vote using the

additional forms of identification under HAVA for first-time voters. Under

Georgia law, voters, except for first-time voters who registered by mail, must

provide a photo ID in order to vote. O.C.G.A. § 21-2-417(a). The Eleventh Circuit

has already held that Georgia’s voter ID law is constitutional. Common Cause,

554 F.3d at 1355. Pursuant to HAVA, first-time voters who registered by mail

may prove their residency by providing valid photo identification or an official

copy of a current utility bill, bank statement, government check, paycheck, or

other government document that shows the name and address of the voter.

52 U.S.C. § 21083(b)(2). Defendants asserted that MIDR status informs poll

workers of who can present any of the HAVA-approved forms of identification

and are not limited to showing a photo ID. Tr. 4145:15–18. Mr. Germany testified

that MIDR status alerts poll workers that “this person has to comply with HAVA.


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And the way they do so, they can provide one of those IDs, either the photo ID

or the kind of broader set of non-photo ID allowed under HAVA.” Tr. 4145:15–

18.

      As stated above, the Court finds that complying with HAVA is an

important state interest. See supra Section II(B)(2)(b)(2).

      Second, Defendants introduced testimony that MIDR prevents fraud. As

stated above, the State has a compelling interest in preventing voter fraud. See

supra Section II(B)(2)(b)(2). Mr. Harvey testified, “MIDR is, my understanding of

it is, because you didn’t verify. You have to show something that shows you’re

the actual person. And that’s the – I guess protection from registering a bunch of

alias people and then just showing up and saying, Oh, yeah, I’m John Smith, or

I’m Chris Harvey. And by showing the I.D., you’re verifying that, okay, for

whatever reason they couldn’t match it, you’re still a bona fide person.” Tr.

3604:11–19. Thus, Defendants have demonstrated that the State’s compelling

interest in preventing voter fraud is tied to the challenged practice.

                              (3)   Weighing the burdens

      The Court finds that the State’s justifications outweigh any potential

burdens on voters. First, without an actual showing that a voter was in fact


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burdened by his or her status on MIDR, the Court finds that the burden on voters

by being in MIDR status is minimal. Because MIDR imposes only a “reasonable,

nondiscriminatory restriction” upon the First and Fourteenth Amendment rights

of voters, “the State’s important regulatory interests are . . . sufficient to justify”

the restrictions. Burdick, 540 U.S. at 434.

      The Court finds that Defendants have provided one important interest and

one compelling interest that justify MIDR. First, Defendants have provided

testimony that MIDR status is necessary because it prevents voter fraud.

“[D]eterring voter fraud is a legitimate policy on which to enact an election law,

even in the absence of any record evidence of voter fraud.” Greater Birmingham

Ministries, 992 F.3d at 1334. Thus, the Court finds that the State’s interest in

deterring voter fraud outweighs the burden caused by MIDR.

      Additionally, compliance with HAVA is an important state interest. If a

State fails to comply with HAVA, “[t]he Attorney General may bring a civil action

against [the] State or jurisdiction in an appropriate United States District Court

for such declaratory and injunctive relief . . . to carry out the uniform and

nondiscriminatory election technology and administration requirements under

sections 21081, 21082, and 21083 of this title.” 52 U.S.C. § 21111. Accordingly, the


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State has an important State interest in complying with HAVA and avoiding suit

by the Attorney General.

      The Court finds that Plaintiffs have failed to prove that the burdens

imposed by MIDR outweigh the State’s interests in preventing fraud and

complying with HAVA. Accordingly, MIDR does not violate the First and

Fourteenth Amendments.

                     b)      Challenged practice: Exact Match Citizenship

                          (1) Burdens

      The Court finds that the burdens imposed by Exact Match Citizenship are

limited. Each voter in Georgia must demonstrate citizenship at the time of

registration. Tr. 3585:12–21. When a registrant provides his or her driver’s license

information as a part of the registration process, the data will be processed

through DDS’s database. Tr. 359:19–23. If the registrant is flagged as needing to

provide evidence of citizenship, the registrant is placed in pending status. Tr.

364:5–23. If the registrant can submit proof of citizenship to an election official,

the election official is supposed to override the DDS flag and put the registrant

into active status. Tr. 386:13–19.

      To prove his or her citizenship, a registrant may provide an acceptable

form of photo identification, including (1) a Georgia driver’s license, (2) a valid
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state or federal government-issued photo ID, (3) a valid U.S. passport, (4) a valid

employee photo identification issued by either the federal government, the state,

county, or other entity of this state, (5) a valid United States military photo

identification card, or (6) a valid tribal identification card. PX. 1231. The registrant

must also provide proof of citizenship by using one of fifteen acceptable

documents; examples include (1) a birth certificate issued by the U.S., (2) a U.S.

Passport, (3) a certificate of citizenship, or (4) a naturalization certificate. Id. If a

registrant cannot provide sufficient proof of citizenship before an election day or

at the polls, the registrant can vote provisionally and verify his or her citizenship

afterward. Tr. 1724:22; 1735:1–2.

      Plaintiffs provided evidence of three voters who did not vote due to the

citizenship matching process and two voters who faced hurdles when voting.

Two registrants testified that they did not vote because they chose not to. Ms.

Hamalanian testified that she had her citizenship verification paperwork readily

available. PX. 2048, Tr. 18:20–25. Still, she did not submit it to the county election

official because she felt “disappointed and a little bit angry with the case.” Id. Of

the other witnesses, the testimony shows that they were ultimately able to vote.




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      As was the case in Crawford, the record is virtually silent on the difficulty

a naturalized citizen will face in obtaining proof of citizenship documents. In

Crawford, the Supreme Court was unable to find that Indiana’s photo ID laws

severely burdened elderly voters because the affected voters “have not indicated

how difficult it would be for them to obtain a birth certificate.” Crawford, 553

U.S. at 201. In the case sub judice, Ms. Hamalanian testified that her citizenship

documentation was readily available to her, and she had access to the means to

submit said information to the appropriate election officials. PX. 2048, Tr. 30:12–

25. Ms. Hamalanian testified that she did not send the information because she

was disappointed by an election official’s statement that even if Ms. Hamalanian

faxed her information that day, “it would have been too late to vote in that year’s

election.” PX. 18:15–19. Dr. Ansa testified that he did not attempt to vote in the

2016 election because he “didn’t have that kind of luxury of time” to provide the

citizenship verification documents before Election Day. PX. 2096, Tr. 21:21–22:3.

      Finally, concerning Ms. Ozgunes, the Court finds that her inability to vote

was caused by a county’s failure to provide her with a provisional ballot. Ms.

Ozgunes was asked to verify her citizenship in multiple elections, and after

giving said proof, she continued to be identified as a noncitizen in the voter


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registration database. PX. 89, 1–2. 71 However, the Court already awarded

judgment to Defendants on the issue of failure to train counties on provisional

ballots. “Plaintiffs have not shown” that a county’s failure to provide an absentee

ballot is “factually traceable to Defendants’ training.” Doc. No. [617], 41. While it

is regrettable that Ms. Ozgunes was denied the right to vote, it cannot reasonably

be said that her inability to vote was traceable to Defendants. Further, Mr. Harvey

testified that in 2019, the Secretary of State updated eNet to override DDS’s

attempts to flag a registrant as a noncitizen if a voter application is received with

a naturalization form or provides some other form of proof of citizenship. Tr.

3590:6–3591:5.

      The remaining voters were all able to vote. Dr. Kefeli verified his

citizenship by sending an email (PX. 2049, Tr. 33:20–23), and Ms. Tran provided

her naturalization documents to a poll worker (Tr. 316:913).

      The Court agrees with Plaintiffs that naturalized citizens face more

significant burdens than native-born citizens when registering to vote.

Naturalized citizens must provide additional forms of proof of citizenship, a




71  Although PX. 89 was initially taken under advisement, it was eventually admitted in
its entirety. Tr. 2271:11.
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hurdle that most voters do not face. See Tr. 2036:9–23 (explaining that the DDS

citizenship flags result from newly naturalized citizens with limited-term

licenses; however, native-born citizens should never be issued limited-term

licenses). Thus, the Court finds that the Exact Match citizenship verification

process imposes a special burden on naturalized citizens.

      Just as in Crawford, the Court recognizes that naturalized citizens face a

special burden; however, the Court “cannot conclude that the statute imposes

‘excessively burdensome requirements’ on any class of voters.” Crawford, 553

U.S. at 203. The Court finds that Plaintiffs have not shown that the Exact Match

Citizenship verification process severely burdens voters. In Crawford, the

Supreme Court held that even if a law “imposed a special burden” on a “limited

number of persons[’] . . . right to vote[,] . . . [t]he severity of that burden is, of

course mitigated by the fact that, if eligible, voters . . . may cast provisional

ballots that will ultimately be counted.” Crawford, 553 U.S. at 199.

      Mr. Germany testified that registrants flagged as noncitizens are provided

with notice of their pending status and informed of the documents they need to

show that they are citizens. Tr. 1724:22; 1735:1–2. At a minimum, the registrants

are supposed to be issued a provisional ballot. Id. The testimony also shows that


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in 2019, the Secretary of State updated eNet to avoid registrants consistently

being flagged as noncitizens. Tr. 3590:6–3591:5. Finally, the record shows that all

of the voters who provided citizenship verification documents were able to vote.

Thus, “consider[ing] the statute’s broad application to all [Georgia] voters[,] [the

Court] conclude[s] that it ‘imposes only a limited burden on voters’ rights.’”

Crawford, 553 U.S. at 202–03 (citation omitted).

                             (2)    Justifications

      Defendants argued that the State has compelling state interest. Under

Georgia law, noncitizens are not allowed to vote in elections for public office. Ga.

Const. Art. 2, § 1, ¶ II; O.C.G.A. § 21-2-216(a)(2). Federal law also prohibits

noncitizens from voting. See Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1344 (11th

Cir. 2014) (“The National Voter Registration Act (NVRA) is premised on the

assumption that citizenship is one of the requirements for eligibility to vote. See,

e.g., [52 U.S.C. §§ 20504, 20506, 20508] (requiring certain voter registration forms

to state or specify ‘each eligibility requirement (including citizenship) . . . .”).

Plaintiffs conceded that they were not challenging this policy and agreed that

pursuing this goal was a legitimate state interest. Tr. 4330:7–10 (“We are not

asking that noncitizens be allowed to vote. I know this Court knows that. We


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have only ever agreed that Georgia has a legitimate interest in preventing

noncitizens from voting.”).

      Defendants also asserted a compelling state interest in ensuring

compliance with HAVA and limiting voter fraud. The Supreme Court has noted

that preventing voter fraud is a compelling state interest. “There is no denying

the abstract importance, the compelling nature, of combating voter fraud. See

Purcell, 549 U.S. at 4 (acknowledging “the State’s compelling interest in

preventing voter fraud”); cf. Eu v. San Francisco Cty. Democratic Cent. Comm.,

489 U.S. 214, 231 (1989) (“A State indisputably has a compelling interest in

preserving the integrity of its election process.”); Crawford, 553 U.S. at 225

(Souter, J., dissenting).

                              (3)   Weighing burdens

      The Court finds that Defendants’ important justifications for preventing

voter fraud and complying with HAVA outweigh the limited burden caused by

the citizenship matching process. “[W]hen a state election law provision imposes

only ‘reasonable nondiscriminatory restrictions’ upon the First and Fourteenth

Amendment right of voters, ‘the State’s important regulatory interests are

generally sufficient to justify’ the restrictions.” Burdick, 504 U.S. at 434. “When


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evaluating a neutral, nondiscriminatory regulation of voting procedure, [the

Court] ‘must keep in mind that [a] ruling of unconstitutionality frustrates the

intent of the elected representatives of the people.’” Crawford, 553 U.S. at 203

(quoting Ayotte v. Planned Parenthood of N. New Eng., 546 U.S. 320, 329 (2006)).

The Court found that the citizenship matching process creates a limited burden

on voters. Therefore, the Court must determine whether Defendants provided

important regulatory interests to justify the law.

       The Court finds that Defendants have shown that compliance with HAVA

is an important state interest. As stated above, if a State fails to comply with

HAVA, the Attorney General may bring a civil action against the State. 52 U.S.C.

§ 21111. Thus, Defendants have an important interest in complying with HAVA.

       Also, Defendants have a compelling interest in preventing voter fraud.

“[D]eterring voter fraud is a legitimate policy on which to enact an election law,

even in the absence of any record evidence of voter fraud.” Greater Birmingham

Ministries, 992 F.3d at 1334. Even though the evidence adduced at trial shows

that relatively few noncitizens attempt to vote, 72 Defendants were not required



72 “[T]he empirical evidence makes clear that fraud committed by voters either in
registering to vote or at the polls on Election Day is exceedingly rare . . . both nationally

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to show instances of voter fraud to justify these election laws. Id. Accordingly,

the Court finds that Defendants have a compelling interest in preventing voter

fraud.

         The Court finds that the limited burdens placed on voters by Exact Match

citizen verification are justified by the State’s compelling interest in fraud and

important interest in complying with HAVA. Accordingly, the Court finds that

Plaintiffs have not satisfied their burden in proving that Exact Match citizenship

verification violates the First and Fourteenth Amendments.

                              (4)    Remedies

         Even if the Court were to find for Plaintiffs, the Court finds that it is

prudent to abstain from awarding Plaintiffs’ proposed remedy. Plaintiffs asked

the Court to order the Secretary of State to implement the SAVE verification

process (Tr. 3193:6–20) and maintain records of the citizenship verification

conducted by SAVE (Tr. 3195:2–4). However, Mr. Germany testified that the

Secretary of State is in the process of implementing SAVE. Tr. 1709:20–1711:20.




and in Georgia.” Tr. 2346:3–6. Additionally, Mr. Harvey testified that voter fraud “was
not a -- not a significant problem that [he is] aware of.” Tr. 2041:10–16.
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      Defendants argued that the Secretary of State’s implementation of SAVE

meant that there was no injury to Plaintiffs. See Tr. 4459:20–22 (“If we are using

SAVE, the injury is not there. Because that’s what[] they are saying they want as

a remedy.”) Also, Defendants argue that SAVE is not an appropriate remedy

because “[t]he testimony is that we want to continue doing this[,] [t]here is

already a statute that says to do that[,] [t]here is a regulation that says to do that[,]

[t]here is no indication that that’s going to change.” 73 Tr. 4460:1–4. The Court

agrees that ordering the implementation of SAVE is not an appropriate remedy.

      As an initial note, the Defendants’ planned implementation of SAVE does

not moot the issue, and the Court recognizes that absent a judicial order, things

may change. But, SAVE is not dispositive of the Court’s decision, and the Court

has no doubt that if the State changes its policy, this Court or another will hear

about it, and the issue can be addressed on another day.

      First, Georgia has a regulation that requires the Secretary of State to verify

an applicant’s citizenship using SAVE. See Ga. Comp. R. & Regs. 590-8-




73 The Statute referenced by Defendants, O.C.G.A. § 21-2-216, does not discuss the
Secretary of State’s use of SAVE to verify an applicant’s citizenship. Additionally, the
regulation cited by Defendants was adopted in 2010 and the Secretary of State did not
receive the MOU from the DHS authorizing it to use SAVE until August 2020.
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1-.02(2)(a)(2) (“If the Department of Driver Services records indicate that the

applicant is not a United States citizen in the Department of Driver Services

database, the Secretary of State shall attempt to verify the applicant’s United

States citizenship status with the United States Citizenship and Immigration

Services utilizing the Systematic Alien Verification for Entitlements program.

Such verification will indicate whether the applicant is designated as a citizen of

the United States within the Verification Information System database.”).

      Second, sufficient testimony and evidence establish that the Secretary of

State is in the process of implementing SAVE. On August 17, 2020, the Secretary

of State entered into a memorandum of understanding with the Department of

Homeland Security authorizing the Secretary to implement SAVE. PX. 2022.

      In 2021, the Secretary of State’s Office used SAVE to audit the voter rolls

and records from DDS. Tr. 1680:15–16; 1680:20–22. The range of dates for the

registrations that the Secretary of State’s Office identified during the audit was

from 1997 until February 24, 2022. Tr. 1728:1–2. During that audit, the Secretary

of State’s Office looked at the entire voter roll. Tr. 1682:3–5. As of the trial, Mr.

Germany testified that the Secretary of State is discussing the process for

implementing more frequent uses of SAVE to verify voters’ citizenship. Tr.


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1710:2–5. It is a goal of the Secretary of State to be able to run voter applicants’

alien registration numbers through the SAVE system in real-time. Tr. 1694:6–21.

       The Court notes that Mr. Germany testified that the Secretary of State had

no defined timeline for implementing SAVE. Tr. 1710:2–5, 1711:4–11, 15–20.

However, Mr. Germany also testified that “I would hope that we could get it up

and running within a month to three months, but I’m hesitant to say that because

you know, when you start dealing with data transfers and data formatting, we

can run into things that we then have to resolve. But I mean in my mind, I do

think it’s a one-month-to-three-month project.” Tr. 1711:15–20. Given that the

Secretary of State is in the process of implementing SAVE, the Court declines to

order the Secretary of State to implement SAVE. 74

       The Eleventh Circuit cautioned federal judges on using injunctions with

respect to election laws. See New Ga. Project, 976 F.3d at 1284. Here, Plaintiffs




74 The Court notes that the issue of SAVE is not moot because SAVE is not yet fully
operational. “To the extent that [the challenged] features remain in place, and changes
in the law have not fundamentally altered the statutory framework as to render the
original controversy a mere abstraction, the case its [sic] not moot.” Coal. for the
Abolition of Marijuana Prohibition v. City of Atlanta, 219 F.3d 1301, 1310 (11th Cir. 2000).
To date, the Secretary of State still uses DDS as the only method for verifying citizenship;
the only time SAVE was used was during a one-time audit. Accordingly, the challenged
feature remains in place.
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ask the Court to issue an Order requiring the Secretary of State to implement

SAVE even though an MOU authorizes the Secretary of State to use SAVE, a

regulation requires the Secretary of State to use SAVE, and officials in the

Secretary of State’s Office testified that they are in the process of implementing

SAVE. Accordingly, the Court finds that issuing said injunction would be

“second-guessing     or   interfering   with    [the]   State’s   reasonable,   non-

discriminatory election rules.” New Ga. Project, 976 F.3d at 1284. Specifically, it

would require the Court to second-guess the Secretary of State’s timeline for

implementing SAVE. 75 Thus, the Court finds that ordering the Secretary of State

to implement SAVE is the type of remedy that district courts are cautioned

against awarding.

      The Court finds that Plaintiffs have not carried their burden in establishing

that Exact Match Citizenship violates the First and Fourteenth Amendments.

      C. Count II: Fifteenth Amendment

      In Count II of their Second Amended Complaint, Plaintiffs allege that

“[a]cting under color of state law, Defendants deprived Georgians of the right to



75 The Court’s determination that SAVE is not an available remedy depends on the
Secretary of State’s affirmative testimony to the Court that SAVE is in the process of
being implemented and expects that SAVE will be fully operational in 2023.
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vote—as secured by the Fifteenth Amendment—by administering an election

plagued with irregularities that disproportionally affected voters of color.” Doc.

No. [582], ¶ 167. More specifically, in their Statement of the Case for purposes of

the Pretrial Order, Plaintiffs allege that “[t]he Exact Match policy and its

application . . . racially discriminate against Georgians of color in violation of the

Fifteenth Amendment.” Doc. No. [753-1], 1–2. As stated above, the challenged

practices here are Exact Match MIDR and Exact Match Citizenship. 76

              1.     Legal Standard

       The Fifteenth Amendment provides in relevant part that “[t]he right of

citizens of the United States to vote shall not be denied or abridged by the United

States or by any State on account of race, color, or previous condition of servitude.”

U.S. Const. amend. XV. “The Amendment bans racial discrimination in voting by

both state and nation. It thus establishes a national policy . . . not to be

discriminated against as voters in elections to determine public governmental

policies or to select public officials, national, state, or local.” Terry v. Adams, 345




76 As previously noted, Plaintiffs’ Exact Match MIDR challenge relates to the matching
of certain identification information provided on voter registration applications.
Plaintiffs’ second policy challenge, i.e., Exact Match Citizenship, relates to the matching
of the voter registration applicant’s citizenship information.
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U.S. 461, 467 (1953). “The design of the Amendment is to reaffirm the equality of

races at the most basic level of the democratic process, the exercise of the voting

franchise.” Rice v. Cayetano, 528 U.S. 495, 512 (2000).

       “[T]he Supreme Court has long recognized that evidence of a racially

discriminatory motivation is required for Plaintiffs to prevail on a Fifteenth

Amendment claim.’” Greater Birmingham Ministries v. Sec’y of State for Ala.,

992 F.3d 1299, 1321 (11th Cir. 2021) (citing City of Mobile v. Bolden, 446 U.S. 55,

62 (1980), superseded by statute on other grounds as stated in Thornburg v.

Gingles, 478 U.S. 30, 35 (1986)). There are two prongs to an abridgment analysis

under the Fifteenth Amendment. Greater Birmingham Ministries, 992 F.3d at

1321 (citations omitted). Plaintiffs must first show that the State’s “decision or act

had a discriminatory purpose and effect.” Id. (citing Burton v. City of Belle Glade,

178 F.3d 1175, 1188–89 (11th Cir. 1999)). 77 “If Plaintiffs are unable to establish both



77 The Supreme Court has explained that “‘[d]iscriminatory purpose’ . . . implies more
than intent as volition or intent as awareness of consequences. It implies that the
decisionmaker . . . selected . . . a particular course of action at least in part ‘because of,’
not merely ‘in spite of,’ its adverse effects upon an identifiable group.” Holton v. City
of Thomasville Sch. Dist., 425 F.3d 1325, 1349 (11th Cir. 2005) (citing Hernandez v. New
York, 500 U.S. 352, 360 (1991)). This Court recognizes that Holton was a Fourteenth
Amendment/Equal Protection case; however, the Eleventh Circuit has indicated that
the standard is the same for Fifteenth Amendment and Equal Protection/Fourteenth
Amendment claims in the voting rights context. See Greater Birmingham Ministries, 992

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intent and effect, their constitutional claims fail.” Id. (emphasis omitted). “Once

discriminatory intent and effect are established, the second prong provides that

‘the burden shifts to the law’s defenders to demonstrate that the law would have

been enacted without this [racial discrimination] factor.’” Id.

       The Eleventh Circuit has held that “the fluid concept of discriminatory

intent is sometimes subtle and difficult to apply.” Dowdell v. City of Apopka,

698 F.2d 1181, 1185 (11th Cir. 1983). The Court must “evaluate all available direct

and circumstantial evidence of intent in determining whether a discriminatory

purpose was a motivating factor in a particular decision.” Burton, 178 F.3d at

1189. In addition, in Village of Arlington Heights v. Metropolitan Housing

Development Corporation, 429 U.S. 252 (1977), the Supreme Court suggested that

relevant evidentiary factors include: (1) the impact of the challenged law; (2) the

historical background; 78 (3) the specific sequence of events leading up to its



F.3d at 1328 (“[I]n order ‘to establish a violation of either the Equal Protection Clause of
the Fourteenth Amendment or the Fifteenth Amendment, [plaintiffs] must show that
[the state’s] decision or act had a discriminatory purpose and effect.”) (citations omitted).
To this regard, the Court will utilize both Fifteenth Amendment and Equal Protection
precedent in this section of the Opinion.
78 The Eleventh Circuit has also “repeatedly recognized that evidence of [t]he historical
background of the decision is relevant to the issue of discriminatory intent.” Burton, 178
F.3d at 1189 (citing Williams v. City of Dothan, 745 F.2d 1406, 1415 (11th Cir. 1984)
(quoting Arlington Heights, 429 U.S. at 267) (internal quotations omitted)).
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passage; (4) procedural and substantive departures; and (5) the contemporary

statements and actions of key legislators. 79 Greater Birmingham Ministries, 992

F.3d at 1322 (citing Arlington Heights, 429 U.S. at 267–68). The Eleventh Circuit

has supplemented the Arlington Heights list to include the following additional

factors: (6) the foreseeability of the disparate impact; (7) knowledge of that

impact; and (8) the availability of less discriminatory alternatives. Id. (citing Jean

v. Nelson, 711 F.2d 1455, 1485–86 (11th Cir. 1983), on reh’g, 727 F.2d 957 (11th Cir.

1984), aff’d on other grounds, 472 U.S. 846 (1985)).

              2.     Issue and Challenged Practices: Exact Match (MIDR and
                     Citizenship Match)

       The Court must now undertake a sensitive inquiry and determine whether

Plaintiffs have met their burden of showing that the Secretary of State’s decision

or act had a discriminatory purpose and effect. See Arlington Heights, 429 U.S.

at 266 (“Determining whether invidious discriminatory purpose was a




79 As indicated above, the evidence at trial showed that the exact matching process is
not fully codified law in Georgia’s statutory scheme. Portions of the matching process
at issue are actually part of a policy of the Secretary of State’s Office. To this regard, in
considering the first and fifth factors, the Court will also utilize the terms “policy” and
“policymakers,” in addition to the terms “law” and “legislators.”
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motivating factor demands a sensitive inquiry into such circumstantial and direct

evidence of intent as may be available.”).

                    a)     Impact of the challenged policy

      In turning to the first prong, the Court is required “to start by determining

whether the challenged law has a discriminatory impact and ‘whether it bears

more heavily on one race than another.’” Greater Birmingham Ministries, 992

F.3d at 1321 (citing Arlington Heights, 429 U.S. at 266). The Court notes that the

Supreme Court has “cautioned that it would be rare to find a case involving ‘a

clear pattern, unexplainable on grounds other than race’ and that, ‘[a]bsent a

pattern as stark as that, . . . [discriminatory] impact alone is not determinative,

and the Court must look to other evidence.’” Id. at 1322 (citing Arlington Heights,

429 U.S. at 266).

      In the case sub judice, Plaintiffs have presented evidence of discriminatory

impact of the Exact Match policy and application of the MIDR and Citizenship

Match challenged practices through the testimony of their expert, Dr. Mayer. See

PX. 1278, PX. 2030, Tr. 398:2–10, Tr. 412:11–414:9. The Court finds Dr. Mayer’s

methodology of analyzing the state’s voter files to be sound and credits his

conclusion that, as an empirical matter, “voters of color are overwhelmingly and


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disproportionately in MIDR status compared to their overall composition of the

voter file.” Tr. 413:7–9 (Mayer). The evidence at trial also showed that in 2018, the

Secretary of State’s Office undertook an internal review of the voter files and

concluded that approximately 70% of applicants in pending status for failed

verification at DDS or SSA were Black. PX. 1887, Tr. 1993:14–1994:18 (Harvey).

      As for citizenship match, the Court again credits the methodology used by

Dr. Mayer in analyzing the state’s voter files. Dr. Mayer’s testimony showed that

non-Hispanic white registrants are far less likely to be flagged as noncitizens, as

compared to their overall representation in the voter file, whereas voters of color

are far more likely to be flagged as noncitizens than their overall representation

in the voter file reflects. PX. 2027, Tr. 388:12–390:23 (Mayer). The Court credits

Dr. Mayer’s conclusion that the citizenship verification process overwhelmingly

applies to voters of color. Tr. 398:7–10 (Mayer).

      However, there is no clear pattern that would be determinative, i.e.,

Plaintiffs’ evidence, standing alone, does not establish a “pattern, unexplainable

on grounds other than race.” Arlington Heights, 429 U.S. at 266. Plaintiffs’ own

expert testified that there was substantial variation in the MIDR match numbers

among counties that could not be explained by race, and he suggested “different


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administrative practices in different counties, even with the same overall

demographics.” PX. 2031, Tr. 416:9–19 (Mayer). Dr. Mayer further testified that

for Citizenship Match, the numbers “are suggestive of and consistent with

inconsistent administrative practices around and in different jurisdictions

around the state.” Tr. 418:6–13.

      After review of Dr. Mayer’s testimony, the Court concludes that the

discriminatory impact factor is not determinative and the Court must consider

the remaining Arlington Heights factors to determine if Defendants intended to

discriminate when instituting Exact Match (MIDR and citizenship) practices.

                     b)    Historical background

      The Court now considers the historical background Arlington Heights

factor.

      A stay-panel of the Eleventh Circuit recently cautioned that the “Arlington

Heights’s ‘historical background’ factor should be ‘focus[ed] . . . on the ‘specific

sequence of events leading up to the challenged decision’ rather than ‘providing




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an unlimited lookback to past discrimination.’” 80 League of Women Voters of Fla.,

Inc. v. Fla. Sec’y of State, 32 F.4th 1363, 1373 (11th Cir. 2022) (citation omitted).

       Tracing the specific sequence leading up to implementation of the Exact

Match MIDR and Citizenship Verification challenged practices is difficult

because those policies are not contained in a single law or other legal authority;

rather, they arise out of a combination of statutory and administrative procedure.

Defendants also acknowledge that the Exact Match MIDR process has never been

a duly adopted, published written policy 81 and has evolved over time. 82 Tr.

1936:1–14, 1940:22–24 (Harvey).




80 While this Court recognizes that stay-panel opinions are “tentative,” “preliminary
[in] nature,” and are “not a final adjudication of the merits of the appeal,” this Court
accepts the stay-panel’s opinion in League of Women Voters as persuasive authority.
Democratic Exec. Comm. of Fla., 950 F.3d at 795; cf. E. Bay Sanctuary Covenant, 950 F.3d
at 1265 (treating the motions panel’s decision as persuasive but not binding authority).
81 To the extent the policy is memorialized in writing, it is reflected piecemeal in various
documents, including training materials. PX. 1289 (Expert Report of Peyton McCrary),
¶ 78 (“The voter verification system was never adopted by the Secretary of State as a
rule or policy, nor was it otherwise disclosed to the public.”), PX. 1751 (DDS MOU),
Tr. 1940:22–1942:13 (Harvey) (testifying that “it’s not a written policy” and agreeing that
the policy is reflected in Secretary of State training materials), Tr. 349:17–19 (Mayer)
(testifying that there was “no indication that the policies and methods are actually
written down and documented and clearly articulated”).
82 For example, DDS recently switched from matching the whole first name to matching
only the first letter of the first name “because [the Secretary of State] requested that.”
Tr. 1202:13–19 (McClendon); see also Tr. 1936:9–11 (Harvey). Also, when Plaintiffs first

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       Nevertheless, the Court credits the expert testimony of Dr. McCrary, 83 who

provided a history of voter registration and a historical account of Exact Match

MIDR, beginning in 2002 with the adoption of HAVA by Congress and its

implementation by the fifty states. Tr. 213:2–4 (McCrary).

       Dr. McCrary testified that the State of Georgia did not begin to comply

with the voter verification provisions of HAVA 84 until “between 2007 and 2008”;




brought this lawsuit, Exact Match MIDR prevented voter registration applicants from
being registered voters until they had taken certain steps to address the match failures
generated by the Exact Match MIDR process. If the applicant did not provide the
information, they would “fall off the list” and would not be registered to vote. Tr.
3603:8–11 (Harvey). In April 2019, after Plaintiffs brought this lawsuit, Georgia passed
HB 316, which changed the consequences of being flagged as “MIDR.” Under HB 316,
people flagged as MIDR were registered to vote, but they were still labeled “MIDR”
until they provided identification before or at the time they voted. Tr. 3604:3–4 (Harvey).
HB 316 made no changes to the consequences of the Exact Match Citizenship policy. Tr.
2035:2–7 (Harvey).
83 While the Court credits Dr. McCrary’s expert history testimony, which includes some
discussion of race and political parties, the Court notes that Dr. McCrary specifically
affirmed that he was not opining that any portion of Georgia’s voter registration
practices and systems were adopted with a discriminatory intent. Tr. 266:1–11.
84 As stated at trial, the Court accepted as lay opinion certain testimony of Dr. McCrary
concerning the voter verification requirements of HAVA. Tr. 215:4–5 (McCrary). More
specifically, Dr. McCrary testified that HAVA required states to create a statewide voter
registration database. Tr. 213:5–10 (McCrary). He further testified that there was a
HAVA “requirement . . . both to establish a person’s eligibility as to their place of
residence and to establish their eligibility by way of establishing whether they were or
were not United States citizens.” Tr. 214:2–5 (McCrary). He testified that HAVA did not
require states to use a particular matching methodology such as the Exact Match
employed by the State of Georgia in this case. Tr. 214:6–10 (McCrary).
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it was his understanding “from court rulings at the time . . . that Georgia believed

that because it required a full Social Security number” when registering to vote

“rather than just the last four digits of the Social Security number, it was not

required to comply with HAVA.” Tr. 216:6–14. 85

       The rulings that Dr. McCrary referenced were: (1) Schwier v. Cox, 412 F.

Supp. 2d 1266 (N.D. Ga. 2005) (holding that the Secretary of State’s use of an

applicant’s full Social Security number violated both the Privacy Act and the

Voting Rights Act) and (2) Morales v. Handel, No. 08-cv-3172, 2008 WL 9401054,

at *8 (N.D. Ga. Oct. 27, 2008) (holding that the State’s voter verification policy

required preclearance under Section 5 of the Voting Rights Act, 42 U.S.C.

§ 1973c). 86




85 There is also a letter exhibit in the record from Counsel for the State of Georgia to the
Department of Justice (dated August 17, 2010) which states: “Prior to 2006, Georgia was
exempt from the data matching and verification procedures required under HAVA
because the State required voters to provide their full nine-digit social security number
when registering to vote. In 2006, however, a federal court enjoined the State from that
requirement. The State, no longer exempt from HAVA’s data matching and verification
requirements, had to develop procedures to meet those requirements.” PX. 76 at STATE-
DEFEDANTS-00078193.
86 Prior to 2013 and the United States Supreme Court’s decision in Shelby County v.
Holder, 570 U.S. 529 (2013), certain states, including Georgia, needed to seek
preclearance from the DOJ for new voting changes.
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      In 2007 and 2008, Georgia “followed the procedure apparently required by

HAVA, which was to have the voter registration database, which the state had

created by that time, compared with the driver[’]s license database operated by

the Department of Driver Services, or DDS, through a database matching

procedure.” Tr. 216:19–217:2 (McCrary). Secretary of State Handel “participated

in a memorandum of understanding with DDS to carry out that function.” PX.

1751, Tr. 217:3–5 (McCrary). Dr. McCrary further testified that the State of

Georgia sought individual citizenship status from the SSA, through a verification

program called “HAVV.” 87 Tr. 221:7–14 (McCrary). Dr. McCrary testified that

there was an inspector general’s report from within the SSA that was “sharply

critical of” HAVV’s “exact match” methodology for which many of the “non-

matches were in fact citizens.” Tr. 221:19–24, 222:9 (McCrary). Dr. McCrary,

however, had no evidence that the State of Georgia received the inspector

general’s report. Tr. 284:11–13 (McCrary).




87 Dr. McCrary could not recall the full name of the program at trial. Tr. 221:14
(McCrary). His report states that the full title of the program is “Help America Vote
Verification.” PX. 1289, ¶ 72.
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      Dr. McCrary testified that Georgia continued to use the same methodology

after the inspector general’s report until 2009, when the United States

Department of Justice (“DOJ”), reviewing the State’s preclearance application,

objected to the “exact match” system of voter verification. Tr. 222:10–23; see also

PX. 66. 88 In the objection letter, the DOJ laid out its reasons for rejecting the

application as follows:

          • The State’s process “[did] not produce accurate and reliable

             information” such that “thousands of citizens who [were] in fact

             eligible to vote under Georgia law were flagged.” PX. 66 at 3.

          • The      impact    of   the    errors   in   the    State’s   process    fell

             “disproportionately on minority voters.” PX. 66 at 4.

          • Applicants who were “Hispanic, Asian, or African American [were]

             more likely than white applicants, to statistically significant degrees,

             to be flagged for additional scrutiny.” PX. 66 at 4.

      The DOJ also found the process for verifying voter registration information

to be “seriously flawed” in a manner that “subject[ed] a disproportionate number



88 This historical evidence also applies to Exact Match Citizenship, since the DOJ raised
the same concerns about the racial impact of Exact Match Citizenship.
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of African American, Asian, and/or Hispanic voters to additional and, more

importantly erroneous burdens on the right to register to vote.” PX. 66 at 4. The

DOJ concluded “[t]hese burdens are real, are substantial, and are retrogressive

for minority voters.” PX. 66 at 4.

      Dr. McCrary testified that Georgia later developed a revised version of its

voter verification procedures that “proposed daily monitoring of all the

decisions . . . in which individuals were evaluated for eligibility to vote, and to

provide quick notification to any individuals who were ruled to be ineligible to

vote.” Tr. 249:12–17 (McCrary); Tr. 1595:14–1596:2 (Germany); PX. 76 at STATE-

DEFENDANTS-00078199 (“Board of registrars should check the SSVRZ791R1

report on a daily basis”). 89

      Dr. McCrary testified that in 2010, Georgia sought preclearance through

both administrative review and a Section 5 declaratory judgment action in the

District of Columbia of the revised version of its voter verification procedures,

which the DOJ “informed the court it did not find objectionable in light of the



89 The exhibit defines the SSVRZ791R1 report as an “exceptions report.” PX. 76 at
STATE-DEFENDANTS-00078197. This report and a second exceptions report, “display,
by county, the results of the verification process and identify those applicants whose
information was not successfully verified in its entirety.” Id. at STATE-DEFENDANTS-
00078198.
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changes the State had purportedly made, and, therefore, that new version of the

State’s voter verification procedure was precleared.” Tr. 249:4–11. 90

       Dr. McCrary testified that there was another court case, NAACP v. Kemp,

involving Exact Match that the State of Georgia agreed to settle in February of

2017. Tr. 257:2–15 (McCrary). 91 In that settlement agreement, “the State agreed to

have an unlimited time period for curing a finding of non-eligibility to register

under the voting verification procedures.” Tr. 257:19–23 (McCrary). 92 Later, the

Georgia legislature passed HB 268, which “essentially left in place the ‘exact

match’ methodology that had been employed in the past, but [the State] agreed

to run the records of persons found to be ineligible through the HAVA Match

again.” Tr. 258:12–15. 93



90 Dr. McCrary testified that the 2010 version is not used in Georgia today and the
process has been changed several times since 2016. Tr. 279:5–8. Dr. McCrary also
described how experts subsequently found the state’s assurances of close, daily
monitoring proved inaccurate in the years that followed preclearance. Tr. 250:2–254:17
(McCrary), PX. 1289, ¶ 84
 Dr. McCrary provided the full citation for the case in his report as: Georgia State Conf.
91

NAACP v. Kemp, No. 2:16-cv-00219 (N.D. Ga.). PX. 1289 at 77 n.231.
92Dr. McCrary testified that the 2016 and 2017 versions of the process are not used in
Georgia today. Tr. 279:14–16.
93 While Dr. McCrary testified and indicated in his report that “the administrative
implementation of HB 268 in 2017 would likely have been objectionable” were
preclearance review still in place based upon discriminatory effect, the Court gives little

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      In 2018, there was a legal challenge to HB 268 that resulted in the

Honorable Eleanor Ross, United States District Judge, issuing a preliminary

injunction finding that plaintiffs showed “a substantial likelihood of success on

the merits of their claim that” the State had “violated the right to vote for

individuals placed in pending [registration] status due to citizenship.” PX. 1289,

¶¶ 100, 110 (citing Ga. Coal. for the People’s Agenda v. Kemp, 347 F. Supp. 3d

1251 (N.D. Ga. 2018)). Judge Ross ordered the state “to allow county officials to

permit individuals flagged and placed in pending status due to citizenship to

vote a regular ballot by furnishing proof of citizenship to poll managers or

deputy registrars.” PX. 1289, ¶ 110.

      Dr. McCrary was aware that the 2018 case remains pending and that the

State of Georgia has changed its process since the preliminary injunction.

Tr. 285:18–20.

      Dr. McCrary states in his report that according to former elections director

Harvey, “the state responded to the changes required by Judge Ross’s injunction

by adopting HB 316 (2019).” PX. 1289, ¶ 112. As stated in the Court’s prior orders:




weight to this evidence in light of the subsequent litigation and enactment of HB 316
concerning voter verification procedures. PX. 1289, ¶ 99, Tr. 258:16–259:17.
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            HB 316, which was signed into law by the Governor on
            April 2, 2019, amends the Georgia Election Code to,
            among other things, provide for more notice under
            Georgia’s voter-list-maintenance process; to provide
            that a voter registration is not automatically rejected
            under the Exact Match policy; to provide for the
            implementation of new voting machines; to prohibit the
            superintendent of a county from changing a polling
            place less than thirty days before a general primary or
            general election; to authorize the Secretary of State to
            become a member of a nongovernmental entity whose
            purpose is to share and exchange information in order
            to improve the accuracy and efficiency of voter
            registration systems; and to change the way which
            provisional ballots and absentee ballots are counted.

Doc. No. [68], 23–24; see also Doc. No. [612], 58–64. Dr. McCrary’s expert

testimony ended with the enactment of HB 316.

      Plaintiffs also ask the Court to consider their evidence concerning the 2014

and 2018 campaign statements of then-Secretary Kemp, the 2014 New Georgia

Project investigation, and the 2010 Dr. Dennard investigation as further historical

background evidence of discriminatory purpose. However, the Court has

determined that the focus of its Fifteenth Amendment historical background

analysis is 2002, with the adoption of HAVA by Congress and Georgia’s

implementation process in 2007 to 2008, as well as the revised policies. Plaintiffs




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have not linked how the 2010 and 2014–2018 events tie in for consideration. 94 In

essence, Plaintiffs’ position is weakened significantly by the fact that the Dr.

Dennard investigation (concerning absentee ballots), the New Georgia Project

investigation (concerning forgeries in voter registrations), and the campaign

statements evidence presented in this case are largely unconnected to the passage

of the laws and actual policies in question. See Greater Birmingham Ministries,

992 F.3d at 1324 (indicating that the plaintiffs’ “position is weakened significantly

by the fact that the evidence presented” in the case at hand was “largely

unconnected to the passage of the actual law in question”).

         To this regard, the Court has given no consideration to Plaintiffs’ evidence

concerning Dr. Dennard and the New Georgia Project in this section of the

Opinion, as said evidence does not concern the specific sequence of events

leading up to the creation, implementation, and revision of the laws and policies

at issue. 95 The Court will consider the campaign statements in detail in the

“[c]ontemporary statements of key officials” section of this Opinion.




94 The Court notes that 2010 is the same year that the DOJ did not object to Georgia’s
revised Exact Match plan, leading to preclearance.
95   Even if the Court were to consider this evidence, the Court’s ruling remains the same.
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      After considering the historical background of Exact Match MIDR and

Citizenship Verification, the Court finds that this factor is neutral. The historical

background does not reveal “a series of official actions taken for invidious

purposes.” Arlington Heights, 429 U.S. at 267. Further even if the initial actions

of the State of Georgia could be viewed as showing invidious intent (or purpose)

based on the DOJ’s preclearance objection, the Court notes that the DOJ

eventually found a revised matching policy unobjectionable, and the DOJ thus

precleared Georgia’s matching policy. Thus, this Court hesitates to find invidious

purpose for a policy precleared by the DOJ. The fact that Exact Match MIDR and

Citizenship Verification continue to evolve following litigation, settlement

agreements, and additional legislative action does not change this historical

background conclusion. Further, to the extent that it is proper to consider the

State’s interests in its Exact Match MIDR and Citizenship Verification policies as

a part of the historical background factor, 96 the Court notes that the evidence at




96 While not specifically enumerated as a factor in the Greater Birmingham Ministries
case, the Court notes that the Eleventh Circuit did consider the state’s interest in its
Fifteenth Amendment analysis concerning the law at issue. See 992 F.3d at 1328
(“[W]hen we weigh the burden on a voter to obtain and present a photo ID against
Alabama’s interests underlying the voter ID law, we find the law to be a neutral,
nondiscriminatory regulation of voting procedure.”).
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trial demonstrated legitimate state interests in proving that the registered voter

is an actual person, weeding out false registrations, effectuating the HAVA

permissible forms of identification requirement for certain first-time voters, and

preventing noncitizens from voting. 97 Tr. 3581:1–3, 3604:11–19, 3606:14–24,

3605:20–3606:8 (Harvey), Tr. 4165:7–11, 4146:13–17 (Germany).

                     c)     Specific sequence of events, and substantive
                            departures

      Next, the Court considers the specific sequence of events and substantive

departures factors. There is nothing in the record to show a sudden change in the

sequences of events leading up to the Exact Match policy “that would spark

suspicion” and the record shows no substantive departures from “usual

procedures.” Arlington Heights, 429 U.S. at 269. Accordingly, this factor weighs

in favor of Defendants and against a discriminatory purpose finding.




97 Additional discussion regarding the State’s interests will follow in the VRA section
of this Opinion. In sum, the Court declines to uphold Plaintiffs’ arguments for deeming
the testimony related to the asserted state interests insufficient.
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                    d)    Contemporary statements of key officials

      While not considered for the historical background factor, the Court will

consider Plaintiffs’ evidence concerning the 2014 and 2018 campaign statements

of then-Secretary Kemp in the contemporary statements category as follows.

      As noted above, Plaintiffs offer two campaign statements of then-Secretary

Kemp to demonstrate a discriminatory motivation. These statements are from

2014 and 2018. In these statements, then-Secretary Kemp urged his supporters to

register voters that would vote for Republican candidates and encourage them to

vote in the same way that Democrats had previously done with minority voters.

DX. 740, PX. 2051, Tr. 86:9–17, 88:9–17, 92:18–22 (Kemp Dep.). At a 2018 campaign

fundraiser, then-Secretary Kemp expressed concern about early voters primarily

voting for Democrats and the number of absentee ballot requests. PX. 2051, Tr.

108:2–8, 109:14–1, 110:1–4, 110:11–15 (Kemp. Dep.). These statements were not

contemporaneous with the adoption of the challenged MIDR and Citizenship

Match practices. See Greater Birmingham Ministries, 992 F.3d at 1321 (citing

Arlington Heights, 429 U.S. at 267–68).

      The Court recognizes that Defendants objected to the evidentiary

admission of Governor Kemp’s deposition testimony concerning the speeches at


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issue on the ground that “[c]ampaign speech is not relevant.” Doc. No. [755-7],

12. 98 In opposition, Plaintiffs assert that “as the Secretary of State and Chair of the

State Election Board, Governor Kemp was chiefly responsible for the

administration of Georgia’s elections during the relevant time period. Therefore,

statements he made throughout that same time period in his capacity as a

candidate for office are certainly relevant to the constitutionality of his actions.”

Doc. No. [755-7], 12.

       There does not appear to be a case on point that addresses the exact context

that is presented in the case sub judice. The Court also recognizes that in the

non-voting rights class of cases/discrimination context, the Supreme Court has

noted disagreement among the Justices as to whether statements made by

lawmakers may properly be taken into account in determining whether a law

intentionally discriminates on the basis of religion. See Masterpiece Cakeshop,

Ltd. v. Colo. C.R. Comm’n, --- U.S. ----, 138 S. Ct. 1719, 1730 (2018) (considering

religious discrimination); 99 see also Trump v. Hawaii, --- U.S. ----, 138 S. Ct. 2392,



98 Defendants raised additional pretrial/deposition objections (Doc. No. [755-7], 12)
concerning the rule of completeness that are now moot, as the entirety of the statements
were played at trial.
99   There is some Eleventh Circuit precedent on discriminatory statements in the

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2418–20 (2018) (considering campaign speech as extrinsic evidence that was not

determinative of the Court’s final ruling when analyzing whether a policy

“address[es] a matter within the core of executive responsibility” and when

applying rational basis review to determine whether a policy “can reasonably be

understood to result from a justification independent of unconstitutional

grounds”).

       In reviewing the limited authority concerning campaign speech and the

Supreme Court Justices’ noted disagreements concerning lawmaker statements

in the Masterpiece Cakeshop case, the Court perceives that the law is unsettled

on consideration of statements, such as the ones at issue involving campaign

speech.




Fifteenth Amendment context; however, the speech at issue in those cases was not
campaign speech. See, e.g., Greater Birmingham Ministries, 966 F.3d at 1227 (indicating
that the racist comments of the lawmaker, while not condoned under any circumstances,
need to be “made about the law at issue in this case” to evidence discriminatory intent
behind the law); NAACP v. Stallings, 829 F.2d 1547, 1552 (11th Cir. 1987) (concluding
that the speech made by the sponsor of legislation during legislative session “was
evidence of an intent to discriminate against black voters in any voting legislation before
the General Assembly during that session, and that a finder of fact might well infer that
such intent continued until 1951 when the bill was re-introduced under the same
sponsorship”).
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      In the absence of binding authority, the Court deems it proper to overrule

Defendants’ objection as to consideration of the 2014 and 2018 campaign

statements. To the extent that it is proper to consider the campaign statements at

issue, the Court after weighing the evidence and considering credibility, does not

find that the speeches support a finding of “a wholesale intent” by then-Secretary

Kemp to discriminate against minority voters as it relates to the Exact Match

policy. Greater Birmingham Ministries, 992 F.3d at 1323. This Court is “confined

to an analysis of discriminatory intent as it relates to” the Exact Match Policy and

the statements Plaintiffs identify were not made about the matching policies at

issue in this case, nor are they temporally connected to any of the periods when

the policies were implemented or revised. See Greater Birmingham Ministries,

992 F.3d at 1323 (“Plaintiffs provide no evidence that [the senator’s] comment

was made at the same time, or even during the same session, as the passage of

[law at issue].”).

      The stay-panel in the recent League of Women Voters of Florida case also

indicated that it is improper to fail to “properly account for what might be called

the presumption of legislative good faith” in a Fifteenth Amendment analysis.

League of Women Voters of Fla., 32 F.4th at 1373. In support of the presumption


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of good faith statement, the stay-panel cited case law that dealt with state

legislatures. Id. (citing Abbott v. Perez, ––– U.S. ––––, 138 S. Ct. 2305 (2018)).

Plaintiffs in the case sub judice object to applying such a presumption. Plaintiffs

assert that the presumption of good faith is restricted to the intent of the

legislature (Doc. No. [854], ¶ 63) and is irrelevant to this case that involves an

uncodified policy. However, this Court’s independent research shows that courts

have held that the good faith presumption extends to non-legislative public

officials, such as the Secretary of State. See, e.g., Thompson v. Hous. Auth. of City

of Miami., 251 F. Supp. 121, 124 (S.D. Fla. 1966) (“The presumption that public

officials will in good faith discharge their duties and observe the law is a very

strong presumption, and will prevail until overcome by clear and convincing

evidence to the contrary.”) (citing Barnes v. City of Gadsden, 174 F. Supp. 64 (N.D.

Ala. 1958)). Accordingly, the Court will extend a good faith presumption in

considering then-Secretary Kemp’s statements. Said presumption has not been

rebutted or overcome by Plaintiffs’ evidence. 100 Accordingly, the contemporary

statements factor weighs in favor of Defendants.




100The Court has considered the entirety of the evidence that Plaintiffs offered in
support of their Fifteenth Amendment claim in reaching this conclusion.
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                     e)     Foreseeability and knowledge of the disparate
                            impact

      Next, the Court considers the foreseeability and knowledge of the

disparate impact factors. The evidence at trial showed that the Secretary of State’s

Office is aware that its DDS citizenship verification process affects recently

naturalized citizens rather than native-born citizens. Tr. 2036:9–2040:14 (Harvey).

Georgia was put on notice of the problems with its voter verification procedure

as early as 2009, when the Department of Justice objected to Georgia’s adoption

of an “exact match” methodology for voter verification in implementing HAVA.

PX. 66 at 4. 101 The Secretary of State’s own internal review in 2018 showed that

70% of applicants in pending for failed verification at DDS or SSA were Black. Tr.

1993:14–1994:18 (Harvey); PX. 1887. This factor weighs in favor of Plaintiffs and

constitutes circumstantial evidence of intent.

                     f)     Availability of less discriminatory alternatives

      Last, the Court considers the availability of less discriminatory alternatives.

Dr. Mayer’s unrebutted testimony was that states have other options to

implement HAVA verification for identity that do not require an exact match.



101The Court gives this notification limited weight because the DOJ later precleared a
revised version of Georgia’s policy.
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The most common alternative is typically referred to as contextual or

probabilistic matching, which accounts for the possibility of differences in a small

number of characters between the databases without it being a different person.

PX. 1278 at 10, Tr. 358:16–359:7 (Mayer). The Court also credits Dr. Mayer’s

unrebutted testimony that at least three states (California, Massachusetts, and

Wisconsin) rely exclusively on a registrant’s attestation of citizenship, without

verifying citizenship status. Tr. 363:24–364:4 (Mayer). This factor weighs in favor

of Plaintiffs and constitutes circumstantial evidence of intent.

                                     *    *    *   *

      In sum, after evaluating available direct and circumstantial evidence of

intent and weighing the evidence and making credibility determinations, the

Court finds that while some Arlington Heights factors weigh in Plaintiffs’ favor,

the majority of the factors weigh against Plaintiffs or are neutral—or not

determinative of whether a discriminatory purpose was a motivating factor in

the decision to institute Exact Match MIDR and Citizenship Verification laws and

policies. In addition, there are legitimate State interests in Exact Match MIDR and

Citizenship Verification laws and policies. Accordingly, the Court finds that

Plaintiffs have failed to show that the Exact Match MIDR and Citizenship


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Verification laws and policies were enacted with a racially discriminatory intent

or purpose. As such, this Court does not reach the second prong of the Fifteenth

Amendment analysis to consider whether Defendants have demonstrated that

the laws would have been enacted without the racial discrimination factor.

“[W]ithout proof of discriminatory intent, a generally applicable law with

disparate impact is not unconstitutional.” Crawford v. Marion Cnty Election Bd.,

553 U.S. 181, 207 (2008) (Scalia, J., concurring) (internal citation omitted). The

Court finds against Plaintiffs and in favor of Defendants on Plaintiffs’ Fifteenth

Amendment claims.

      D. Count III: Equal Protection

      In their Complaint and Statement of Claim for purposes of the Pretrial

Order, Plaintiffs raise two different equal protection claims. The first claim

challenges the same procedures as Counts I and II of their Second Amended

Complaint. More specifically, Plaintiffs allege that “[a]cting under color of state

law, Defendants 102 deprived Georgians of the right to vote on an equal basis, as




102With respect to Count III, the Court uses the term “Defendants” to encompass the
Secretary of State, Sarah Tindall Ghazal, Janice Johnston, Edward Lindsey, and Matthew
Mashburn. “Defendants” in this section will not include the SEB because the SEB enjoys
sovereign immunity for the claims in Count III.
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secured by the Equal Protection Clause, by administering an election plagued

with irregularities that disproportionately affected voters of color.” Doc. No.

[582], ¶¶ 181–182; see also Doc. No. [753-1], 1–2 (“The Exact Match Policy and its

application . . . racially discriminate against Georgians of color in violation of the

Fifteenth Amendment and the Equal Protection Clause of the Fourteenth

Amendment.”).      Plaintiffs’   second    equal   protection   challenge   concerns

uniformity and residency (or geographic discrimination). More specifically,

Plaintiffs allege that “Georgia’s voting system . . . violates Equal Protection

because voters are subject to arbitrary and inconsistent differences in rules,

processes, and burdens depending on where voters happen to reside”—resulting

in “different elections systems in different counties in Georgia.” Doc. No. [582],

¶¶ 186–187; see also Doc. No. [753-1], 2 (“The Exact Match Policy and its

application . . . discriminate against Georgians based on where they live and

based on naturalized citizenship status in violation of the Equal Protection Clause

of the Fourteenth Amendment . . . . The non-uniform and improper practices

regarding in-person cancellation of absentee ballots . . . discriminate against

Georgians based on where they live, in violation of the Equal Protection Clause

of the Fourteenth Amendment.”).


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             1.     Legal Standard

      The Fourteenth Amendment provides in relevant part that “[n]o State

shall . . . deny to any person within its jurisdiction the equal protection of the

laws.” U.S. Const. amend. XIV. “[T]he Equal Protection Clause confers a

substantive right to participate in elections on an equal basis with other qualified

voters.” Bolden, 446 U.S. at 62.

             2.     Racial Discrimination

      “A successful equal protection claim under the Fourteenth Amendment

requires proof of both an intent to discriminate and actual discriminatory effect.”

Greater Birmingham Ministries, 966 F.3d at 1224 (citing Davis v. Bandemer, 478

U.S. 109, 127 (1986)). “Once discriminatory intent and effect are established, the

second prong provides that “‘the burden shifts to the law’s defenders to

demonstrate that the law would have been enacted without this [racial

discrimination] factor.’” Id. at 1225 (citations omitted).

      Plaintiffs’ equal protection claim (racial discrimination allegations)

concerning the procedures challenged in Count II of the Second Amended

Complaint is subsumed in the same analysis that the Court applied to the

Fifteenth Amendment claim pertaining to Count II of this Opinion. Cf. NAACP

v. Austin, 857 F. Supp. 560, 572 (E.D. Mich. 1994) (“[W]e believe that the Fifteenth
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Amendment’s prohibition against purposeful discriminatory denial or

abridgement by government of the freedom to vote on account of race, color, or

previous condition of servitude is subsumed in the analysis required under the

Fourteenth Amendment’s equal protection clause.” (internal quotations

omitted)); cf. also Thompson v. Merrill, No. 2:16-CV-783-ECM, 2020 WL 7080308,

at *9 (M.D. Ala. Dec. 3, 2020) (“Both a Fourteenth Amendment Equal Protection

Clause claim and a Fifteenth Amendment discrimination claim require proof of

intent to discriminate. Therefore, the Court applies the same analysis to both

claims.”). Accordingly, for the reasons set forth in the Court’s analysis concerning

Count II, Plaintiffs’ Count III equal protection (racial discrimination) claim

concerning voting procedures (specifically, “Exact Match”) fails.

             3.    Geographic Discrimination

      As indicated above, Plaintiffs allege that “Georgia’s voting system . . .

violates [the] Equal Protection [Clause] because voters are subject to arbitrary and

inconsistent differences in rules, processes, and burdens depending on where

voters happen to reside,” resulting in “different elections systems in different

counties in Georgia.” Doc. No. [582], ¶¶ 186–187. Plaintiffs further allege that

“Defendants have allowed the voting processes in the 159 counties in Georgia to


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devolve into an arbitrary and inconsistent web of actual laws, erroneous

interpretations of laws, and local rules that are often unannounced until applied

to a voter.” Id. ¶ 188. The specific systems that Plaintiffs allege violate the Equal

Protection Clause are absentee ballot cancelations and Exact Match.

       There does not appear to be binding Supreme Court or Eleventh Circuit

precedent that provides an applicable standard; however, the Sixth Circuit has

held that “[a] plaintiff may state an equal‑protection claim by alleging that lack

of statewide standards results in a system that deprives citizens of the right to

vote based on where they live.” Husted, 837 F.3d at 635; see also Bush, 531 U.S.

at 104–05 (“The right to vote is protected in more than the initial allocation of the

franchise. Equal protection applies as well to the manner of its exercise. Having

once granted the right to vote on equal terms, the State may not, by later arbitrary

and disparate treatment, value one person’s vote over that of another.”). 103




103 The Court recognizes that the Third Circuit has recently stated that Bush v. Gore is
a limited holding as it “does not federalize every jot and tittle of state election law,” but
focused on the “lack of any standards” that empowered officials to treat ballots
“arbitrarily, violating equal protection.” Donald J. Trump for President, Inc. v. Sec’y of
Pa., 830 F. App’x 377, 388 (3d Cir. 2020). By contrast, where the State’s election code
provides counties with specific guidelines, “[r]easonable county-to-county variation is
not discrimination.” Id.
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      The central question in a lack-of-uniform standards claim appears to be

whether the state lacks “adequate statewide standards” when implementing its

voting laws, practices, or procedures. Cf. Husted, 837 F.3d at 635 (citations

omitted).

      In addition, as stated in Husted, “[a]rguable differences in how elections

boards apply uniform statewide standards to the innumerable permutations of

ballot irregularities, although perhaps unfortunate, are to be expected, just as

judges in sentencing-guidelines cases apply uniform standards with arguably

different results.” Id. at 636.

      In the case sub judice, the geographical differences in applying Exact Match

and absentee ballot cancelations policies are more akin to the innumerable

permutations of ballot irregularities as opposed to a lack in state-wide standards.

                      a)     Absentee ballot cancelations

      First, there is very little record evidence that there were geographic

differences in the cancelation procedures for absentee ballots. Plaintiffs presented

direct evidence of seven voters who experienced irregularities in canceling their

absentee ballots at the polls. See supra Section II(B)(1)(c)(1). These seven instances




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occurred in six out of Georgia’s 159 counties. Id. 104 Given the relatively few

occurrences of these issues in a relatively small number of counties, the Court

finds that they are not illustrative of a lack of uniform standards. Accordingly,

Plaintiffs failed to carry their burden in establishing that the training on absentee

ballot cancelation violated the Equal Protection Clause.

      Secondly, Mr. Harvey testified that “we did a lot of training on the current

law at the time. And I think that’s where 95 percent of their focus was on, is

making sure that they received the latest information, because we’re having to

do -- in 2020, we had to adjust and make so many changes.” Tr. 2122:12–17. With

respect to the types of training, Mr. Harvey testified that “I can say that as far as

when we train counties in person, at conference and at webinars, we were using

the new information” from HB 316. Tr. 2119:16–22. Additionally, “[t]he webinars

that we do, the presentation at the conferences, the election bulletins [] have

updated information.” Tr. 2121:4–5.

      Mr. Harvey did admit that he was aware counties in Georgia were using

several different procedures or practices with respect to canceling absentee ballot.




104Those six counties are: Clayton County, Cobb County, DeKalb County, Fulton
County, Muscogee County, and Webster County.
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Tr. 2109:22–25. However, when he was asked to clarify what he knew about the

different practices that were being used, Mr. Harvey only discussed county

practices that preceded HB 316. Tr. 2110:6–18. Mr. Harvey did not testify to being

aware of differing practices post-HB 316. Other than the poll workers’ manual

and the certification materials that contained the incorrect information, Plaintiffs

have provided no evidence that the Secretary of State knowingly allowed

counties to implement different practices and procedures for canceling absentee

ballots following the passage of HB 316. To the contrary, there is evidence that

the Secretary of State conducted webinars, presentations, conferences, phone

calls, and issued election bulletins in 2020. See, e.g., Tr. 2119:16–22, 2121:4–5.

When asked specifically about whether that training included information about

absentee ballots, Mr. Harvey testified that he did not recall issuing an election

bulletin regarding absentee ballot cancelation procedures following the passage

of HB 316 (Tr. 2124:13–20), and the Secretary of State did not track which counties

attended webinars or reviewed the presentations regarding absentee ballot

cancelation procedures (Tr. 1889:3–1890:23).

      The evidence also shows that at least two 2019 trainings run by the

Secretary of State’s Office—one headed by Mr. Rayburn and another by Ms.


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Frechette—were explicitly dedicated to the changes to election administration in

the wake of HB 316’s passage. PX. 1076; PX. 1189. Though Plaintiffs argue that

these optional trainings address absentee ballot cancelation only in a “cursory

manner” (Doc. No. [854], ¶ 888), this Court cannot agree. Ms. Frechette’s 2019

presentation in particular appears to dedicate sufficient space to proper absentee

ballot cancelation procedures in various scenarios. PX. 1189 at 23–25. Mr.

Harvey’s testimony in regard to providing information on the “current law”

throughout 2020 and the two 2019 trainings on election administration post-HB

316 demonstrate that the Secretary of State, rather than deliberately turning a

blind-eye to inconsistent procedures among different counties, took steps to

ensure that there were uniform standards for absentee ballot cancelations after

the passage of HB 316. Tr. 2122:12–2123:22.

      The Court finds that the relatively few incidents in the record of voters who

experienced difficulties in canceling their absentee ballots, coupled with the

evidence regarding the Secretary of State’s training evidence that the Secretary of

State does promulgate uniform standards regarding the cancelation of absentee

ballots.




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                     b)    Exact Match

      With respect to Exact Match, the Court also finds that there is not sufficient

evidence of a lack of uniform standards. At summary judgment, the Court found

that Plaintiffs’ geographic equal protection claim survived because the evidence

was unclear as to whether “county officials [were] guided by clear rules.” Doc.

No. [617], 83. However, the evidence adduced at trial established that there were

sufficient standards for implementing Exact Match. Tr. 3574:4–19; Tr. 1192:2–3.

      As stated supra, the process for Exact Match is as follows. First, an

applicant’s information is uploaded to eNet. Tr. 1190:23–1191:7. Second, the

information is transmitted to DDS, which determines whether it has information

for the applicant or if the applicant’s information needs to be sent to SSA. Tr.

1194:20–1196:18. Third, if a record has certain uncurable defects, such as an

invalid date of birth or non-numeric characters in the last four digits of the

applicant’s social security number, DDS will stop the verification process, flag,

and return the application to the Secretary of State. Tr. 1196:19–1197:15; PX. 1753.

Fourth, for records that it can process for verification, DDS checks certain criteria

in the record against the information it has on file to determine if it is a match.

PX. 1753 at 1; see also Tr. 1197:16–1199:18. Finally, after it has performed the


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verification process, DDS transmits the voter information back to the Secretary of

State with a determination of whether the information was verified or not and, if

not, the reasons therefor. Tr. 1191:11–21; 1199:19–1200:7; 3574:4–19; see also PX.

1751; DX. 42 (O.C.G.A. § 21-2-220.1(b) (revised version of HAVA Match policy

enacted by HB 316).

      Dr. Mayer testified that, with respect to MIDR, “as a county has fewer

voters of color, registrants of color, that the pending rate tends to go down. But

it also shows that even for counties with very similar demographics . . . you

actually see huge differences in the pending rate, often differences that exceed a

factor of ten that, again, are suggestive of and consistent with inconsistent

administrative practices around and in different jurisdictions around the state.”

Tr. 418:3–13. Similarly, with respect to citizenship matching, Dr. Mayer opined

that there is “a relationship between the racial composition of a county and the

rate of pending registrations,” which shows “the rate of pending registrations

increases as the percentage of African American registrants goes up. PX. 1278, 31.

Dr. Mayer concluded that these differences were caused by “either a lack of data

validity checking protocols or the fact that those protocols were not effectively

implemented.” Tr. 418:21–23.


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      On cross-examination, however, Dr. Mayer acknowledged that the actual

matching is conducted by the DDS, and Dr. Mayer did not speak with any

individuals at DDS when preparing his report. Tr. 427:15–21. Additionally, Dr.

Mayer agreed that he did not know what caused any individual to be flagged by

the MIDR matching process. Tr. 503:9–12. Dr. Mayer conceded that the error rate

could be due to the concentration of voters who registered by mail. Tr. 489:1–

490:4. When an individual submits a voter registration application either in

person or via mail, an election official is responsible for inputting that

information into eNet. Tr. 1957:17–1958:3.

      Similarly, Mr. Harvey testified that some of the causes of MIDR could be

due to a typing error by an election official. Id. Mr. Harvey also testified that

when an application is flagged by DDS for a matching failure, the counties are

trained to doublecheck their data entry. Tr. 1958:9–1960:2. Mr. Harvey

specifically stated that training documents list doublechecking the data entry as

a best practice. 1959:5–1960:2.

      The Court finds that Plaintiffs have not established that the error rate in

the Exact Match process is caused by the Secretary of State’s failure to promulgate




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uniform standards. 105 On cross-examination, Dr. Mayer conceded that the error

rate could be attributed to the number of mail-in registration applications

received by the counties. Tr. 489:1–490:4. However, the Court finds that

Defendants have provided uniform training documents aimed at minimizing

these errors. Additionally, Dr. Mayer conceded that DDS conducts the actual

match against its database. Tr. 427:15–21. DDS is a statewide agency, and it is

unclear from the record how its matching process would result in disparities in

different counties throughout the state. Accordingly, the Court finds that

Plaintiffs have not established a lack of uniform standards concerning MIDR.

      Accordingly, the Court finds that Plaintiffs have not carried their burden

in establishing that Exact Match violates the Equal Protection Clause because

there is insufficient evidence to show that the Secretary of State failed to

promulgate uniform standards for matching registrants.




105 Plaintiffs’ geographic uniformity claim differs from its Anderson-Burdick claim. A
geographic uniformity claim examines the differences in the implementations of Exact
Match, whereas the Anderson-Burdick claim examines the burdens imposed by Exact
Match. To establish a geographic uniformity claim, the Court must determine who
conducted the matches and whether the differences in process burdened voters. But to
establish an Anderson-Burdick claim, the Court must determine what burdens the
statute itself had on voters.
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       E. Count V: Section 2 of the Voting Rights Act

       Plaintiffs raise a vote‑denial claim in Count V of their Second Amended

Complaint concerning Section 2 of the Voting Rights Act. Doc. No. [582], ¶ 204.106

       Section 2 of the Voting Rights Act provides:

           (a)   No voting qualification or prerequisite to voting or
                 standard, practice, or procedure shall be imposed or
                 applied by any State or political subdivision in a
                 manner which results in a denial or abridgement of
                 the right of any citizen of the United States to vote
                 on account of race or color, or in contravention of the
                 guarantees set forth in section 10303(f)(2) of this title,
                 as provided in subsection (b).

           (b)   A violation of subsection (a) is established if, based
                 on the totality of circumstances, it is shown that the
                 political processes leading to nomination or election
                 in the State or political subdivision are not equally
                 open to participation by members of a class of
                 citizens protected by subsection (a) in that its
                 members have less opportunity than other members
                 of the electorate to participate in the political process
                 and to elect representatives of their choice. The
                 extent to which members of a protected class have
                 been elected to office in the State or political
                 subdivision is one circumstance which may be
                 considered: Provided, That nothing in this section
                 establishes a right to have members of a protected


106 “Vote denial occurs when a state, or here a municipality, employs a ‘standard,
practice, or procedure’ that results in the denial of the right to vote on account of race.”
Burton v. City of Belle Glade, 178 F.3d 1175, 1197–98 (11th Cir. 1999) (citing 42 U.S.C.
§ 1973(a)).
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                class elected in numbers equal to their proportion in
                the population.

52 U.S.C. § 10301 (emphasis in statute). “The key requirement is that the political

processes leading to nomination and election (here, the process of voting) must

be ‘equally open’ to minority and non-minority groups alike.” Brnovich, 141 S.

Ct. at 2337. Because § 2(b) defines what is needed to show a violation of § 2(a), as

the Supreme Court recently clarified, “equal openness and equal opportunity are

not separate requirements. Instead, equal opportunity helps to explain the

meaning of equal openness.” Id. at 2337–38.

      Thus, the Court proceeds with a totality of the circumstances analysis of

Plaintiffs’ Exact Match claim under the relevant Brnovich guideposts and Gingles

Senate factors. The Court notes that neither Brnovich nor Gingles is directly

applicable to the challenged practices in this case. In Brnovich, the Supreme

Court was addressing regulations that impacted the counting and collection of

votes. Id. at 2330. And in Gingles, the Supreme Court was addressing

reapportionment of votes. Gingles, 478 U.S. 30. The case sub judice addresses

qualifications of voting. Because neither case is directly on point, out of an

abundance of caution, the Court will address both the Brnovich guideposts and

the Gingles Senate factors.

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      When applying the relevant factors, the Court will give greater weight to

the Brnovich guideposts than the Gingles Senate factors. “Brnovich called into

question the usefulness of some of the Gingles factors in evaluating a vote denial

claim under § 2 of the VRA and offered alternate factors that a court may

consider.” United States v. Georgia, 574 F. Supp. 3d 1245, 1252 n.5 (N.D. Ga.

2021); see also Sixth Dist. of Afr. Methodist Episcopal Church v. Kemp, 574 F.

Supp. 3d 1260, 1277 (N.D. Ga. 2021) (including a similar discussion about

Brnovich’s greater relevance to vote denial claims under Section 2 of the VRA).

Regulating voter registration and poll access is more akin to counting and

collecting votes in Brnovich than to reapportionment and voter dilution in

Gingles. See Sixth Dist. of Afr. Methodist Episcopal Church, 574 F. Supp. 3d at

1276–77 & n.16 (stating that when a court considers vote denial claims, the

Brnovich guideposts generally are more relevant than the Gingles factors because

Brnovich was a vote denial case and Gingles was a vote dilution case).

      The Court will first discuss each of the Brnovich guideposts: (1) the size of

the burden imposed; (2) the deviation from standard practice in 1982; (3) the size

of the disparity of the burden; (4) other available means of voting; and (5) the

strength of the state interest. The Court will then discuss the following relevant


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Gingles Senate factors: (1) the history of official discrimination in Georgia; (2)

whether there is racially polarized voting in Georgia; (3) voting practices and

procedures in Georgia; (4) discrimination outside the voting context in Georgia;

(5) racial appeals in campaigns in Georgia; and (6) minority candidate success in

Georgia. With the benefit of Brnovich’s guidance, the Court’s analysis remains

focused on the “touchstone” of Section 2 claims: “equal openness” to voting.

Brnovich, 141 S. Ct. at 2338.

             1.    Analysis of the Applicable Factors and Guideposts

                     a)    Brnovich guideposts

                                (1)   Size of the burden imposed

      In Brnovich, the Supreme Court recognized that “every voting rule

imposes a burden of some sort.” 141 S. Ct. at 2338. The Supreme Court also stated:

“because voting necessarily requires some effort and compliance with some

rules, the concept of a voting system that is ‘equally open’ and that furnishes an

equal ‘opportunity’ to cast a ballot must tolerate the ‘usual burdens of voting.’”

Id. (citation omitted). Although the Supreme Court did not enumerate what acts

constitute “usual burdens of voting,” it did state that having to identify one’s

own polling place and then having to travel there to vote are “unremarkable

burdens” that do not exceed the usual burdens of voting. Id. at 2344. The Court
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further stated that “[m]ere inconvenience cannot be enough to demonstrate a

violation of § 2.” Id. at 2338. 107

       Finally, the Court notes that in conducting its burden analysis in Brnovich,

the Supreme Court reviewed evidence that showed that the state “made

extensive efforts to reduce [the burden’s] impact on the number of valid votes

ultimately cast,” such that the identified burdens were “moderate” when

considering the process as a whole. Brnovich, 141 S. Ct. at 2344.

                                      (a)     MIDR

       The Court finds that the size of the burden imposed by MIDR is slight. See

supra, Section II(B)(4)(a)(1). With respect to MIDR, the Court finds that this

guidepost weighs against a Section 2 violation.




107Similarly, in the voter identification law jurisprudence (which Defendants in the case
sub judice rely upon by analogy), the Supreme Court stated that: “[f]or most voters who
need [identification cards], the inconvenience of making a trip to the [Bureau of Motor
Vehicles], gathering the required documents, and posing for a photograph surely does
not qualify as a substantial burden on the right to vote, or even represent a significant
increase over the usual burdens of voting.” Crawford, 553 U.S. at 198.
                                            262
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                                       (b)     Exact Match Citizenship

      The Court finds that the size of the burden imposed by citizenship

matching is limited. See supra Section II(B)(4)(b)(1). With respect to citizenship

matching, the Court finds that this guidepost weighs against a Section 2 violation.

                        (2) Deviation from standard practice in 1982

      Second, Brnovich suggests examination of the “degree to which a

[challenged] voting rule departs from what was standard practice when § 2 was

amended in 1982” since, after all, it is doubtful “that Congress intended to uproot

facially neutral time, place, and manner regulations that have a long pedigree or

are in widespread use in the United States.” Brnovich, 141 S. Ct. at 2339.

                                 (a)           MIDR

      The Court finds that Exact Match, with respect to MIDR, is a substantial

departure from the law at the time of the 1982 congressional amendment to

Section 2 of the Voting Rights Act. In 1982, Georgia law required registrants

provide their local registrar or deputy registrar “proper identification” at the time

of registration. 1981 Ga. L. p. 1719 (H.B. 405). 108 Such “proper identification”



108   This session law is available through the University of Georgia at:
http://neptune3.galib.uga.edu/ssp/cgi-bin/legis-
iDX..pl?sessionid=7f000001&type=law&byte=420472739.
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could be satisfied by “exhibiting a valid driver’s license, birth certificate, or any

other document as will reasonably reflect the true identity of the applicant.” Id.

      In 2002, some twenty years following congressional amendment of Section

2 in 1982, Congress enacted HAVA. 52 U.S.C. § 21803. HAVA requires the

secretaries of state to conduct an electronic comparison of voter rolls to

information held by DDS, 52 U.S.C. § 21083(a)(5)(B)(i), and indicates the types of

proof a first-time registrant can use to vote, 52 U.S.C. § 21083(b)(2)(A).

      Georgia’s verification requirements under Exact Match are narrower and

more exacting than the 1982 Georgia law and HAVA. Neither the 1982 Georgia

law nor HAVA requires comparison of a registration applicant’s first name, last

name, date of birth, or citizenship information. 52 U.S.C. § 21083(a)(5); 1981 Ga.

L. p. 1719 (H.B. 405). Neither law requires the identifying information to match

exactly. Id. Additionally, neither law specifies the consequences for failure to

match. Id.

      With respect to MIDR, Exact Match as it exists today, cannot be fairly

characterized as an extension of the 1982 Georgia law, HAVA, or longstanding

general verification requirements. Accordingly, this guidepost weighs in favor of

finding a Section 2 violation.


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                                    (b)     Exact Match Citizenship

      The Court finds that there is not a substantial deviation in Georgia’s

practice of matching noncitizens since 1982. The Georgia Constitution makes

United States citizenship a requirement of voter registration. See Ga. Const. art.

2, sec. 1, par. 2. This requirement existed in the 1976 Constitution. Ga. Const. art.

II, sec. I, par. II (1976). The use of a birth certificate as a means of establishing

identification—and citizenship—speaks to the State’s policy of trying to enforce

the citizenship requirement prior to 1982. Accordingly, the Court finds that this

guidepost weighs against finding a Section 2 violation.

                              (3)   Disparate impact

      In Brnovich, the Supreme Court stated that “[t]he size of any disparities in

a rule’s impact on members of different racial or ethnic groups is . . . an important

factor to consider.” 141 S. Ct. at 2339 (emphasis added). It cautioned that small

disparities may not necessarily show “that a system is not equally open or that it

does not give everyone an equal opportunity to vote.” Id. The Supreme Court

further advised that “[w]hat are at bottom very small differences should not be

artificially magnified.” Id. And it criticized the practice of “dividing one




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percentage by another,” which can create a “distorted picture.” Id. at 2345 (citing

Frank v. Walker, 768 F.3d 744, 752 n.3 (7th Cir. 2014)). 109

                                    (a)       MIDR

       The Court finds that the disparate impact of MIDR is relatively small. Dr.

Mayer’s report indicates that 60,477 registrants were in MIDR status as of January

2020. PX. 1278, 18. The report also indicates that as of December 2019, Georgia

had 6,798,488 registered voters. Id. at 17. Thus, roughly 0.89% of registered

Georgia voters are in MIDR status. Of those in MIDR status, 69.4% were Black,

11.4% were white non-Hispanic, 5.7% were Hispanic, and 3.3% were Asian or

Pacific Islander. Id. at 18. These numbers account for 2.03% of Black registered

voters, 0.19% of white non-Hispanic registered voters, 1.50% of Hispanic

registered voters, and 1.19% of Asian or Pacific Islander registered voters. Id. at

20. The Court finds that the disparate impact of MIDR on voters is de minimis.

       In Brnovich, there was evidence in the record that the challenged practice

impacted 0.15% of voters. Id. at 2334. Additionally, in Brnovich, a little over 1%




109In Frank, the court gave the following example: “If 99.9% of whites had photo IDs,
and 99.7% of blacks did, the same approach would yield the statement ‘blacks are three
times as likely as whites to lack qualifying ID’ (0.3 ÷ 0.1 = 3), but such a statement would
mask the fact that the populations were effectively identical.” 768 F.3d at 753.
                                           266
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of Black voters, 1% of Hispanic voters, 1% of Native American voters, and 0.5%

of non-Hispanic white voters were impacted by Arizona’s law. Id. at 2344. In

Brnovich, the Supreme Court held that the disparate impact of Arizona’s law did

not lead to a finding that voting was not equally open to all. Brnovich, 141 S. Ct.

at 2340–41.

      The Supreme Court stated, “[a] policy that appears to work for 98% or

more of voters to whom it applies—minority and non-minority alike—is unlikely

to render a system unequally open.” Id. at 2345. The percentages of voters

impacted by the Arizona law in Brnovich are analogous to those in the case sub

judice. Ninety-eight percent or fewer voters are impacted by MIDR, with the

exception of Black voters where 97.97% of Black voters were not impacted. The

Court finds that the impact of MIDR is like the impact of the Arizona law and

does not render the election system unequally open. Accordingly, the Court finds

that this guidepost weighs against finding a Section 2 violation with respect to

MIDR.

                                   (b)     Exact Match Citizenship

      The Court also finds that the disparate impact of citizenship matching is

small. Dr. Mayer’s report indicates that 3,037 registrants were placed in pending


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status because of a citizenship flag. PX. 2178, 22. This number accounts for

roughly 0.045% of registered Georgia voters. Id. Of those in citizenship

verification pending status, 31.6% were Black, 13.0% were white non-Hispanic,

20.9% were Hispanic, and 23.2% were Asian or Pacific Islander. Id. These

numbers account for approximately 0.048% of Black registered voters, 0.011% of

white non-Hispanic registered voters, 0.29% of Hispanic registered voters, and

0.44% of Asian or Pacific Islander registered voters. 110 Id. at 17, 22. Dr. Mayer

reports that in January of 2022, roughly 3,073 Georgia registrants were placed in

pending status for being noncitizens. Under the 2014-2018 American Community

Survey 457,179 naturalized foreign-born citizens were living in the State of

Georgia. Id. Assuming that all individuals flagged as noncitizens were

naturalized foreign born citizens, were eligible to vote, and the overall

population has not increased between 2014-2018, 0.67% of all naturalized citizens

are in pending MIDR status. Id. at 22.

      Under the Supreme Court’s analysis in Brnovich, a challenged practice that

impacts 0.045% of the total population, less than one percent of any minority




110These percentages were extrapolated from the statistics contained in Table 1 and
Table 5 of Dr. Mayer’s Expert Report.
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group, and less than one percent of naturalized citizens, does not show that that

voting system is not equally open. Accordingly, the Court finds that this

guidepost weighs against finding a Section 2 violation.

                             (4)    Other available means

      Next, the Court looks to Georgia’s election system “as a whole.” Brnovich,

141 S. Ct. at 2339. Brnovich explained that “where a State provides multiple ways

to vote, any burden imposed on voters who choose one of the available options

cannot be evaluated without also taking into account the other available means.”

Id. Unlike the policies challenged in Brnovich, Exact Match does not affect only

one method of voting among several; there are no alternative means of

registering to vote that avoid Exact Match. While the State provides multiple

identification options for clearing both the citizenship pending and MIDR

statuses, under the current law, there is no means of avoiding those statuses if a

voter’s registration does not exactly match DDS or SSA records or incorrectly lists

them as a noncitizen. All registration applications are subject to the policy. Thus,

the Court finds that this guidepost weighs in favor of finding a Section 2

violation.




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                              (5)   Strength of state interest

      “[I]n determining ‘based on the totality of circumstances’ whether a rule

goes too far, it is important to consider the reason for the rule.” Brnovich, 141 S.

Ct. at 2339–40. Defendants presented evidence that both MIDR and citizenship

verification are used to prevent fraud in the registration process.

      Both the Supreme Court and the Eleventh Circuit have held that

preventing fraud in the registration process is a legitimate state interest. “One

strong and entirely legitimate state interest is the prevention of fraud.” Brnovich,

141 S. Ct. at 2340. “[D]eterring voter fraud is a legitimate policy on which to enact

an election law, even in the absence of any record evidence of voter fraud.”

Greater Birmingham Ministries, 922 F.3d at 1334; see also Purcell, 549 U.S. at 4

(internal quotation marks omitted) (“A State indisputably has a compelling

interest in preserving the integrity of its election process.”); Crawford, 553 U.S.

at 196 (“There is no question about the legitimacy or importance of the State's

interest in counting only the votes of eligible voters.”); Eu, 489 U.S. 214, 231 (“A

State indisputably has a compelling interest in preserving the integrity of its

election process.”).




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       At trial, Defendants presented evidence that tied the legitimate interest in

preventing fraud to the challenged practices. The Supreme Court stated that

“Section 2 does not require a State to show that its chosen policy is absolutely

necessary or that a less restrictive means would not adequately serve the State’s

objectives.” Brnovich, 141 S. Ct. at 2345–46. 111 With respect to MIDR, Mr. Harvey

testified “MIDR is, my understanding of it is, because you didn’t verify. You have

to show something that shows you’re the actual person. And that’s the – I guess

protection from registering a bunch of alias people and then just showing up and

saying, Oh, yeah, I’m John Smith, or I’m Chris Harvey. And by showing the I.D.,

you’re verifying that, okay, for whatever reason they couldn’t match it, you’re

still a bona fide person.” Tr. 3604:11–19. With respect to citizenship matching,

Plaintiffs conceded “[w]e have only ever agreed that Georgia has a legitimate

interest in preventing non-citizens from voting.” Tr. 4330:7–10. Additionally, Mr.

Harvey testified that the pending citizenship flag was triggered “if somebody




111  This differs from the standard applied under Anderson-Burdick. Under Anderson-
Burdick, when a practice severely burdens voting, the Court must find that the practice
is narrowly drawn to achieve the State’s purpose. Burdick, 504 U.S. at 434. Accordingly,
it is entirely consistent that the Court could find a challenged practice is unconstitutional
under the First and Fourteenth Amendments while also finding that the same practice
does not violate Section 2 of the VRA.
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was sort of a positive non-citizen, if that’s the term. And the -- when somebody

gets a Georgia driver license, obviously, non-citizens can get driver’s licenses.

They get a different driver’s license, a limited term driver’s license versus one

showing that you’re a citizen.” Tr. 3581:21–25. In other words, the citizenship flag

is supposed to attach when there is affirmative evidence that someone who

registered has a noncitizen driver’s license. The Court finds that Defendants have

provided evidence that ties the prevention of voter fraud with both MIDR and

citizenship flags.

      Accordingly, the Court finds that this guidepost weighs against finding a

Section 2 violation.

                                     *    *    *   *

      The Court finds that under the Brnovich guidepost analysis neither MIDR

nor the citizenship matching flags violate Section 2 of the Voting Rights Act. With

respect to MIDR, the Court finds that the burden on voters, disparate impact, and

strength of the State’s interest weigh against finding a Section 2 violation. In

Brnovich, the Supreme Court found that Arizona’s law did not violate Section 2

of the Voting Rights Act because “of the modest burdens allegedly imposed by

[the law], the small size of its disparate impact, and the State’s justifications.”


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Brnovich, 141 S. Ct. at 2346. The burden, disparate impact, and the State’s

justifications are virtually identical between MIDR and the challenged practice in

Brnovich; accordingly, the Court finds that under Brnovich, MIDR does not

violate Section 2 of the VRA.

      With respect to citizenship matching, the Court finds that after weighing

the Brnovich guideposts, citizenship matching also does not violate Section 2 of

the VRA. The Court finds that the other available means guideposts weigh in

favor of finding a Section 2 violation, but the size of the burden, disparate impact,

deviation from practice in 1982 and State’s justifications weigh against finding a

Section 2 violation. The Court finds that Georgia’s system of voting is equally

open. Roughly 0.045% of Georgia voters are impacted by the citizenship pending

flag. Less than one percent of any minority group was impacted by the

citizenship flagging, and approximately only 0.67% 112 of naturalized citizens are

impacted by the citizenship flag. As Mr. Harvey testified, the matching process




112 As stated above, this number is derived from the 2014-2018 American Community
Survey’s calculation of foreign-born naturalized citizens who are living in Georgia and
the registrants marked as pending noncitizens in January 2020. The Court notes that Dr.
Mayer’s report does not state whether all of the individuals in that American
Community Survey were eligible to vote. Additionally, the January 2020 numbers do
not state whether all of the individuals were in fact naturalized citizens.
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is structured so that individuals are flagged as noncitizens only where

“something in the DDS system . . . says that this person is not a citizen.” Tr.

2034:1–9. Thus, the Court finds that citizenship matching does not render an

election system unequally open; therefore, it does not create a Section 2 violation.

                     b)    Gingles Senate factors

      The Court now turns to the relevant Gingles Senate factors. Those include:

(1) the history of official discrimination in Georgia; (2) whether there is racially

polarized voting in Georgia; (3) voting practices and procedures in Georgia; (4)

discrimination outside the voting context in Georgia; (5) racial appeals in

campaigns in Georgia; and (6) minority candidate success in Georgia.

                              (1)   History of past discrimination

      As the Court noted in its previous orders, Defendants do not contest that

“prior to the 1990s, Georgia had a long sad history of racist policies in a number

of areas including voting.” Doc. No. [617], 70–71 (citing Doc. No. [450-1], 50 n.38).

The Court takes judicial notice of this fact. See Wright v. Sumter Cty. Bd. of

Elections & Registration, 301 F. Supp. 3d 1297, 1310 (M.D. Ga. 2018), aff’d, 979

F.3d 1282 (11th Cir. 2020) (“Georgia has a history chocked full of racial

discrimination at all levels. This discrimination was ratified into state


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constitutions, enacted into state statutes, and promulgated in state policy.”)

(citations omitted).

      The history of past discrimination factor weighs in favor of a Section 2

violation. In Shelby County v. Holder, 570 U.S. 529, 552–53 (2013), the Supreme

Court found that the coverage formula found in Section 5 of the VRA was

unconstitutional because the justification largely ignored the changes that State’s

made in voting since 1965. The Eleventh Circuit likewise “caution[s] against

allowing the old, outdated intentions of previous generations to taint [Georgia]’s

ability to enact voting legislation.” Greater Birmingham Ministries, 992 F.3d at

1332. The Court finds that Plaintiffs presented evidence at trial showing that

Georgia’s history of past discrimination is not simply resigned to the annals of

history, but still exists today.

      Between 1965 and the Supreme Court’s decision in Shelby County, the

Department of Justice objected to 177 proposed changes to election law by

Georgia and its counties and municipalities (2013). Tr. 210:22–211:6 (McCrary);

PX. 1289, ¶ 26 (McCrary Report).




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      In 2014, HB 836 changed the school board district maps in Sumpter County

to dilute the strength of Black voters, a change that federal courts found to violate

Section 2 of the Voting Rights Act. See Wright.

      Plaintiffs also introduced evidence about Dr. Dennard’s election to the

Quitman School Board, her subsequent arrest, and the ensuing legal proceedings

as evidence of discrimination. Tr. 683:7–684:12, 676:1–728:7, 745:8–755:3. The

Court finds that Dr. Dennard’s experience of being photographed in a jumpsuit

on the date of her arrest and the ensuing media coverage of the incident does

provide some evidence of racial animus that persists in Georgia. Tr. 696:2–8;

702:2–4; PX. 2000; PX. 2003. However, the Court also notes that this evidence is

tempered by Judge Vines’s legal proceedings for the same charges. Tr. 3496:5–21;

3497:2–8; 3693:18–24; 3698:14–18. While the Court is sympathetic to Dr. Dennard

regarding her treatment, the Court also finds that this evidence does not carry

great weight when determining whether racial discrimination persists in present-

day Georgia.

      Thus, the Court finds based on evidence in the record and relevant case

law that Georgia’s history of discrimination, at a minimum, existed within the

last decade. Thus, this factor weighs in favor of finding a Section 2 violation.


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                              (2)    Racially polarized voting

      Under Gingles, racially polarized voting exists when there is “a correlation

between the race of voters and the selection of certain candidates. Plaintiffs need

not prove causation or intent to prove a prima facie case of racial bloc voting, and

defendants may not rebut that case with evidence of cause or intent.” Gingles,

478 U.S. at 74.

      Plaintiffs argue that voting in Georgia is—and has long been—polarized

along racial lines. Their evidence at trial was that from Reconstruction through

the passage of the Voting Rights Act in 1965, white Georgians overwhelmingly

supported the Democratic Party, which defended racial discrimination in

registration and voting and official racial segregation in all aspects of public life.

PX. 1289, ¶¶ 11, 124; see also Tr. 230:4–14.

      Plaintiffs provide the following evidence of racial appeals in campaigns.

“In the 1990s African American congressional candidates running as Democrats

enjoyed between 77 and 100 percent of black votes, but only 18-54 percent of

white votes. Between 30 and 45 percent of white voters in the state supported

Democratic candidates in the 1990s, but only about a quarter of whites voted

Democratic beginning in 2002. Black voters favored Democratic candidates by 85


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to 92 percent.” 113 PX. 1289, ¶ 41; see also Tr. 229:6–232:15. “Exit polls in statewide

elections for federal office from 1992 through 2006 show that African Americans

supported the Democratic candidate at rates between 81 and 92 percent, whereas

whites voted Democratic at rates between 23 and 45 percent.” PX. 1289, ¶ 42. In

a 2014 survey, 25 percent of white Georgia voters report themselves as Democrats,

59 percent as Republicans, and 17 percent as Independents. Id. ¶ 46. Whereas 73

percent of Black Georgia voters report themselves as Democrats, 12 percent as

Republicans, and 15 percent as Independents. Id.

      Accordingly, the Court finds that there is racial polarization in Georgia

voting. Senate Factors 2 and 8 weigh in favor of finding a Section 2 violation.

                              (3)    Practices and procedures

      The third Gingles factor is effectively the same as the Brnovich third

guidepost. This Gingles factor concerns “the extent to which the state or political

subdivision has used . . . voting practices or procedures that may enhance the

opportunity for discrimination against the minority group,” Gingles, 478 U.S. at




113  The Court notes that Plaintiffs’ expert Dr. Minnite also provided testimony
regarding the history of race discrimination in Georgia. However, the Court finds that
this history was primarily focused on voting following Reconstruction and has little
relevance to the more recent history of discrimination in Georgia. PX. 1038, 3–4.
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37, and the Brnovich guidepost analyzes “the size of any disparities in a rule’s

impact on members of different racial or ethnic groups,” Brnovich, 141 S. Ct. at

2339. Because the Brnovich decision is more recent than Gingles and evaluated

Arizona’s voting procedures in light of today’s election procedures, the Court

evaluates this Gingles factor using the standards set forth in Brnovich. As the

Court discussed in depth in the disparate impact section, this Senate Factor

weighs against finding a Section 2 violation.

                                (4)   Discrimination in other areas

      The district court in Gingles found that historic discrimination of

minorities in housing, education, employment, and healthcare led to many

minorities being in a lower socioeconomic class. Gingles, 478 U.S. at 39. The

district court concluded that this “gives rise to special group interests and hinders

blacks’ ability to participate effectively in the political process and to elect

representatives of their choice.” Id. The Supreme Court did not discuss or disrupt

the district court’s finding.

      Here, Plaintiffs provide evidence of similar statistics as follows: twice as

many Black Georgians as white Georgians live below the poverty line PX. 1289,

¶ 94; Tr. 255:25–256:20; Black Georgians are less likely to attain a high school or


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college degree (id. ¶ 93; Tr. 255:13–25); and Black Georgians die of cancer, heart

disease and diabetes at a higher rate than white Georgians (PX. 2127; PX. 2128).

Plaintiffs’ evidence of the impact of past discrimination on Georgia’s current

socioeconomic demographics is similar to the evidence that the district court

discussed in Gingles. Gingles, 478 U.S. at 39. Accordingly, this factor weighs in

favor of finding a Section 2 violation.

                              (5)    Racial appeals in campaigns

      Plaintiffs have provided evidence that racial appeals were made in recent

Georgia elections. In Gingles, the district court found, and the Supreme Court did

not discuss or disturb, that “white candidates in North Carolina have encouraged

voting along color lines by appealing to racial prejudice.” Gingles, 478 U.S. at 40.

The district court further held that “the use of racial appeals in political

campaigns in North Carolina persists to the present day and that its current effect

is to lessen to some degree the opportunity of black citizens to participate

effectively in the political processes and to elect candidates of their choice.” Id.

      Here, Plaintiffs presented evidence of examples of racial appeals used in

recent Georgia elections. For example, Plaintiffs point to the 2018 Republican

gubernatorial primary, during which candidate (and then-State Senator) Michael


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Williams conducted a “deportation bus” tour with a school bus emblazoned with

the words “Fill this bus with illegals.” The back of the bus read: “Danger!

Murderers, rapists, kidnappers, child molesters, and other criminals on board.”

PX. 1653. In September 2016, a Douglas County commissioner was recorded

making disparaging statements to voters about Black candidates in local races,

stating that a government run by African American leadership would “bankrupt

you.” PX. 1651. He also warned voters that a Black sheriff candidate would put

unqualified Black people in high-ranking positions if elected. Id. In 2018, Georgia

governor candidate Brian Kemp’s campaign issued a campaign video that

showed violent imagery—Kemp blowing up items, Kemp cocking a gun, and

Kemp using a chainsaw—before he revs his truck and states “I got a big truck—

just in case I need to round up criminal illegals and take ‘em home myself. Yup I

just said that.” PX. 1669. 114



114 As discussed supra, with respect to the Fifteenth Amendment, Governor Kemp’s
campaign speech cannot be used as evidence of the historical background Arlington
Heights factor because the statements are not tied to the sequence events leading to the
enactment of Exact Match. See League of Women Voters of Fla., Inc., 32 F.4th at 1373
(stating that the “‘historical background’ factor should be ‘focus[ed] . . . on the ‘specific
sequence of events leading up to the challenged decision’ rather than ‘providing an
unlimited lookback to past discrimination’”). The Gingles Senate factor regarding the
use of racial appeals in political campaigns requires the Court to look at historic as well
as present day campaign rhetoric. See Gingles, 478 U.S. at 40, 80 (affirming the district

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      The most recent Georgia elections also use racial appeals in campaigns. In

June 2020, then-Republican candidate for Georgia’s 14th U.S. congressional

district Marjorie Taylor Greene received national criticism for racist,

Islamophobic, and anti-Semitic views expressed in a series of Facebook videos.

PX. 1207. Greene suggested that Muslims do not belong in government; that

Black people “are held slaves to the Democratic Party”; that George Soros is a

Nazi; and that Black people should feel “proud” to see a Confederate monument

because it symbolizes progress made since the Civil War. Id. In April 2020, former

U.S. congressman Paul Broun, Jr., running to reclaim his former seat, posted a

campaign ad in which he offered to give away an assault rifle, stating that such

guns were needed to protect against the “looting hordes from Atlanta.” PX. 1655.

      In April 2022, Kandiss Taylor—candidate for Georgia governor—posted a

graphic reflecting her endorsement by the Georgia Proud Boys, commenting that

she was “proud to be the first candidate to receive an endorsement from the

Georgia Chapter. Thank you for serving as I plan to serve.” PX. 2165.In May 2022,



court’s finding that the existence of racial appeals in North Carolina’s campaigns that
dated from 1890 to 1984 weighed in favor of finding a Section 2 violation). Accordingly,
the Court finds that while Governor Kemp’s campaign speech is not evidence of
historical background under the Fifteenth Amendment, Governor Kemp’s campaign
speech is evidence of racial appeals in campaigns under Section 2 of the VRA.
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when running in the Republican primary for Georgia governor, former Senator

David Perdue accused Stacey Abrams of “demeaning her own race.” PX. 2172. In

June 2022, candidate for the U.S. House of Representatives in Georgia’s Third

Congressional District Rhonda Simpson posted a photo on Facebook that falsely

imagines Stacey Abrams saying “I ain’t even stole the election yet and people be

congratulatin’ me like crazy” and President Obama responding, “It’s because

they think you’re pregnant.” PX. 2164.

      The Court finds that Plaintiffs provided evidence of racial appeals in recent

Georgia elections and have carried their burden. Accordingly, this factor weighs

in favor of finding a Section 2 violation.

                              (6)   Minority candidate success

      The Supreme Court held that the success of some Black candidates does

not dispose of a Section 2 claim. Gingles, 478 U.S. at 76. However, courts must

consider the sustained success of Black candidates. Id. at 77. Only four Black

candidates have ever been elected to non-judicial statewide offices in Georgia: (1)

Former Public Service Commissioner David Burgess, in 2000; (2) former Labor

Commissioner Mike Thurmond, in 2002 and 2006; (3) former Attorney General

Thurbert Baker, in 1998, 2002, and 2006; and (4) U.S. Senator Raphael Warnock,


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in 2020. See Shahar v. Bowers, 120 F.3d 211, 214 (11th Cir. 1997) (the Court can

take judicial notice of these “matters of ‘political history,’” which are “not subject

to reasonable dispute” (quoting Fed. R. Evid. 201(b)). The Court also observes

that as of the May 24, 2022, primary election, Herschel Walker received the

Republican nomination for U.S. Senate and Senator Raphael Warnock received

the Democratic nomination for the same office. The Court finds that the election

of four Black candidates to statewide non-judicial office is the exact situation

referenced by the Supreme Court when discussing the success of a select few

Black candidate as not dispositive of this issue. Gingles, 478 U.S. at 76.

Accordingly, the Court finds that this factor weighs in favor of finding a Section

2 violation.

                                    *   *   *   *

      The Court finds that the Senate Factors weigh in favor of finding a Section

2 violation. History of discrimination, racially polarized voting, discrimination in

other areas, racial appeals in campaigns, and success of minority candidates all

weigh in favor of finding a Section 2 violation. Although these factors weigh in

favor of a violation, the Court finds that these factors are more generalized

indicators of the status of minority life in Georgia as opposed to the indicators of


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whether Exact Match results in fewer opportunities for minority voters. While

the Court acknowledges the importance of the Gingles Senate factors in

determining whether a State’s practices have resulted in discrimination for

minority voters, they do not sufficiently relate to the challenged practices in this

case. Conversely, the Gingles Senate factor dealing with practices and procedures,

which more directly relates to Exact Match, weighs against finding a Section 2

violation.

      Under the totality of the circumstances, the Court finds that Exact Match is

permissible under Section 2 of the VRA. The Brnovich factors largely weigh in

favor of finding that Exact Match is permissible under Section 2 of the VRA.

Although the Senate Factors overwhelmingly weigh in favor of finding a

Section 2 violation, the Court finds that the one factor that is expressly tied to

Exact Match, and not Georgia’s entire voting schema, weighs against finding a

violation.

      In sum, this Court finds Plaintiffs have not met their burden under

Section 2 of the VRA to demonstrate that the Exact Match or citizenship

verification processes renders Georgia’s elections not “equally open” when

considering the totality of the circumstances as required by VRA Section 2(b). 52


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U.S.C. § 10301; see also Brnovich, 141 S. Ct. at 2338. As a result, there has been no

showing that the election system is not “equally open” by Georgia’s compliance

with federal law regarding matching processes. Brnovich, 141 S. Ct. at 2337.

      F. Remaining Affirmative Defenses

      As stated above, Defendants presented the following affirmative defenses

in its Statement of the Case for purposes of the Pretrial Order: (1) failure to state

a claim upon which relief can be granted; (2) failure to name necessary and

indispensable parties; (3) lack of standing; (4) mootness; (5) Eleventh

Amendment bar; and (5) Political Question Doctrine. Doc. No. [753], 2–3.

      A number of these defenses have been addressed in the context of the

Court’s foregoing analysis of Plaintiffs’ case-in-chief. No additional rulings will

issue on the remaining affirmative defenses based on Plaintiffs’ failure to meet

their initial burden of proof as to their claims at trial.

                                 *      *         *   *

      As discussed above, the Court finds for Defendants on all counts. However,

this Order should not be construed to mean that Georgia’s election procedures

are flawless. The former Chief Elections Officer for the State testified that “you

are going to have misfires [and] mistakes made both by voters and election


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  officials.” Tr. 2908:18–19. And the current Chief Operating Officer for the

  Secretary of State testified: “have I ever seen a perfect election? No, because it

  simply doesn't exist . . . . There is no perfect system by which you can make it

  perfect in such a way that the system still functions. You will always have to

  balance accessibility with security.” Tr. 4198:7–14. Plaintiffs’ expert Mr. Kennedy

  also testified that “I think recognizing that you are dealing with a very human-

  driven process from the millions of voters that show up at -- to cast their ballot

  either in person or absentee, the thousands of poll workers, that you are going to

  have misfires, mistakes made both by voters and election officials.” Tr. 2908:15–

  19.

        Although Georgia’s election system is not perfect, the challenged practices

  violate neither the constitution nor the VRA. As the Eleventh Circuit notes,

  federal courts are not “the arbiter[s] of disputes’ which arise in elections; it [is]

  not the federal court’s role to ‘oversee the administrative details of a local

  election.’” Curry v. Baker, 802 F.2d 1302, 1306 (11th Cir. 1986).

III.      CONCLUSION

        Having held a non-jury trial and considered the evidence and arguments

  of the parties, for the foregoing reasons, the Court finds IN FAVOR of


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Defendants and against Plaintiffs on all remaining Counts of Plaintiffs' Second


Amended Complaint.115


        Pursuant to Federal Rule of Civil Procedure 58, the Clerk is DIRECTED to


enter judgment and close this case.



        IT IS SO ORDERED this 30th day of September/ 2022.




                                        HONORABLE STEV/C. JONES
                                        UNITED STATES DISTRICT JUDGE




115 For ease of reference/ the Court cites to the Second Amended Complaint in its
conclusion. As stated in the Court's April 29, 2022 "governing issues" order (Doc. No.
[816]), the Second Amended Complaint has been conformed to the issues and claims
presented in the Amended-Final Pretrial Order (Doc. No. [753]). In addition/ as
previously noted/ on May 30, 2019, the Court granted Defendants' Motion to Dismiss
based on sovereign immunity as to the SEE and only the Count V (Section 2 of the
Voting Rights Act of 1965) remained pending at trial against said Defendant Doc. No.
[68]/ 84.

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